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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 THOMAS DAGGETT                         )
                                        )
              Plaintiff,                )
                                        )
       v.                               )     No. 2:18-cv-00303-JAW
                                        )
 YORK COUNTY, et al.,                   )
                                        )
              Defendants.               )

     ORDER ON DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT

       Police arrested a man for allegedly violating a state court protection order,

 which prohibited him from being on the premises of his estranged wife’s residence.

 The man, who has Parkinson’s Disease, spent the night in county jail and he alleges

 he suffered injuries from inadequate medical care while in jail.    The man filed a

 multi-defendant complaint in federal court, asserting constitutional claims under 42

 U.S.C. § 1983, a civil rights conspiracy claim under 42 U.S.C. § 1985, and related

 state law claims against the officer who arrested him, the arresting police

 department, the police chief, the county that owns and operates the jail, the sheriff

 who oversees the jail, three unnamed sheriff’s department employees, the company

 that administers medical care within the jail, and two of its unnamed employees. The

 Defendants move for summary judgment, maintaining that factual and legal

 shortcomings as well as immunity doctrines entitle them to judgment as a matter of

 law. The Court grants the Defendants’ motions for summary judgment.
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 I.    PROCEDURAL HISTORY

       On August 8, 2018, Thomas Daggett filed a complaint against York County;

 Sheriff William King, both individually and as Sheriff of York County, Michael

 Vitiello, both individually and as an employee of the York County Sheriff’s

 Department, three unnamed York County Sheriff’s Department employees, in their

 individual and official capacities, Corizon, Inc., two unnamed Corizon employees,

 both individually and in their capacities as employees of Corizon, the town of Berwick,

 Maine, Chief Timothy Towne of the Berwick Police Department, and Officer Eli

 Poore, individually and as an employee of the town of Berwick. Pl.’s Compl. at 1 (ECF

 No. 1) (Compl.).

       On September 25, 2018, Mr. Daggett moved to amend his Complaint after

 learning that Correct Care Solutions, LLC (CCS), not Corizon, Inc., was the proper

 defendant and filed a proposed amended complaint, which substituted CCS for

 Corizon. Mot. to Amend Compl. at 1-2 (ECF No. 8); id., Attach. 1, Pl.’s Am. Compl.

 Pl.’s Am. Compl. (ECF No. 9) (Am. Compl.). On September 26, 2018, the Magistrate

 Judge granted Mr. Daggett’s motion to amend and accepted the Amended Complaint

 as the operative pleading. Order Granting Mot. to Amend Compl. (ECF No. 10).

       On October 3, 2018, the town of Berwick, Chief Towne, and Officer Poore (the

 Berwick Defendants) answered. Answer to Pl.’s Am. Compl. (ECF No. 12); Am.

 Answer to Pl.’s Am. Compl. (ECF No. 13). On October 5, 2018, York County, Sheriff

 King, and Michael Vitiello (the York Defendants) answered. Answer (Defs. York




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 County, William King, and Michael Vitiello) (ECF No. 15). On November 9, 2018,

 CCS answered. Def. Correct Care Solutions, LLC’s Answer (ECF No. 17).

       Discovery closed on November 15, 2019.       Order on Disc. Issues and Am.

 Scheduling Order at 2 (ECF No. 39). On November 22, 2019, the Defendants each

 notified the Court they intended to move for summary judgment and requested a pre-

 filing conference pursuant to Local Rule 56(h). Defs. Town of Berwick, Timothy

 Towne and Eli Poore’s Notice of Intent to File Mot. for Summ. J. and Req. for Pre-

 Filing Conference (ECF No. 40); Def. Correct Care Solutions LLC’s Notice of Intent to

 Move for Summ. J. (ECF No. 41); County Defs.’ Notice of Intent to File Mot. for Summ.

 J. (ECF No. 42). On November 25, 2019, the Court issued a procedural order, which

 scheduled the Local Rule 56(h) conference for December 16, 2019. Procedural Order

 (ECF No. 43). On December 16, 2019, the Court held the Local Rule 56(h) conference.

 Min. Entry (ECF No. 47).

       On March 6, 2020 the Berwick Defendants filed a stipulated record on behalf

 of all parties, which contains twenty-seven stipulated exhibits. Stipulated R. (ECF

 No. 48) (R.); id., Attachs. 1-27. On March 23, 2020 the Berwick Defendants moved

 for summary judgment and filed a statement of material facts. Defs. Town of Berwick,

 Timothy Towne and Eli Poore’s Mot. for Summ. J. (ECF No. 49) (Berwick Mot.);

 Berwick Defs.’ Statement of Undisputed Material Facts in Supp. of Mot. for Summ. J.

 (ECF No. 50) (BDSMF). On March 25, 2020, CCS moved for summary judgment and

 filed its statement of material facts. Def. Correct Care Solutions LLC’s Mot. for

 Summ. J. (ECF No. 52) (CCS Mot.); Def. Correct Care Solutions LLC’s Statement of



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 Material Facts in Supp. of Mot. for Summ. J. (ECF No. 53) (CDSMF). On April 22,

 2020, the York Defendants filed their motion for summary judgment and statement

 of material facts. County Defs.’ Mot. for Summ. J. (ECF No. 55) (York Mot.); County

 Defs.’ Statement of Material Facts in Supp. of Mot. for Summ. J. (ECF No. 56)

 (YDSMF).

       On June 8, 2020, Mr. Daggett filed a consolidated response in opposition to the

 motions for summary judgment. Pl.’s Resp. in Opp’n to Defs.’ Mots. for Summ. J.

 (ECF No. 60) (Pl.’s Opp’n). On the same day, Mr. Daggett also responded to each

 Defendant’s statement of material facts and filed his own statement of material facts.

 Pl.’s Resp. to Berwick Defs.’ Statement of Undisputed Material Facts (ECF No. 61)

 (PRBDSMF); Pl.’s Resp. to County Defs.’ Statement of Material Facts in Supp. of Mot.

 for Summ. J. (ECF No. 62) (PRYDSMF); Pl.’s Resp. to Def. Correct Care Solutions

 LLC’s Statement of Material Facts in Supp. of Mot. for Summ. J. (ECF No. 63)

 (PRCDSMF); Pl.’s Statement of Additional Facts (ECF No. 64) (PSAMF).

       On June 17, 2020, the Berwick Defendants replied to Mr. Daggett’s response

 and Mr. Daggett’s additional statement of material facts. Defs. Town of Berwick,

 Timothy Towne and Eli Poore’s Reply to Pl.’s Opp’n to Mot. for Summ. J. (ECF No.

 65) (Berwick Reply); Berwick Defs.’ Resp. to Pl.’s Additional Statement of Undisputed

 Material Facts in Supp. of Mot. for Summ. J. (ECF No. 66) (BDRPSAMF). The next

 day, CCS did the same. Def. Correct Care Solutions LLC’s Reply to Pl.’s Opp’n to

 Defs.’ Mots. for Summ. J. (ECF No. 67) (CCS Reply); Def. Correct Care Solutions LLC’s

 Reply to Pl.’s Statement of Additional Facts (ECF No. 68) (CDRPSAMF).             On



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 June 22, 2020, the York Defendants replied to Mr. Daggett. County Defs.’ Reply Mem.

 of Law in Supp. of Mot. for Summ. J. (ECF No. 69) (York Reply); County Defs.’ Resp.

 to Pl.’s Statement of Additional Facts (ECF No. 70) (YDRPSAMF).

 II.     FACTUAL BACKGROUND 1

         Thomas Daggett was diagnosed with Parkinson’s Disease in 2000.

 PSAMF ¶ 1; BDRPSAMF ¶ 1; CDRPSAMF ¶ 1; YDRPSAMF ¶ 1.                                      He takes a

 medication called Sinemet every ninety minutes to two hours to treat his symptoms.

 CDSMF ¶ 2; PRCDSMF ¶ 2. In May 2015, when the events giving rise to this case

 arose, Mr. Daggett’s prescribed dose of Sinemet was 25/250 mg.                          CDSMF ¶ 2;

 PRCDSMF ¶ 2. If a Parkinson’s patient does not take their prescribed Sinemet, they

 may experience muscular rigidity and paralysis. 2 PSAMF ¶ 42; BDRPSAMF ¶ 42;

 CDRPSAMF ¶ 42; YDRPSAMF ¶ 42.

         In May of 2015, Mr. Daggett was in the process of divorcing his then-wife,

 Penny Daggett. PSAMF ¶ 2; BDRPSAMF ¶ 2; CDRPSAMF ¶ 2; YDRPSAMF ¶ 2.

 Mrs. Daggett had an active protection from abuse order against Mr. Daggett at that

 time. PSAMF ¶ 7; R., Attach. 4, at 1-2 (Protection Order). By its plain text, the




 1        The Court sets forth the facts of this case “in the light most hospitable to [Mr. Daggett],
 consistent with record support . . ..” Mancini v. City of Providence ex rel. Lombardi, 909 F.3d 32, 37
 (1st Cir. 2018) (citing Ahern v. Shinseki, 629 F.3d 49, 51 (1st Cir. 2010); Gillen v. Fallon Ambulance
 Serv., Inc., 283 F.3d 11, 17 (1st Cir. 2002)).
 2        CCS and the York Defendants denied this fact as improper expert testimony because Dr.
 Schmitz was not designated to testify as an expert on the issue of Parkinson’s Disease and is only able
 to testify to the treatment he provided Mr. Daggett on May 17, 2015. CDRPSAMF ¶ 42; YDRPSAMF
 ¶ 42 (citing Samaan v. St. Joseph Hosp., 670 F.3d 21, 38 (1st Cir. 2012)). The Court rejects their denial
 because Dr. Schmitz as a treating physician may testify regarding the general symptoms of
 Parkinson’s Disease and what typically happens to a patient if they do not take medicine as prescribed.
 See Rozzetti v. Ford Motor Co., No. 3:17-cv-01763-JAW, 2020 U.S. Dist. LEXIS 102069, at *7-11 (D.P.R.
 June 9, 2020).

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 protection order permitted direct contact between Mr. and Mrs. Daggett to facilitate

 the transfer of Mr. Daggett’s belongings out of Mr. Daggett’s former residence on

 Cranberry Meadow Road in Berwick, Maine. 3 PSAMF ¶ 8; Protection Order at 2.

 Specifically, the protection order contained the following requirements, among

 others:

        1.      [Mr. Daggett] is prohibited from having any contact with [Mrs.
                Daggett], directly or indirectly; except for direct contact related to
                exchange of property.

        2.      [Mr. Daggett] is prohibited from imposing any restriction upon
                the person or liberty of [Mrs. Daggett];

        3.      [Mr. Daggett] is prohibited from threatening, assaulting,
                molesting, harassing, or otherwise disturbing the peace of [Mrs.
                Daggett];

        4.      [Mr. Daggett] is prohibited from, repeatedly and without
                reasonable cause, following [Mrs. Daggett] or being at or in the
                vicinity of [Mrs. Daggett’s] home, school, business or place of
                employment;

        5.      [Mr. Daggett] is prohibited from entering the family residence or
                premises of the separate residence of [Mrs. Daggett] at (list,
                unless confidential): 317 CRANBERRY MEADOW ROAD,
                BERWICK ME *

        6.      [Mr. Daggett] is prohibited from taking, converting or damaging
                property in which [Mrs. Daggett] may have legal interest;


 3        The Berwick Defendants and York Defendants attempted to qualify this fact. BDRPSAMF
 ¶ 8; YDRPSAMF ¶ 8. Citing the protection order, the Berwick Defendants noted that in a handwritten
 supplemental paragraph it “allowed for direct contact between the parties regarding the transfer of
 specific items of [Mr. Daggett’s] property from the residence only ‘with an agreed upon person at an
 agreed upon time’” and “also prohibits [Mr. Daggett] from being ‘in the vicinity of [Mrs. Daggett’s]
 home.’” BDRPSAMF ¶ 8. The York Defendants claim that the protection order’s contents are a legal
 conclusion and therefore should be stricken or disregarded as immaterial to deciding a summary
 judgment motion. See YDRPSAMF ¶ 8 (citing Chiang v. Verizon New Eng., Inc., 595 F.3d 26, 30 (1st
 Cir. 2010)). The Court rejects the York Defendants’ qualification because stating the protection order’s
 contents, rather than interpreting them, is not a legal conclusion. The Court accepts the Berwick
 Defendants’ qualification not based on their qualification, but because it is a fact that the protection
 order’s plain language includes that provision.

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             *   The parties agree that [Mr. Daggett] may go to the marital
                 residence with an agreed upon person at an agreed upon time to
                 take the following items: (1) his medication, (2) his clothes,
                 (3) guitars & sound gear, (4) old refurbished laptop, (5) desktop.

 Protection Order at 2. As a part of the divorce proceeding, Mr. Daggett reasonably

 believed that Ms. Daggett had a duty to protect Mr. Daggett’s property that remained

 at the marital residence. 4 PSAMF ¶ 3; YDRPSAMF ¶ 3.

        A.       Thomas Daggett’s May 17, 2015 Arrest

        On Sunday, May 17, 2015, Mr. Daggett was returning home from a celebration

 at the American Legion Hall in Rollinsford, New Hampshire.                        PSAMF ¶¶ 4-5;

 BDRPSAMF ¶¶ 4-5; CDRPSAMF ¶¶ 4-5; YDRPSAMF ¶¶ 4-5. He was a passenger

 in a car driven by Mary Howarth. PSAMF ¶ 4; BDRPSAMF ¶ 4; CDRPSAMF ¶ 4;

 YDRPSAMF ¶ 4. Mr. Daggett and Ms. Howarth stopped at a pharmacy to pick up

 some prescription medications during their drive. PSAMF ¶ 5; BDRPSAMF ¶ 5;

 CDRPSAMF ¶ 5; YDRPSAMF ¶ 5. Their customary route home from the pharmacy

 took them past Mr. Daggett’s former residence at 317 Cranberry Meadow Road in

 Berwick, Maine, where his estranged wife still resided. PSAMF ¶ 6; BDRPSAMF ¶ 6;

 CDRPSAMF ¶ 6; YDRPSAMF ¶ 6.




 4        The York Defendants qualified this as an immaterial legal conclusion. YDRPSAMF ¶ 3 (citing
 Chiang, 595 F.3d at 30). The Court overrules this objection. To address the York Defendants’ objection
 to a legal conclusion, the Court altered the statement to indicate that Mr. Daggett reasonably believed
 that Ms. Daggett had a duty to protect his property that remained at the marital residence. Under
 Maine law, a court may consider the economic misconduct of either party “resulting in the diminution
 of marital property.” 19-A M.R.S. § 951-A(5)(M). The Court views the protection order as premised
 on the notion that Ms. Daggett would not harm or lose Mr. Daggett’s listed property while the divorce
 was pending.


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        As Mr. Daggett and Ms. Howarth approached Mr. Daggett’s former residence,

 Mr. Daggett observed that the trashcans were out by the curb.                         PSAMF ¶ 9;

 BDRPSAMF ¶ 9; CDRPSAMF ¶ 9; YDRPSAMF ¶ 9. Mr. Daggett thought this was

 unusual because it was Sunday, and trash pickup in that neighborhood did not occur

 until either Tuesday or Wednesday.                PSAMF ¶¶ 9-10; BDRPSAMF ¶¶ 9-10;

 CDRPSAMF ¶¶ 9-10; YDRPSAMF ¶¶ 9-10.                         Knowing this, Mr. Daggett grew

 concerned that his business property was being thrown away.                           PSAMF ¶ 9;

 BDRPSAMF ¶ 9; CDRPSAMF ¶ 9; YDRPSAMF ¶ 9. He also saw a stranger picking

 through the unattended trashcans. PSAMF ¶ 11; BDRPSAMF ¶ 11; CDRPSAMF

 ¶ 11; YDRPSAMF ¶ 11.

        After circling the block, Mr. Daggett got out of the car, approached the

 trashcans, and peered inside. PSAMF ¶¶ 12-13; BDRPSAMF ¶¶ 12-13; CDRPSAMF

 ¶¶ 12-13; YDRPSAMF ¶¶ 12-13. Just as he feared, some of his belongings were in

 the trashcans, which he believed was in violation of an order in the divorce

 proceedings. PSAMF ¶ 14; BDRPSAMF ¶ 14; CDRPSAMF ¶ 14; YDRPSAMF ¶ 14. 5




 5       PSAMF ¶ 15 reads: “Mr. Daggett began trying to remove items from the trashcans and in the
 process, tipped the cans over.” Id. (citing R., Attach. 9, at 27:17-19 (Howarth Dep.)). The Berwick
 Defendants denied this assertion, noting that the video shows Mr. Daggett intentionally pushed over
 a trash bin, dragged it across the lawn spilling trash and then threw the bin into the ditch.
 BDRPSAMF ¶ 15 (citing Cell Phone Video at 00:20-00:33). The Court viewed the video and accepts
 the Berwick Defendants’ denial. Mr. Daggett’s contention that he “tipped” the bins over is ambiguous
 as to whether he intentionally dumped the trash bin and its contents on the lawn. After viewing the
 video, the Court finds that no reasonable juror could find Mr. Daggett’s actions were inadvertent, even
 when construing the video in the light most favorable to him. Mr. Daggett first pulls the trash bin
 back with his right hand and shoves it over with an open palm. Cell Phone Video at 00:20-00:40. Mr.
 Daggett then walks to the tipped over trash bin, which is lying on the ground, picks it up from the
 bottom, and empties the contents onto the lawn. Id. He throws the empty trash bin several feet and
 walks back to Ms. Howarth’s vehicle after stopping to pick up a piece of trash from the ground. Id.

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         At approximately 6:31 p.m. on May 17, 2015, Officer Eli Poore, a patrol officer

 for the Berwick Police Department (BPD), was dispatched to 317 Cranberry Meadow

 Road in response to a reported violation of a protection order. BDSMF ¶¶ 1, 3;

 PRBDSMF ¶¶ 1, 3. Officer Poore is a graduate of the Maine Criminal Justice

 Academy and certified by the State of Maine as a full-time law enforcement

 officer. BDSMF ¶¶ 2-3; PRBDSMF ¶¶ 2-3.

         Officer Poore was not aware of the 911 caller’s identity.                    PSAMF ¶ 16;

 BDRPSAMF ¶ 16; CDRPSAMF ¶ 16; YDRPSAMF ¶ 16. The dispatcher informed

 Officer Poore that the 911 caller had complained Mr. Daggett was on their property

 in a vehicle violating a protection order but had departed sometime during the 911

 call. 6 BDSMF ¶ 4; PRBDSMF ¶ 4. Dispatch informed Officer Poore that the 911


 6       The Berwick Defendants’ paragraph four stated:

         Officer Poore learned from dispatch that the 911 caller was reporting that Plaintiff
         Thomas Daggett, the person against whom the protection order was issued, was on the
         property and was going through the trash and that there was paperwork in effect that
         stated Mr. Daggett was not to be on the property.

 BDSMF ¶ 4. In support of this assertion, the Berwick Defendants cited Officer Poore’s affidavit, which
 tracks paragraph four. Id. (citing Attach. 1, Aff. of Eli Poore ¶ 7).
         Mr. Daggett interposed a qualified response, noting that Officer Poore testified that dispatch
 told him that the nature of the complaint made to 911 was that Mr. Daggett was on the property.
 PRBDSMF ¶ 4 (citing R., Attach. 10, Dep. of Eli Poore, at 12:1-13:8 (Poore Dep.)). Mr. Daggett further
 states that Officer Poole testified that Mr. Daggett was in a vehicle that had left the scene while the
 complainant was calling 911 and returned to the scene. Id. Mr. Daggett states that Officer Poore was
 unaware as to whether Mr. Daggett had exited the vehicle the first time the vehicle arrived at the
 scene.
         The Court sustains in part and denies in part Mr. Daggett’s qualified response. The Court
 sustains the part of paragraph four that asserts that Officer Poore learned from dispatch that Mr.
 Daggett had been going through the trash. Although this statement is supported by Officer Poore’s
 affidavit, it is not supported by his deposition testimony and the Court is required to view conflicting
 testimony in the light most favorable to the non-movant. The Court denies Mr. Daggett’s qualified
 response that asserts Officer Poole was unaware whether Mr. Daggett had exited his vehicle the first
 time he had arrived at the property. Officer Poore’s deposition testimony establishes the 911 complaint
 was that Mr. Daggett was on the property in violation of a protection order. To be on the property,
 Mr. Daggett had to exit his vehicle.


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 caller reported Mr. Daggett had left the scene in a gray Nissan Versa. 7 BDSMF ¶ 5;

 PRBDSMF ¶ 5.

         Officer Poore drove towards the residence and arrived around 6:37 p.m.

 BDSMF ¶ 8; PRBDSMF ¶ 8. Before he arrived, Officer Poore spoke with dispatch

 and confirmed there was an active protection order in place against Mr. Daggett. 8

 BDSMF ¶ 6; PRBDSMF ¶ 6. As Officer Poore arrived at the residence, he could see

 that a gray Nissan Versa had returned to the residence and was parked along the

 road. 9 BDSMF ¶ 9; PRBDSMF ¶ 9.

         As Officer Poole approached in his cruiser, he saw a male, who he believed,

 based on the information from dispatch, was Thomas Daggett, standing in the area



 7       Mr. Daggett denies this fact stating “Officer Poore testified that he did not know when the
 vehicle left and returned in relation to the complaint being called into 911.” PRBDSMF ¶ 5 (citing
 Poore Dep. at 12:21-13:8). The cited portion of the record does not support Mr. Daggett’s denial, even
 when viewed in the light most favorable to him. The cited deposition testimony contains the following
 statement from Officer Poore: “[T]here was a vehicle there that [Mr. Daggett] . . . was in and that it
 had left but it had then returned at some point while I was responding.” Poore Dep. at 12:23-25. The
 statement does not refer to the time between the vehicle’s initial departure and return to 317
 Cranberry Meadow Road in relation to the 911 call, but it does establish that Officer Poore had been
 told that the vehicle had left and returned before he arrived. Accordingly, the Court rejected Mr.
 Daggett’s denial as unsupported by the record.
 8       Mr. Daggett attempted to qualify this statement, noting that “Officer Poore learned that there
 was a protection order in effect from dispatch on his way to the scene of the complaint. Officer Poore
 was familiar with general terms of protection orders but did not see the specific protection order that
 referenced Mr. Daggett until after Mr. Daggett’s arrest.” PRBDSMF ¶ 6. This attempted qualification
 is unresponsive to the Berwick Defendants’ asserted fact, since the asserted fact does not state or imply
 that Officer Poore was aware of the exact terms of the protection order. As Mr. Daggett does not deny
 or qualify the fact, and as the fact is supported by the record citation, the Court deems the statement
 admitted. See Forrest v. Brinker Int’l Payroll Co., LP, No. 06-73-P-C, 2007 U.S. Dist. LEXIS 2785,
 at *4 (D. Me. Jan. 11, 2007) (noting that when a party’s response to a statement of fact is not acceptable
 under D. ME. LOC. R. 56, the statement is deemed admitted if supported by the citation provided),
 adopted by 2007 U.S. Dist. LEXIS 27118 (D. Me. Apr. 11, 2007), aff’d, 511 F.3d 225 (1st Cir. 2007).
 Even so, the Court includes that fact elsewhere in the factual background section because Mr. Daggett
 alleged it in his statement of material facts, PSAMF ¶ 20, and the Defendants admitted it.
 BDRPSAMF ¶ 20; CDRPSAMF ¶ 20; YDRPSAMF ¶ 20.
 9       Mr. Daggett qualified this factual statement by raising the same argument he employs to deny
 BDSMF ¶ 5. PRBDSMF ¶ 9. The Court rejects this qualification as unsupported by the record for the
 same reasons contained in footnote 7.

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 of the driveway of 317 Cranberry Meadow Road. 10 BDSMF ¶ 10; PRBDSMF ¶ 10.

 Officer Poore says he saw Mr. Daggett standing in the area behind the mailbox and

 then saw him walk through the ditch in front of the home at 317 Cranberry Meadow

 Road. 11 BDSMF ¶ 11; PRBDSMF ¶ 11.

         Once on the scene, Officer Poore saw Mr. Daggett carrying a white item in his

 hand and enter the passenger side of the parked vehicle. BDSMF ¶ 12; PRBDSMF

 ¶ 12. Officer Poore also observed a large pile of belongings scattered throughout the

 ditch in front of the home. BDSMF ¶ 13; PRBDSMF ¶ 13. Officer Poore decided to

 arrest Mr. Daggett before he put his cruiser in park. 12                              PSAMF ¶ 18;



 10      The parties dispute what Officer Poole saw as he approached 317 Cranberry Meadow Road.
 BDSMF ¶ 10; PRBDSMF ¶ 10. The Berwick Defendants based paragraph ten on Officer Poole’s
 affidavit that states: “As I approached closer in my cruiser, I also saw a male, who I believed, based on
 the information from dispatch, was Thomas Daggett, standing in the driveway of 317 Cranberry
 Meadow Road. Mr. Daggett was standing in the area behind the mailbox and then walked through
 the ditch in front of the home.” Poole Aff. ¶ 9.
         Mr. Daggett denied this paragraph on five bases: (1) that the dash camera video did not
 corroborate Officer Poole’s affidavit, (2) that Mr. Daggett denied being on the driveway, (3) that the
 mailbox is not in the driveway, (4) the area just behind the mailbox is not on the driveway, and (5)
 that the right of way for the roadway extends twenty-five feet on either side of the center of the road.
 PRBDSMF ¶ 10. There are several problems with Mr. Daggett’s denial. The primary problem is that
 the video evidence of where Mr. Daggett was and what he did is clear from the cellphone recording
 and it is consistent with the Berwick Defendants paragraph ten, not with Mr. Daggett’s denial. In
 viewing contested facts in the light most favorable to Mr. Daggett, the Court is not required to
 contradict what it can see in viewing the cellphone recording. Second, Officer Poole could well have
 seen things not depicted in the dash camera video. Third, to the extent Mr. Daggett is arguing that
 he was not standing in the driveway, the Court amended the paragraph to state that he was in the
 area of the driveway. Fourth, even if the Court accepts that the right of way ran twenty-five feet on
 either side of the center line, the owner of 317 would have owned to the center line, subject to the right
 of way. Therefore, by entering onto the area of the trash bins, tipping one over, dumping the trash in
 the ditch, and returning to his vehicle, Mr. Daggett was in fact entering onto his then-wife’s property
 and was violating the protection order.
 11      Mr. Daggett interposed a qualified response to the Berwick Defendants’ paragraph eleven on
 the ground that he did not believe that he was on the premises of 317 Cranberry Meadow Road.
 PRBDSMF ¶ 11. The Court overrules the qualified response. The Berwick Defendants’ paragraph
 eleven does not assert what Mr. Daggett believed, only what Officer Poole saw, and therefore Mr.
 Daggett’s qualified response is non-responsive.
 12      The Berwick Defendants and York Defendants qualified Mr. Daggett’s factual assertion on
 this issue, asserting facts about why Officer Poole made the arrest decision. PSAMF ¶ 18;
 BDRPSAMF ¶ 18; YDRPSAMF ¶ 18. The Court does not accept the Berwick and York Defendants’

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 BDRPSAMF ¶ 18; CDRPSAMF ¶ 18; YDRPSAMF ¶ 18. When he made the decision

 to arrest Mr. Daggett, he had not spoken to the complaining party nor had he read

 the actual protection order. PSAMF ¶¶ 19-20; BDRPSAMF ¶¶ 19-20; CDRPSAMF

 ¶¶ 19-20; YDRPSAMF ¶¶ 19-20.

        Officer Poore approached the passenger side door and asked Mr. Daggett to get

 out, but Mr. Daggett refused to exit the vehicle. BDSMF ¶ 14; PRBDSMF ¶ 14. When

 Officer Poore asked Mr. Daggett if there was a protection order prohibiting him from

 entering the property at 317 Cranberry Meadow Road, Mr. Daggett responded that

 he was getting his belongings out of the trash and was not on the property.

 BDSMF ¶¶ 15-16; PRBDSMF ¶¶ 15-16; PSAMF ¶ 23; BDRPSAMF ¶ 23; CDRPSAMF

 ¶ 23; YDRPSAMF ¶ 23. Officer Poore told Mr. Daggett that he had seen him on the

 property and, around 6:41 p.m., told Mr. Daggett he was under arrest for violating

 the protection order. BDSMF ¶ 17; PRBDSMF ¶ 17; CDSMF ¶ 4; PRCDSMF ¶ 4;

 YDSMF ¶ 1; PRYDSMF ¶ 1. Mr. Daggett exited the vehicle and told Officer Poore

 that a pill bottle in his hand was medication. BDSMF ¶ 18; PRBDSMF ¶ 18. Officer

 Poore told Mr. Daggett to put the pill bottle in his pocket. BDSMF ¶ 19; PRBDSMF

 ¶ 19. Then, Officer Poore placed Mr. Daggett in handcuffs with his hands behind his

 back and told him to take a seat in the back of the police cruiser. BDSMF ¶ 20;

 PRBDSMF ¶ 20.

        At this point, Officer Poore learned Mr. Daggett had Parkinson’s Disease.

 BDSMF ¶ 22; PRBDSMF ¶ 22. Mr. Daggett told Officer Poore his condition prevented


 qualified responses because Mr. Daggett’s paragraph eighteen is directed only to when Officer Poole
 made the arrest decision, not why he made it.

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 him from sitting with his arms behind his back and asked that his hands be placed

 in front of him. BDSMF ¶ 21; PRBDSMF ¶ 21. Officer Poore accommodated his

 request. BDSMF ¶ 23; PRBDSMF ¶ 23. Around the same time, Mary Howarth exited

 the Nissan and told Officer Poore that Mr. Daggett needed to take several

 medications at varying intervals, some as frequently as every hour and a half with a

 cold beverage. 13 BDSMF ¶ 24; PRBDSMF ¶ 24; PSAMF ¶ 46; BDRPSAMF ¶ 46;

 CDRPSAMF ¶ 46; YDRPSAMF ¶ 46.

        Officer Poore then drove Mr. Daggett to the Berwick police station, which took

 about seven minutes. BDSMF ¶ 25; PRBDSMF ¶ 25. Mr. Daggett complained about

 his arrest during the ride, but did not indicate he was experiencing discomfort, was

 in any medical distress, or otherwise needed medical attention.                   BDSMF ¶ 26;

 PRBDSMF ¶ 26. He never told Officer Poore that it was time for him to take his

 medication. BDSMF ¶ 27; PRBDSMF ¶ 27.

        The Berwick police station has one small holding area called the booking room

 where arrestees can be safely held on a temporary basis. BDSMF ¶ 29; PRBDSMF

 ¶ 29. However, the booking room is not equipped to hold an arrestee for more than a

 few hours, and the Berwick police station lacks a facility or resources to house an

 arrestee overnight or long term. BDSMF ¶ 30; PRBDSMF ¶ 30. At the police station,

 Officer Poore escorted Mr. Daggett into the booking room. BDSMF ¶ 28; PRBDSMF

 ¶ 28. Officer Poore asked Mr. Daggett if he had his medication with him, and


 13     Mr. Daggett qualified this, relying on the dashboard camera video for the proposition that he
 needed to take his medicine every hour and a half with a cold beverage. PRBDSMF ¶ 24 (citing R.,
 Attach. 25, at 4:02-10 (Dash Camera Video)). The Court reviewed the video and accepts that
 Ms. Howarth provided these instructions. Dash Camera Video at 4:02-10.

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 Mr. Daggett confirmed he did. BDSMF ¶ 31; PRBDSMF ¶ 31. Mr. Daggett took a

 dose of Sinemet while at the Berwick police station. BDSMF ¶ 33; PRBDSMF ¶ 33;

 CDSMF ¶ 5; PRCDSMF ¶ 5. Prior to taking this dose, Mr. Daggett had last taken

 his medication around 2:00 p.m. CDSMF ¶ 5; CDSMF ¶ 5. Officer Poore later took

 custody of the medication. 14 PSAMF ¶ 47; BDRPSAMF ¶ 47; CDRPSAMF ¶ 47;

 YDRPSAMF ¶ 47.

       Officer Poore left Mr. Daggett in the booking room and went to speak with his

 supervisor, Sergeant Shisler, about the arrest. BDSMF ¶ 32; PRBDSMF ¶ 32. Officer

 Poore located and reviewed a copy of the protection from abuse order against

 Mr. Daggett, which stated that Mr. Daggett was “prohibited from entering the family

 residence or premises of the separate residence of the plaintiff at . . . 317 Cranberry

 Meadow Road, Berwick ME,” “prohibited from threatening, assaulting, molesting,

 harassing, or otherwise disturbing the peace of the plaintiff(s),” and “prohibited from,

 repeatedly and without reasonable cause, following the plaintiff or being at or in the

 vicinity of the plaintiff’s home, school, business or place of employment.” BDSMF

 ¶¶ 34-35; PRBDSMF ¶¶ 34-35.

       Next, Officer Poore telephoned the on-call district attorney to confirm that

 Mr. Daggett violated the protection order. BDSMF ¶ 36; PRBDSMF ¶ 36. Officer

 Poore spoke with the on-call assistant district attorney (ADA) and explained that he

 had observed Mr. Daggett in the driveway and walking through the ditch at 317

 Cranberry Meadow Road. BDSMF ¶ 37; PRBDSMF ¶ 37. He also told the ADA that



 14    The Court accepts Mr. Daggett’s qualification of this point in response to BDSMF ¶ 31.

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 Mr. Daggett was going through the trash. BDSMF ¶ 38; PRBDSMF ¶ 38. The ADA

 confirmed Mr. Daggett had violated the protection order. 15 BDSMF ¶ 39; PRBDSMF

 ¶ 39. Then, Officer Poore contacted a bail commissioner, Kevin Cullen, to inquire

 about Mr. Daggett. BDSMF ¶ 41; PRBDSMF ¶ 41. The bail commissioner told

 Officer Poore that Mr. Daggett was not eligible for bail because he was alleged to have

 violated a protection order. BDSMF ¶ 41; PRBDSMF ¶ 41.

        B.      Thomas Daggett Goes to the Hospital

        Due to Mr. Daggett’s health conditions, Sergeant Shisler recommended that

 Officer Poore bring him to the hospital for an evaluation before transferring him to

 the York County Jail (YCJ). BDSMF ¶ 40; PRBDSMF ¶ 40. At approximately

 7:34 p.m. on May 17, 2015, Officer Poore left the Berwick police station and brought

 Mr. Daggett to Southern Maine Health Care (SMHC) in Sanford, formerly known as

 Goodall Hospital. BDSMF ¶ 42; PRBDSMF ¶ 42; CDSMF ¶ 6; PRBDSMF ¶ 6.;

 YDSMF ¶ 2; PRYDSMF ¶ 2. They arrived at approximately 8:00 p.m. BDSMF ¶ 43;

 PRBDSMF ¶ 43; CDSMF ¶ 10; PRCDSMF ¶ 10; YDSMF ¶ 3; PRYDSMF ¶ 3.

        At the hospital, Dr. Michael Schmitz and other SMHC providers evaluated

 Mr. Daggett. BDSMF ¶ 43; PRBDSMF ¶ 43; YDSMF ¶ 5; PRYDSMF ¶ 5. Before

 meeting with Mr. Daggett, Dr. Schmitz spoke with Mr. Daggett’s on-call neurologist,

 Dr. John Dolan, who informed Dr. Schmitz of Mr. Daggett’s medical history and



 15      Mr. Daggett qualified this fact by stating the on-call ADA rendered his opinion without
 knowing that there was an ongoing divorce, a need for Mr. Daggett to protect his property, and the
 fact that Mr. Daggett’s property was in a trashcan that a stranger was rooting through. PRBDSMF
 ¶ 39. The Court rejects this qualified response, because the Berwick Defendants’ paragraph thirty-
 nine does not assert that Officer Poole gave the ADA any information other than what is set forth in
 the preceding paragraphs.

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 prescribed dosage of Sinemet.           BDSMF ¶ 44; PRBDSMF ¶ 44; CDSMF ¶ 13;

 PRCDSMF ¶ 13; YDSMF ¶ 4; PRYDSMF ¶ 4. Dr. Dolan reported that Mr. Daggett

 was a patient of Dr. Tony Knox, a neurologist at York Hospital. CDSMF ¶ 14;

 PRCDSMF ¶ 14. Dr. Dolan also told Dr. Schmitz that Mr. Daggett took Sinemet

 25/100 mg every hour-and-a-half to two hours. CDSMF ¶ 15; PRCDSMF ¶ 15. Mr.

 Daggett also gave Dr. Schmitz a list of his medications. 16 BDSMF ¶ 45; PRBDSMF

 ¶ 45; CDSMF ¶ 16; PRCDSMF ¶ 16. Mr. Daggett reported no acute issues during the

 evaluation. CDSMF ¶ 12; PRCDSMF ¶ 12. Mary Howarth also talked to Dr. Schmitz

 and told him that Mr. Daggett took Sinemet 25/250 every hour-and-a-half to two

 hours.     PSAMF ¶ 23; BDRPSAMF ¶ 23; CDRPSAMF ¶ 23; YDRPSAMF ¶ 23;

 PRCDSMF ¶ 16.

          Dr. Schmitz cleared Mr. Daggett to go to the YCJ and declared that he was fit

 for incarceration. BDSMF ¶ 47; PRBDSMF ¶ 47; YDSMF ¶ 6; PRYDSMF ¶ 6. A fit

 for incarceration evaluation is a medical screening exam to address any acute medical

 issues that might be present before a person enters jail. CDSMF ¶ 8; PRCDSMF ¶ 8.

 Officer Poore received a form indicating that Mr. Daggett was fit for incarceration

 and a list of medications to provide to the YCJ staff so that they would know how to

 care for Mr. Daggett during his time at the jail. BDSMF ¶ 48; PRBDSMF ¶ 48. The

 form contained handwritten notes from Dr. Schmitz about four of Mr. Daggett’s

 medications and stated those medications needed to be continued while he was in jail.



 16      Mr. Daggett qualified this assertion by noting that Mary Howarth also spoke with Dr. Schmitz
 and told him that the correct dose of Sinemet was 25/250 mg. PRCDSMF ¶ 16 (citing Howarth Dep.
 at 36:17-40:14). The Court accepts this qualification.

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 CDSMF ¶ 18; PRCDSMF ¶ 18.                      The form indicated that, as confirmed by

 Mr. Daggett’s neurologist, he should take one tablet of Sinemet 25/100 mg every

 ninety to one hundred twenty minutes. CDSMF ¶ 19; PRCDSMF ¶ 19. Mr. Daggett

 asserted that the dose Dr. Schmitz documented was not his prescribed dose. YDSMF

 ¶ 6; PRYDSMF ¶ 6. Mr. Daggett received no Sinemet during his first hospital visit. 17

 PRYDSMF ¶ 7.

        C.      Thomas Daggett Goes to Jail

        SMHC discharged Mr. Daggett at 8:44 p.m. and Officer Poore transported him

 to the YCJ. CDSMF ¶¶ 20-21; PRCDSMF ¶¶ 20-21. Meanwhile, SMHC staff called

 the YCJ’s medical providers about Mr. Daggett and conveyed the importance of

 adhering to his Sinemet schedule. BDSMF ¶¶ 49-50; PRBDSMF ¶¶ 49-50; CDSMF

 ¶ 24; PRCDSMF ¶ 24; YDSMF ¶ 8; PRYDSMF ¶ 8. Dr. Schmitz spoke with Danielle

 Brady, a nurse for CCS at the YCJ, and told her that Mr. Daggett needed to take his

 Sinemet 25/100 mg every ninety to one hundred twenty minutes. CDSMF ¶¶ 22-24;

 PRCDSMF ¶¶ 22-24.             Nurse Brady memorialized this call under Mr. Daggett’s

 clinical progress notes. CDSMF ¶ 23; PRCDSMF ¶ 23.


 17      This fact is disputed. Relying on deposition testimony from Dr. Schmitz and medical records
 from the hospital, the Defendants contended Mr. Daggett received a dose of Sinemet during his first
 hospital visit. BDSMF ¶ 46; CDSMF ¶ 17; YDSMF ¶ 7. Each time, Mr. Daggett qualified or denied
 this assertion, relying on testimony from his November 1, 2019 deposition and asserting both that he
 never received Sinemet during his first hospital visit, or that the Sinemet was not the right dose if he
 did receive it. See PRBDSMF ¶ 46 (citing R., Attach. 2, at 36:24-37:12 (Nov. 1 Daggett Dep.));
 PRCDSMF ¶ 17 (same); PRYDSMF ¶ 7 (same). The portion of the record that Mr. Daggett cites does
 not refute the Defendants’ factual assertions because it is clear that Mr. Daggett was referring to the
 Sinemet he received during his second trip to the hospital. See Nov. 1. Daggett Dep. at 36:24-37:2
 (“The second time on the way going out the door I got one dose of Sinemet, but it wasn’t the correct
 dose. And that was literally on the way out the door”). Despite this, another portion of Mr. Daggett’s
 testimony from the same deposition supports his denial and qualifications and therefore the Court
 accepts his qualification. When asked whether he received any Sinemet during his first hospital visit
 Mr. Daggett responded: “The first time, that’s a big fat no.” Id. at 32:10.

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       After speaking with Dr. Schmitz, Nurse Brady contacted CCS’ on-call provider,

 Julie Zale, P.A., and CCS’ site medical director, Dr. George Stockwell. CDSMF ¶ 26;

 PRCDSMF ¶ 26. As a result of their communications with the hospital, YCJ staff

 were already aware of Mr. Daggett’s condition when he arrived with Officer Poore.

 BDSMF ¶ 52; PRBDSMF ¶ 52. Dr. Schmitz and Nurse Brady determined YCJ could

 not accept Mr. Daggett at the YCJ because CCS did not have enough medication to

 meet his needs.    CDSMF ¶ 27; PRCDSMF ¶ 27.            Nurse Brady relayed this

 determination to YCJ’s intake officer. CDSMF ¶ 28; PRBDSMF ¶ 28.

        Due to the severity of Mr. Daggett’s medical condition, YCJ staff advised

 Officer Poore that the jail would not accept him, even though Dr. Schmitz had found

 Mr. Daggett fit for incarceration. BDSMF ¶ 53; PRBDSMF ¶ 53; CDSMF ¶ 29;

 PRCDSMF ¶ 29; YDSMF ¶ 10; PRYDSMF ¶ 10. Officer Poore was unsure how to

 proceed because the bail commissioner previously told him that Mr. Daggett could

 not be bailed out due to the nature of his offense. BDSMF ¶ 54; PRBDSMF ¶ 54.

       Officer Poore called his supervisor, Captain Locke, for advice on how to

 proceed. BDSMF ¶ 55; PRBDSMF ¶ 55. Captain Locke told Officer Poore to again

 contact the on-call ADA for instructions. BDSMF ¶ 56; PRBDSMF ¶ 56. As Officer

 Poore was explaining the situation to the on-call ADA, YCJ’s intake officer told him

 the YCJ would accept Mr. Daggett if he took Mr. Daggett back to the hospital and

 obtained the proper medications. BDSMF ¶ 57; PRBDSMF ¶ 57; CDSMF ¶ 31;

 PRCDSMF ¶ 31. Behind the scenes, the YCJ’s superintendent, Lieutenant Colonel




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 Michael Vitiello, had instructed the intake officer to accept Mr. Daggett with proper

 medications. 18 CDSMF ¶ 30; PRCDSMF ¶ 30.

         D.      Thomas Daggett Returns to the Hospital

         They returned to the hospital, and Mr. Daggett was triaged at approximately

 9:39 p.m.      BDSMF ¶¶ 58; PRBDSMF ¶¶ 58; CDSMF ¶ 32; PRCDSMF ¶ 32.

 Mr. Daggett was again evaluated by SMHC staff and Dr. Schmitz, and the purpose

 of this visit was to get to-go doses of Mr. Daggett’s medications that he could bring to

 the YCJ. 19      BDSMF ¶ 59; PRBDSMF ¶ 59; CDSMF ¶ 33; PRCDSMF ¶ 33.

 Mr. Daggett did not raise any new complaints or health concerns. CDSMF ¶ 34;

 PRCDSMF ¶ 34.

         Dr. Schmitz ordered medications for Mr. Daggett, which SMHC staff gave to

 Officer Poore in a bag. 20 BDSMF ¶ 60; PRBDSMF ¶ 60. Dr. Schmitz ordered thirty

 tablets of Sinemet 25/100 mg, three doses of Azilect, six does of Metformin, and six

 doses of Vicodin. CDSMF ¶¶ 35-36; PRCDSMF ¶¶ 35-36. This was a lower dose of

 Sinemet than the 25/250 mg dose Mr. Daggett was prescribed to take at that time. 21

 PRYDSMF ¶ 11. The hospital could only provide Mr. Daggett with ten tablets of




 18       The Court reviewed the stipulated record and accepts Mr. Daggett’s qualification that Michael
 Vitiello was the YCJ’s lieutenant colonel and superintendent at the time of the events at issue in this
 case. PRCDSMF ¶ 30; CDSMF ¶ 30; PRYDSMF ¶ 29.
 19       The Court accepts Mr. Daggett’s qualification of this point. BDSMF ¶ 59; PRBDSMF ¶ 59.
 20       The Court accepts Mr. Daggett’s qualification that the second hospital visit did not produce a
 second fit for incarceration form and struck the Berwick Defendants’ contention that “SMHC staff . . .
 provided Officer Poore with paperwork indicating Mr. Daggett was medically cleared for incarceration”
 during his second hospital trip. BDSMF ¶ 60; PRBDSMF ¶ 60.
 21       Mr. Daggett cited his deposition testimony in support of the fact that he obtained a lower than
 necessary dose of medications than what he was taking at the time of his arrest. PRYDSMF ¶ 11
 (citing Nov. 1 Daggett Dep. at 38:25-39:7). Consistent with its obligation to view the facts in the light
 most favorable to Mr. Daggett, the Court credits his statement as true.

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 Sinemet rather than the thirty tablets that Dr. Schmitz had ordered. CDSMF ¶ 37;

 PRCDSMF ¶ 37. This amount of Sinemet would only last Mr. Daggett less than a

 day. PSAMF ¶ 37; BDRPSAMF ¶ 37; CDRPSAMF ¶ 37; YDRPSAMF ¶ 37. After the

 second visit, Dr. Schmitz still believed Mr. Daggett was fit for incarceration but did

 not complete a second fit for incarceration form. CDSMF ¶ 38; PRCDSMF ¶ 38;

 YDSMF ¶ 12; PRYDSMF ¶ 12. SMHC discharged Mr. Daggett for the second time at

 10:23 p.m. CDSMF ¶ 40; PRCDSMF ¶ 40. He received some Sinemet as he left the

 hospital, but it was not the correct dose. Nov. 1. Daggett Dep. at 36:24-37:2. 22 Around

 10:29 p.m., Officer Poore and Mr. Daggett departed from the hospital and returned

 to YCJ. BDSMF ¶ 61; PRBDSMF ¶ 61; YDSMF ¶ 13; PRYDSMF ¶ 13.

        E.      Thomas Daggett Goes Back to Jail

        Upon arrival at YCJ, Officer Poore provided YCJ staff with all the medical

 paperwork and medication he received from the hospital. BDSMF ¶ 62; PRBDSMF

 ¶ 62; CDSMF ¶ 41; PRCDSMF ¶ 41. Mr. Daggett was slow to move, and Office Poore

 had to assist him with walking. PSAMF ¶ 28; BDRPSAMF ¶ 28; CDRPSAMF ¶ 28;

 YDRPSAMF ¶ 28. Mr. Daggett could not hold a pen and was not able to sign the

 summons that Officer Poore served on him. 23 PSAMF ¶¶ 29-30; BDRPSAMF ¶¶ 29-

 30; CDRPSAMF ¶¶ 29-30; YDRPSAMF ¶¶ 29-30. Intake paperwork shows that YCJ


 22      The Court cites Mr. Daggett’s deposition testimony in support of this fact for the reasons
 explained in footnote 17.
 23      Mr. Daggett contends that “[w]hen examined by health professionals at the jail who are
 employed by CCS Mr. Daggett was unable to respond to questions.” PSAMF ¶ 36 (citing YCJ Records
 at 16). CCS and the York Defendants denied this fact as unsupported by the record. CDRPSAMF
 ¶ 36; YDRPSAMF ¶ 36. The Court examined the record and determines that no reasonable juror could
 conclude that it supported a finding that Mr. Daggett was unable to respond to questions from CCS
 providers. YCJ Records at 16. On the contrary, the record indicates that Mr. Daggett orally responded
 to questioning but was physically unable to sign the intake form. Id.

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 personnel categorized Mr. Daggett as unstable, which means “[t]he inmate appears

 to be out of control. Unstable physically or mentally.” 24

        The YCJ accepted custody of Mr. Daggett. BDSMF ¶ 63; PRBDSMF ¶ 63;

 CDSMF ¶ 42, PRCDSMF ¶ 42; YDSMF ¶ 14; PRYDSMF ¶ 14. Officer Poore then

 departed and had no further contact with Mr. Daggett. BDSMF ¶ 64; PRBDSMF

 ¶ 64. Prior to entering YCJ custody, Mr. Daggett had last taken his Sinemet around

 2:00 p.m. and then again shortly after his approximately 6:41 p.m. arrest while he

 was at the Berwick police department. 25 BDSMF ¶ 65; PRBDSMF ¶ 65; CDSMF ¶ 5;

 PRCDSMF ¶ 5. In total, Mr. Daggett’s incarceration at the YCJ lasted for about

 sixteen hours—from approximately 11:00 p.m. on Sunday, May 17, 2015 until 3:15

 p.m. on Monday, May 18, 2015. CDSMF ¶ 3; PRCDSMF ¶ 3.

        During Mr. Daggett’s incarceration, Correct Care Services, Inc. (CCS) provided

 medical care to inmates at the YCJ. CDSMF ¶ 1; PRCDSMF ¶ 1; YDSMF ¶ 9;

 PRYDSMF ¶ 9. Dr. Stockwell, CCS’ chief provider, ordered that Mr. Daggett be

 placed on medical watch, kept in intake with his medication in-unit, and that the YCJ

 confirm his medication list with his medical provider in the morning. 26 CDSMF ¶ 43;


 24      The Court reviewed the record and accepts the Defendants’ qualification. PSAMF ¶ 35;
 CDRPSAMF ¶ 35; YDRPSAMF ¶ 35; YCJ Records at 40.
 25      The Court modifies this statement of fact somewhat from the parties’ statements of material
 facts and qualifications. The Berwick Defendants’ Statement of Material Facts states that
 Mr. Daggett had last taken his Sinemet “prior to his arrest” at around 2:00 pm. BDSMF ¶ 65.
 Mr. Daggett’s qualification does not respond to the Berwick Defendants’ assertion but adds that he
 took Sinemet after his arrest while in custody at the Berwick police department, a fact already before
 the Court. PRBDSMF ¶ 65; BDSMF ¶ 33; PRBDSMF ¶ 33; CDSMF ¶ 5; PRCDSMF ¶ 5.
 26      Mr. Daggett attempts to qualify this statement, stating “Dr. Stockwell ordered that his
 medications be verified in the morning but they were not.” PRCDSMF ¶ 43 (citing YCJ Records at
 12). Similarly, the PSAMF avers that Mr. Daggett’s medications were not verified the following
 morning but provides no record citation and therefore the Defendants object to it as unsupported by
 the record. PSAMF ¶ 43; BDRPSAMF ¶ 43; CDRPSAMF ¶ 43; YDRPSAMF ¶ 43. The Court reviewed
 the record Mr. Daggett cited in PRCDSMF ¶ 43 and finds that it cannot, even when construed in the

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 PRCDSMF ¶ 43. For the duration of his stay at the YCJ, he was housed in a holding

 cell in the intake area. YDSMF ¶ 15; PRYDSMF ¶ 15. Mr. Daggett was unable to

 move under his own power, and so one or two corrections officers wheeled Mr. Daggett

 into the holding cell on an office chair. 27 PSAMF ¶ 48; BDRPSAMF ¶ 48; CDRPSAMF

 ¶ 48; YDRPSAMF ¶ 48; YDSMF ¶ 16; PRYDSMF ¶ 16.                                 Once in the cell, the

 corrections officers placed Mr. Daggett onto a bunk, but he could not hold himself up

 and hit his head on the cell wall. 28 PSAMF ¶ 49; BDRPSAMF ¶ 49; CDRPSAMF

 ¶ 49; YDRPSAMF ¶ 49; YDSMF ¶ 17; PRYDSMF ¶ 17. Mr. Daggett admits to

 receiving Sinemet while incarcerated but it was not the correct dose and he did not

 swallow all of the medication that CCS providers gave to him. 29 CDSMF ¶ 44;

 PRCDSMF ¶ 44. Mr. Daggett could not tell any medical provider or corrections officer

 at the YCJ that he had hit his head because he could not speak in the immediate

 aftermath of hitting his head. 30            YDSMF ¶ 18; PRYDSMF ¶ 18; PSAMF ¶ 51;


 light most favorable to him and drawing all reasonable inferences in his favor, be read to support his
 qualification. In fact, the record he cites establishes that the Jail did verify his medication at 8:45 a.m.
 the next day. In a handwritten note, the record states:
          5-18-15, @1555, medication verified from York Hosp Berwick pharmacy and correct
          dosage and direction [unintelligible] obtained @ 0845. [Unintelligible] wasn’t
          [unintelligible] yet and still in the intake. Julie Zale, PA called for medication
          approval. [Unintelligible] released @1545. Pt’s own meds returned to him upon
          release. [Unintelligible], RN.
 YCJ Records at 12.
 27       The Court accepts Mr. Daggett’s qualification on this point as supported by his deposition
 testimony. See PRYDSMF ¶ 16 (citing Nov. 1 Daggett Dep., at 51:24-54:23).
 28       Mr. Daggett qualified this fact, noting that he was unable to move under his own power.
 PRYDSMF ¶ 17. The Court already accepted this qualification.
 29       The Court reviewed the stipulated record and accepts Mr. Daggett’s qualification of CCS’
 statement of material fact. CDSMF ¶ 45; PRCDSMF ¶ 45 (citing Nov. 1 Daggett Dep., at 66:22-68:6).
 30       The Court accepts Mr. Daggett’s qualification as supported insofar as he contends that he could
 not speak immediately after he hit his head. See PRYDSMF ¶ 18 (citing Nov. 1 Daggett Dep., at 56:25-
 57:3); CDRPSAMF ¶ 50; YDRPSAMF ¶ 50. However, the record does not support that Mr. Daggett
 lost his power of speech for the remainder of his incarceration after hitting his head. Mr. Daggett’s
 own sworn testimony does not support that, and other evidence in the stipulated record indicates that
 he gave oral consent for medical treatment. YCJ Records at 16.

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 BDRPSAMF ¶ 51; CDRPSAMF ¶ 51; YDRPSAMF ¶ 51. Mr. Daggett was seen by

 representatives of CCS while he was in the YCJ. YDSMF ¶ 19; PRYDSMF ¶ 19.

        Sometime after 11:00 p.m., Mary Howarth arrived at the YCJ and spoke to the

 charge nurse. 31 PSAMF ¶ 31; BDRPSAMF ¶ 31, CDRPSAMF ¶ 31, YDRPSAMF ¶ 31.

 Ms. Howarth had brought an unopened bottle of Mr. Daggett’s Sinemet 25/250 mg

 with her, which she gave to the charge nurse. 32 PSAMF ¶¶ 31, 34; BDRPSAMF

 ¶¶ 31, 34; CDRPSAMF ¶¶ 31, 34; YDRPSAMF ¶¶ 31, 34. Ms. Howarth spoke with

 the charge nurse for approximately forty minutes and during that conversation the

 charge nurse informed Ms. Howarth that she had not been able to give Mr. Daggett

 any Sinemet and described him as “unresponsive and uncooperative.” 33 PSAMF ¶

 33; CDRPSAMF ¶ 33; YDRSPAMF ¶ 33; see Howarth Dep. at 66:13-67:4.



 31      The Court accepts the Berwick Defendants’ qualification that Ms. Howarth was not
 Mr. Daggett’s caretaker at the time of the incident in question. BDRPSAMF ¶ 31. Ms. Howarth’s
 deposition testimony is unambiguous that she did not assume the role of Mr. Daggett’s caretaker until
 after this incident and that at the time of these events she was his roommate. See Howarth Dep.
 at 7:7-9 (“When [Mr. Daggett] was released from the jail he had a concussion. At that point, my role
 as roommate transferred to my taking care of him”).
 32      CCS and the York Defendants qualified these factual assertions as unsupported by the record
 citation. CDRPSAMF ¶¶ 31, 34; YDRPSAMF ¶¶ 31, 34. The Court determines the Defendants are
 correct but concludes that another portion of Ms. Howarth’s deposition supports Mr. Daggett’s factual
 position. See Howarth Dep. at 67:24-68:8 (affirming that the charge nurse took the unopened bottle of
 Sinemet but none of the other medications Ms. Howarth had brought for Mr. Daggett).
 33      Mr. Daggett asserts that “Ms. Howarth had an extensive conversation with the charge nurse,
 lasting over 40 minutes, about Mr. Daggett’s condition including the fact that he can appear comatose
 and the charge nurse described Mr. Daggett as being unresponsive or uncooperative.” PSAMF ¶ 33
 (citing Howarth Dep. at 67:1-11). CCS qualifies this statement by noting that Ms. Howarth’s
 deposition testimony is that the charge nurse told her Mr. Daggett was both uncooperative and
 unresponsive. CDRPSAMF ¶ 33. The Court reviewed Ms. Howarth’s testimony and accepts that
 qualification. The York Defendants raise that same qualification but also contend that the charge
 nurse’s statements are inadmissible hearsay. YDRPSAMF ¶ 33 (citing Garside v. Osco Drug, Inc., 895
 F.2d 46, 50 (1st Cir. 1990) and Local Rule 56(e)). The Court overrules the hearsay objection as it is
 not yet clear whether the charge nurse’s statements are being offered for their truth, or for another
 purpose such as to show the charge nurse had notice of Mr. Daggett’s condition. Later in this opinion,
 the Court provides a more substantive analysis of whether these statements are, in fact, hearsay. See
 infra page 84. Finally, rather than rely on the parties’ statements of material facts, the Court cites
 Ms. Howarth’s deposition testimony because it provides the information.

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         Mr. Daggett does not remember how many Sinemet tablets he received while

 at the YCJ, nor does he remember exactly when he received those doses, but he does

 recall that whatever doses he received were not enough. 34 CDSMF ¶¶ 47-48; 50-53;

 PRCDSMF ¶¶ 47-48, 50-53. He also does not remember how many times he was seen

 by medical staff at the Jail. 35 CDSMF ¶ 49; PRCDSMF ¶ 49. Although Mr. Daggett

 never asked to see someone from YCJ’s medical team, this is in part because they

 were visiting his cell or because his speech was hit or miss. YDSMF ¶ 21; PRYCSMF

 ¶ 21. Medical records from the YCJ suggest that staff attempted to administer a dose

 of Sinemet 25/100 mg to Mr. Daggett at approximately 11:00 pm on Sunday, May 17,

 2015, and again at 1:00 a.m., 3:00 a.m., 5:00 a.m., 7:00 a.m., 9:16 a.m., and 11:00 a.m.

 on Monday, May 18, 2015. YCJ Records at 2.

         The Sinemet Mr. Daggett received at the YCJ was dispensed from the

 hospital’s pharmacy and brought to the YCJ by Officer Poore.                           CDSMF ¶ 45;



 34      CCS cites portions of the record to contend that (1) Mr. Daggett received multiple Sinemet
 25/100 mg doses while incarcerated at 11:00 p.m., 1:00 a.m., 3:00 a.m., 5:00 a.m., 7:00 a.m., 9:16 a.m.,
 and 11:00 a.m. CDSMF ¶¶ 50-54. Mr. Daggett contends that he does not remember exactly when he
 received Sinemet, only that whatever Sinemet he received was not enough. PRCDSMF ¶¶ 50-54.
 35      The York Defendants asserted that Mr. Daggett never asked to see someone from the YCJ’s
 medical team. YDSMF ¶ 21. Mr. Daggett attempted to qualify this statement by noting that he was
 unable to make a request for assistance. PRYDSMF ¶ 21. From the Court’s review of the stipulated
 record, neither factual assertion is quite right, and the Court combines the parties’ positions to provide
 an accurate reflection of the record.
         Both parties cite Mr. Daggett’s November 1, 2019 deposition in support of their contentions.
 In that deposition, Mr. Daggett was asked “Do you ever recall making any request to see somebody
 from medical?” Nov. 1 Daggett Depo., at 79:25-80:1. Mr. Daggett responded “No. Because they were
 coming into the room, and it was, you know, it would have been – no.” Nov. 1 Daggett Dep., at 80:2-3.
 In another part of his deposition, Mr. Daggett noted that he told corrections officers and the medical
 provider that he needed Sinemet 25/250 mg but that during portions of his incarceration his speech
 was “hit or miss.” Id., at 77:15-80:5. Construing Mr. Daggett’s own testimony in the light most
 favorable to him, the reason he did not ask to see the medical team is because they were already
 coming to see him, not because he was completely unable to speak, but his ability to speak was
 impaired during his time in the YCJ and inhibited his ability to make a request for YCJ medical team
 involvement at times when they were not visiting his cell.

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 PRCDSMF ¶ 45.           Mr. Daggett states that the Jail’s medical personnel never

 administered his Sinemet from home and he did not swallow all the medication he

 received. CDSMF ¶ 45; PRCDSMF ¶ 45; YDSMF ¶¶ 20, 22; PRYDSMF ¶¶ 20, 22.

 Mr. Daggett further avers that, although he refused to take some of the Sinemet the

 YCJ attempted administer, that was because he could not identify some of the

 medications. CDSMF ¶ 46; PRCDSMF ¶ 46.

        The next morning, on Monday, May 18, 2015 at 9:07 a.m., Mr. Daggett was

 taken to see the lawyer of the day. CDSMF ¶ 53; PRCDSMF ¶ 53. He was brought

 from his cell to court at approximately 12:37 p.m. and returned to intake at 1:19 p.m.

 CDSMF ¶ 55; PRCDSMF ¶ 55. At 1:44 p.m., Mr. Daggett began medical intake

 screening, but he was not physically able to sign the medical forms and consent to

 treatment. CDSMF ¶ 56; PRCDSMF ¶ 56. Between 2:30 p.m. and 3:30 p.m. he began

 completing bail paperwork and his bail bond was signed at 2:50 p.m. CDSMF ¶ 57;

 PRCDSMF ¶ 57.

        F.      The Aftermath

        Mr. Daggett was released from the YCJ after 3:20 p.m. on May 18, 2015. 36

 Upon his release, a corrections officer provided Mary Howarth with a bottle

 containing Mr. Daggett’s personal medication.               CDSMF ¶ 59; PRCDSMF ¶ 59.

 Mr. Daggett had to be wheeled out of the YCJ in a wheelchair.                     PSAMF ¶ 43;

 BDRPSAMF ¶ 43; CDRPSAMF ¶ 43; YDRPSAMF ¶ 43. According to Ms. Howarth


 36      Mr. Daggett concedes this approximate release time in some places but contests it in others.
 CDSMF ¶¶ 58, 60; PRCDSMF ¶ 58, 60 (denying and citing Howarth Dep. at 93:21-25 for proposition
 that release did not occur until after 3:30 p.m.); YDSMF ¶ 23; PRYDSMF ¶ 24 (admitting release
 occurred around 3:20 p.m.).

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 he was in rough shape when she picked him up from the YCJ. 37 PSAMF ¶ 45;

 BDRPSAMF ¶ 45; CDRPSAMF ¶ 45; YDRPSAMF ¶ 45.

         Mr. Daggett claims to have suffered a concussion that seriously advanced his

 Parkinson’s Disease, post-traumatic stress disorder (PTSD), a broken hip, a chipped

 tooth, anxiety, and depression as a result of the treatment he received at the YCJ.

 CDSMF ¶ 71; PRCDSMF ¶ 71. He claims that this concussion occurred after he

 arrived in the Jail the second time and was brought to a holding cell. CDSMF ¶ 72;

 PRCDSMF ¶ 72. Two weeks after his release from the Jail, Mr. Daggett fell and

 broke his hip while at Maine Medical Center. CDSMF ¶ 73; PRCDSMF ¶ 73. He

 panicked because he thought he was back in jail, ran out of the hospital, and fell in

 the parking lot. CDSMF ¶ 73; PRCDSMF ¶ 73.

         G.      Additional Relevant Facts

                 1.      Facts Relevant to the Berwick Defendants38


 37       The York Defendants qualified that this fact is conclusory. YDRPSAMF ¶ 45. The Court
 rejects their qualification because Ms. Howarth’s testimony describes Mr. Daggett’s general well-being
 at the time of his release.
 38       Mr. Daggett claimed the town of Berwick has regulations and ordinances regarding the width
 of any public right of way in Berwick. PSAMF ¶ 38 (citing PSAMF, Attach. 2, Town of Berwick Road
 Construction Standards Road Opening Standards (Berwick Road Standards)); BDRPSAMF ¶ 38;
 CDRPSAMF ¶ 38; YDRPSAMF ¶ 38. The Berwick Defendants objected to this fact as unsupported by
 admissible evidence and denied it as unsupported by evidence in the record that may be admissible.
 BDRPSAMF ¶ 39. They stated the cited record only applies to new roads in Berwick or to
 improvements made so that a private road may be upgraded to a public way. Id. (citing Berwick Road
 Standards). The York Defendants qualified the fact as a legal conclusion. YDRPSAMF ¶ 39 (citing
 Chiang, 595 F.3d at 30).
          Mr. Daggett also claims the width of the right of way of the public road is twenty-five feet to
 each side from the center of the road. PSAMF ¶ 39. He further notes the width of the right of way
 results in the boundaries of a property owner’s private property being limited to the area inside of the
 utility poles and the drainage ditch. PSAMF ¶ 40 (citing R., Attach. 26, Pl.’s Expert Designation at 2).
 Once again, the Berwick Defendants denied this, stating that it “is a purported summary by Plaintiff’s
 counsel of expected expert testimony, not an actual expert opinion provided by a witness competent to
 offer expert testimony. The statement is not under oath and is offered for the truth of the matter
 asserted. As such, even if it were offered by an expert with qualifications necessary to assert it, rather
 than by Plaintiff’s counsel, the statement should be stricken as inadmissible hearsay.” BDRPSAMF

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         At all times relevant to this case, Timothy Towne was the Chief of Police for

 the town of Berwick. BDSMF ¶ 67; PRBDSMF ¶ 67. Chief Towne was a graduate of

 the Maine Criminal Justice Academy (MCJA) and certified by the state of Maine to

 work as a full-time law enforcement officer. BDSMF ¶ 68; PRBDSMF ¶ 68. The

 MCJA is responsible for the development and implementation of training of all law

 enforcement officers in Maine and has standardized the initial and annual training

 requirements of all officers in the state. BDSMF ¶ 71; PRBDSMF ¶ 71. He was not

 present during Mr. Daggett’s arrest and had no interactions with Mr. Daggett at the

 police station following the arrest. BDSMF ¶ 69; PRBDSMF ¶ 69. Due to his role as

 Chief of Police and his more than thirty years in Maine law enforcement, Chief Towne

 is familiar with the training requirements for Maine police officers, the certification

 process, and Maine’s requirements for law enforcement agencies regarding the

 adoption of state-mandated policies. BDSMF ¶ 70; PRBDSMF ¶ 70. In his official

 capacity, Chief Towne is responsible for ensuring that Berwick’s police officers meet

 the state’s mandatory training requirements, for ensuring appropriate supervision of

 officers, and for the discipline of officer. BDSMF ¶ 72; PRBDSMF ¶ 72. He also



 ¶ 40. The Berwick Defendants also deny the assertion, stating that “[t]he record citation does not
 support the facts asserted, and Plaintiff has misstated even the summarized opinion of counsel in the
 cited record.” Id. The York Defendants also object to the factual assertion as hearsay. YDRPSAMF
 ¶ 40.
         The Court sustains the objections and denials because the cited portion of the stipulated record
 is inadmissible hearsay, and in any event, the record does not support Mr. Daggett’s assertion. A more
 complete discussion of Mr. Daggett’s failure to properly designate experts and submit admissible
 expert testimony occurs later in this order. See infra pages 89-95. Furthermore, the Court is skeptical
 that the existence or not of a town right of way is material to the resolution of the issues before the
 Court for the reasons explained in footnote 49. Even assuming that Mr. Daggett is correct that the
 town of Berwick had a twenty-five foot right of way from the center line of the road, the right of way
 was a right of passage, not a right to push over his estranged wife’s trash bin and strew her trash on
 her lawn in derogation of an existing protection order.

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 promulgates       appropriate      department        policies   and     procedures,     including

 implementing minimum policies mandated by the state of Maine. BDSMF ¶ 76;

 PRBDSMF ¶ 76.

        The Berwick Police Department (BPD) has general orders that govern citizen

 complaints and employee discipline. 39 BDSMF ¶ 85; PRBDSMF ¶ 85. Chief Towne

 is notified of all complaints against the officers and investigates them. BDSMF ¶ 86;

 PRBDSMF ¶ 86. Prior to receiving Mr. Daggett’s civil Complaint in August 2018,

 Chief Towne had not received any complaints or notices of claim regarding alleged

 unlawful arrests for violating protection from harassment/abuse orders, unlawful

 arrest procedures, or allegations relating to officers denying arrestees proper medical

 care. BDSMF ¶ 87; PRBDSMF ¶ 87. The town of Berwick never received notice of

 claim from Mr. Daggett, his attorney, or other representative relating to his arrest on

 May 17, 2015. BDSMF ¶ 91; PRBDSMF ¶ 91.

        Subject to a limited exception for lateral or experienced hires, all Berwick

 police officers must complete the BPD training program, which is a three-phase

 training and evaluation program, requiring completion of the eighteen-week course

 at the MCJA, an intensive field training program with a Berwick Field Training

 Officer (FTO) and six additional months of close monitoring by the FTO. BDSMF ¶

 73; PRBDSMF ¶ 73. The trainings cover topics such as federal and state




 39      The Defendants objected to and denied this fact as unsupported by a record citation when Mr.
 Daggett raised it. PSAMF ¶ 41; BDRPSAMF ¶ 41, CDRPSAMF ¶ 41; YDRPSAMF ¶ 41. The Court
 found that strange because the Berwick Defendants previously asserted the same fact in BDSMF and
 Mr. Daggett admitted it. BDSMF ¶ 85; PRBDSMF ¶ 85. The Court overrules the objection and
 includes the fact.

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 constitutional law, Fourth Amendment search and seizure law, lawful arrest

 procedures, probable cause to make warrantless arrests, Maine criminal statutes,

 domestic abuse and protection from harassment and abuse orders, the Americans

 with Disabilities Act, and the Maine Civil Rights Act. BDSMF ¶ 74; PRBDSMF ¶ 74.

 All Berwick officers must satisfy the MCJA’s requirements to maintain their state

 certification as a law enforcement officer, including annual mandatory training

 requirements. BDSMF ¶ 75; PRBDSMF ¶ 75.

       All BPD policies, including its Standard Operating Guideline, Domestic Abuse

 Policy No. O-18, comply with the MCJA minimum standards and all Berwick officers

 are trained in the police department’s policies, including the MCJA minimum

 standards. BDSMF ¶ 77; PRBDSMF ¶ 77. All BPD policies are reviewed with the

 patrol officers on an annual basis and at departmental meetings throughout the year.

 BDSMF ¶ 78; PRBDSMF ¶ 78. Pursuant to the departmental policy in effect at the

 time of Mr. Daggett’s arrest, arrest is mandatory when there is probable cause to

 believe a suspect has violated a protection order. BDSMF ¶ 79; PRBDSMF ¶ 79. The

 police department also has standard operating guidelines on arrest procedures and

 prisoner transportation. BDSMF ¶ 80; PRBDSMF ¶ 80. Under these two policies,

 officers must ensure the safety of individuals in their custody, obtain medical care for

 sick or injured arrestees before bringing them to jail, and transport handicapped

 prisoners in a manner that is convenient, comfortable, and safe for both the prisoner

 and the officer. BDSMF ¶ 81; PRBDSMF ¶ 81.




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        At all times, there are two patrol sergeants who supervise the patrol officers

 and a police captain who oversees the patrol sergeants and the officers. BDSMF ¶ 82;

 PRBDSMF ¶ 82. There is always a supervisor on duty or on call who is available to

 respond to or assist. BDSMF ¶ 83; PRBDSMF ¶ 83. The Berwick Police Department

 encourages its officers to call the on-call ABA with questions about the law or a

 particular situation that they may be facing. BDSMF ¶ 83; PRBDSMF ¶ 83. Every

 report that a patrol officer prepares is reviewed and must be approved by a

 supervising officer, such as the patrol sergeant, captain, or chief, who addresses any

 concerns or questions about the report. BDSMF ¶ 84; PRBDSMF ¶ 84.

                2.      Facts Relevant to CCS

        Mr. Daggett does not allege that any of his injuries resulted from a CCS policy,

 practice, or custom and is not aware of any CCS policy, practice, or custom, that

 caused him harm. CDSMF ¶¶ 65-68; PRCDSMF ¶¶ 65-68. Mr. Daggett has no

 information about the training that CCS provides to its medical staff. CDSMF ¶ 69;

 PRCDSMF ¶ 69.

        Mr. Daggett listed a number of experts to testify about his injuries, but as the

 Court will discuss, none of those experts was properly designated on the issue of

 causation and Mr. Daggett did not proffer any expert testimony on causation. 40



 40     Mr. Daggett denied CCS’ assertion that he failed to designate an expert witness on causation,
 contending that he has designated treating professionals who can testify regarding his conditions,
 symptoms, onset of symptoms, and what occurs if he does not take his medications. CDSMF ¶ 70;
 PRCDSMF ¶ 70. Mr. Daggett technically designated a number of expert witnesses to testify about his
 medical conditions. However, as the Court later discusses, those designations were defective, and he
 has no qualified expert witness who could testify in open court before a jury about how the improper
 administration of Sinemet caused his alleged injuries. See infra pages 89-94. In light of this fact the
 Court somewhat altered CCS’ factual assertion on the issue.

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 CDSMF ¶ 70; PRCDSMF ¶ 70. CCS designated Dr. Ryan Herrington, M.D., M.P.H.,

 the former Regional Medical Director for the Maine and Vermont departments of

 corrections as its expert witness. CDSMF ¶ 74; PRCDSMF ¶ 74. Dr. Herrington will

 testify that the treatment provided to Mr. Daggett was reasonable and clinically

 appropriate. CDSMF ¶ 75; PRCDSMF ¶ 75. He will also testify that the 25/100 mg

 doses of Sinemet that CCS staff gave to Mr. Daggett during his incarceration could

 not have caused the injuries alleged and that missing one or two doses could not have

 caused his injuries either. CDSMF ¶ 75; PRCDSMF ¶ 75.

              3.    Facts Relevant to the York Defendants

       Mr. Daggett has no knowledge suggesting that Sheriff King was involved with

 the events alleged in his Complaint. YDSMF ¶ 25; PRYDSMF ¶ 25. Sheriff King

 was not present for the incident and had no physical contact with Mr. Daggett at any

 time relevant to the claims in his Complaint.      YDSMF ¶ 26; PRYDSMF ¶ 26.

 Furthermore, Sheriff King has no personal knowledge of any use of force or control

 involving Mr. Daggett during his time in the Jail and was not involved with Mr.

 Daggett’s access to medical services while in the Jail. YDSMF ¶¶ 27-28; PRYDSMF

 ¶¶ 27-28.

       Similarly, Superintendent Vitiello was not present for any of the incidents

 alleged by Mr. Daggett and had no physical contact with him at any time relevant to

 his claims. YDSMF ¶ 30, PRYDSMF ¶ 30. Superintendent Vitiello also has no

 knowledge of any use of force or control of Mr. Daggett while he was at the YCJ.

 YDSMF ¶ 31; PRYDSMF ¶ 31.          Superintendent Vitiello was not involved with



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 Mr. Daggett’s access to medical services while in the Jail, though records indicate the

 Lieutenant Colonel, presumably Michael Vitiello, ordered the Jail to take custody of

 Mr. Daggett if the hospital could provide his medications. YDSMF ¶ 32; PRYDSMF

 ¶ 32.

         Mr. Daggett has no knowledge that the incident leading to his injury resulted

 from a York County policy or custom.           YDSMF ¶ 33; PRYDSMF ¶ 33.            His

 interrogatory answers contained no facts to suggest the existence of a county policy

 that caused the alleged constitutional violations. YDSMF ¶ 34; PRYDSMF ¶ 34. It

 is the policy of York County for Jail employees to defer to the Jail’s medical provider—

 in this case CCS—to make decisions about an inmate’s healthcare. YDSMF ¶ 37;

 PRYDSMF ¶ 37. The YCJ also has policies to ensure that inmates can access medical

 care and it is the County’s policy to afford inmates and detainees reasonable access

 to non-emergency medical care. YDSMF ¶¶ 38-39; PRYDSMF ¶¶ 38-39.

         Mr. Daggett has no facts to support an argument that his injuries resulted

 from any failure by York County to train its employees. YDSMF ¶ 35; PRYDSMF

 ¶ 35. He acknowledges that he has asserted a Fourth Amendment claim only against

 the Berwick Defendants, not the York Defendants or CCS. YDSMF ¶ 36; PRYDSMF

 ¶ 36. The YCJ has policies concerning the use of control, and those policies limit use

 of control measures to situations where physical force is necessary to: (1) protect an

 officer from assault or threat of assault; (2) protect another person from assault or

 threat of assault; (3) protect an inmate from harm; or (4) prevent destruction of

 property. YDSMF ¶¶ 40-41; PRYDSMF ¶¶ 40-41. The YCJ’s officers are instructed



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 to limit the degree of control to that which the officer believes is reasonable and

 necessary under the circumstances. YDSMF ¶ 42; PRYDSMF ¶ 42. York County’s

 medical access and its use of control policy were all in effect at the time of the events

 alleged in Mr. Daggett’s complaint. YDSMF ¶ 43; PRYDSMF ¶ 43.

 III.   THE PARTIES’ POSITIONS

        A.    The Berwick Defendants

              1.     The Berwick Defendants’ Motion for Summary Judgment

        The Berwick Defendants move for summary judgment as to all of Mr. Daggett’s

 claims against them. Berwick Mot. at 1. They begin by listing these claims, which

 include: (1) a civil rights conspiracy under 42 U.S.C. § 1985, (2) a violation of the

 Maine Civil Rights Act (MCRA), (3) civil conspiracy to commit torts under Maine law,

 (4) false arrest and failure to protect claims pursuant to 42 U.S.C. § 1983 against

 Officer Poore, and (5) § 1983 failure to train/supervise claims against the town of

 Berwick and Chief Towne. Id. at 2. Because the MCRA “was patterned after § 1983,”

 the Berwick Defendants argue that “the disposition of [Mr. Daggett’s] federal law

 claims controls the outcome of [his] claims under the MCRA.” Id. (citing Berube v.

 Conley, 506 F.3d 79, 85 (1st Cir. 2007)).

                     a.     Officer Poore

                            i.     Officer Poore Had Probable Cause to Arrest
                                   Thomas Daggett

        Turning first to the § 1983 claims against Officer Poore, the Berwick

 Defendants contend “there was probable cause to believe that [Mr. Daggett] had

 committed or was committing the crime of violation of protective order and therefore

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 Officer Poore was mandated under Maine law to arrest him.” Id. at 4. The Berwick

 Defendants observe that before arresting Mr. Daggett, a “911 caller reported that

 [Mr. Daggett] was on the property in violation of the [protective] order . . . that

 prohibited [Mr. Daggett] from entering the property or premises . . ..” Id. They

 further claim that “Officer Poore was entitled to rely on that confirmation and the

 information relayed through dispatch from the caller.” Id. (citing United States v.

 Barbosa, 896 F.3d 60, 70 (1st Cir. 2018)).

       The Berwick Defendants also point out that “once Officer Poore arrived at the

 residence, he personally observed [Mr. Daggett] standing in the driveway and then

 walk through the ditch . . . [and Officer Poore] also observed belongings scattered on

 the yard and premises.” Id. at 4-5. Combining this information with the report from

 dispatch, the Berwick Defendants conclude that “there was, at the very least, a

 probability or substantial chance that [Mr. Daggett] was in violation of the protection

 order.” Id. at 5.

       Next, the Berwick Defendants argue that, although Mr. Daggett contests

 several facts surrounding his arrest, those facts are immaterial to probable cause. Id.

 First, they claim that even if Mr. Daggett did not violate the order by trying to get

 his belongings out of the trash “a police officer does not have ‘a standing obligation to

 investigate potential defenses or resolve conflicting accounts prior to making an

 arrest’” and therefore, there was still probable cause. Id. (citing Holder v. Town of

 Sandown, 585 F.3d 500, 505 (1st Cir. 2009)). Second, the Berwick Defendants argue

 that even if Mr. Daggett never physically entered the property, the protection order



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 barred him from the premises of that property, which is larger than the property

 itself. Id. Third, again citing Holder, they reiterate that Officer Poore was entitled

 to rely upon the 911 caller’s report that Mr. Daggett was on the property “and was

 not required to resolve the conflicting account prior to making an arrest.” Id.

                            ii.   Officer Poore is Entitled to Qualified
                                  Immunity

       The Berwick Defendants next contend that “[e]ven if Officer Poore was

 mistaken in his belief that probable cause existed to arrest [Mr. Daggett] for violation

 of a protective order, he is nevertheless entitled to qualified immunity.” Id. Quoting

 Cox v. Hainey, 391 F.3d 25, 31 (1st Cir. 2004), the Berwick Defendants assert “[h]ere

 ‘in the case of a warrantless arrest, if the presence of probable cause is arguable or

 subject to legitimate question, qualified immunity will attach.’” Id. at 6. As such,

 they suggest that even assuming Officer Poore was incorrect, and Mr. Daggett never

 entered the property at 317 Cranberry Meadow Road, he could nonetheless

 reasonably conclude that Mr. Daggett had entered the “premises” of the property. Id.

 In the same vein, the Berwick Defendants contend that “[a] reasonable officer could

 also conclude that [Mr. Daggett] violated the Order by harassing or otherwise

 disturbing the peace of Ms. Daggett by tipping over her trash and scattering trash all

 over the yard.” Id.

       The Berwick Defendants conclude that “based on the circumstances of this

 case, the law was not clearly established that Officer Poore lacked probable cause to

 arrest [Mr. Daggett] for the crime of violation of protection order.” Id. at 7. They

 argue that there is no clearly established law on point because “[t]here is no

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 controlling precedent construing the meaning of ‘premises’ to establish probable

 cause in the context of Maine’s or a comparable protection from abuse statute such

 that every reasonable officer . . . would have known that the decision to arrest [Mr.

 Daggett] in the particular circumstances he faced would violate the Fourth

 Amendment.” Id. (emphasis in original).

                            iii.   The Failure to Protect Claim Fails as a Matter
                                   of Law

       The Berwick Defendants assert that Mr. Daggett’s “[f]ailure to [p]rotect [c]laim

 [f]ails as a [m]atter of [l]aw.” Id. They contend “[w]hile these allegations seem to

 implicate the substantive due process clause of the Fourteenth Amendment, [Mr.

 Daggett’s] failure to protect claim cannot survive summary judgment.” Id. The

 Berwick Defendants contend that Officer Poore lacked an affirmative duty to protect

 Mr. Daggett because “the mere creation of a custodial relationship is insufficient to

 establish a substantive due process claim based on a failure to protect.” Id. at 8.

 Moreover, “[t]he First Circuit has explained that a plaintiff has to establish not only

 a deprivation of a protected right but also that the governmental conduct caused the

 deprivation of the right.” Id. (citing Morgan v. Town of Lexington, 823 F.3d 737, 742-

 43 (1st Cir. 2016)) (emphasis in original).

       Casting their own argument in a slightly different light, the Berwick

 Defendants reframe Mr. Daggett’s argument as follows: “[Mr. Daggett] is essentially

 claiming that Officer Poore had a constitutional duty to intervene to provide more

 medical treatment or medication to [him] or somehow override the decision of a

 trained doctor that [Mr. Daggett] was fit for incarceration.” Id. at 8-9. The Berwick

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 Defendants then contend that even if Officer Poore had a duty to protect Mr. Daggett,

 it was not breached as a matter of law. Id. at 9. They write “based on the undisputed

 facts, no reasonable jury could infer deliberate indifference or conscience-shocking

 conduct on the part of Officer Poore.” Id. In support, the Berwick Defendants observe

 that Officer Poore brought Mr. Daggett to the jail after confirming he had violated

 the protective order and was not eligible for bail, after visiting the hospital twice to

 be cleared for incarceration, and after ensuring that Mr. Daggett had obtained

 medications from the treating physicians.       Id.   Thus, The Berwick Defendants

 contend that “[i]t was reasonable for Officer Poore to rely on the medical professionals

 who were evaluating [Mr. Daggett] to provide him with necessary medical care,

 including his required medication, and who made an informed decision that [he] was

 fit for incarceration.” Id. at 10. What’s more, the Berwick Defendants argue that

 “Officer Poore also cannot be held liable under Section 1983 for the alleged

 constitutional deprivations of the [other defendants].” Id. This is because it would

 be a so-called “bystander” claim and Officer Poore is not a bystander because he left

 the jail after it accepted Mr. Daggett into custody. Id.

       Shifting to causation, the Berwick Defendants mention that Mr. Daggett

 “has . . . failed to designate an expert witness on causation to link his alleged injures

 to the alleged failure to receive his medication while he was in Officer Poore’s

 custody.” Id. at 11. They note that Mr. Daggett had already missed two doses of

 Sinemet before his arrest, and that “[w]ithout expert testimony, a jury would only be

 left to speculate as to the cause of his subsequent alleged injuries.” Id.



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       Notwithstanding the above, the Berwick Defendants argue that qualified

 immunity protects Officer Poore. Id. They urge that a police officer’s duty to protect

 was not clearly established at the time of Officer Poore’s arrest. Id. (citing Morgan,

 823 F. 3d 737, 740 (1st Cir. 2016)). They state that “[i]t was not until March 1, 2017,

 that the First Circuit permitted a substantive due process claim to proceed in Irish v.

 Maine, 849 F.3d 521 (1st Cir. 2017) based on a failure to protect and creation of

 danger theory.” Id. at 12. Thus, because these cases followed Mr. Daggett’s arrest,

 they “could not have given any clear guidance to Officer Poore.” Id. Moreover, the

 Berwick Defendants find this case distinguishable from the “more extreme” conduct

 by police in Irish. Id. Thus, the Berwick Defendants conclude that “[b]ecause the law

 was not clearly established that Officer Poore’s decisions violated [Mr. Daggett’s]

 substantive due process rights, he is entitled to qualified immunity.” Id. at 12.

                     b.    Chief Towne and the Town of Berwick

                           i.     No Underlying Constitutional Violation

       The Berwick Defendants contend that “to establish a § 1983 claim against

 Chief Towne or the Town of Berwick, [Mr. Daggett] would need to show that a

 Berwick officer violated [Mr. Daggett’s] constitutional rights.” Id. at 13. They argue

 that here, for the reasons just discussed, “there was no underlying constitutional

 violation by Officer Poore” and therefore the “clams against Chief Towne and the

 Town of Berwick fail as a matter of law.” Id.

                           ii.    Failure to Train/Supervise Claims Fail as a
                                  Matter of Law




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       The Berwick Defendants next assert that even assuming a constitutional

 violation occurred, Mr. Daggett has not met “the standard for imposing liability based

 on a failure to train or supervise theory.” Id. at 13. The Berwick Defendants aver

 that this standard imposes liability only “where the conduct amounts to deliberate

 indifference to the rights of the persons with whom the police come into contact and

 is closely related to, or the moving force behind, the constitutional injury.” Id. (citing

 Norton v. City of S. Portland, 831 F. Supp. 2d 340, 365 (D. Me. 2011) (internal citation

 omitted)). They claim that Mr. Daggett cannot prove that constitutional harm befell

 him due to a failure to train because Officer Poore, like all Berwick police officers,

 attended the Maine Criminal Justice Academy, trained with a Berwick field training

 officer, and underwent six months of additional close monitoring by the field training

 officer. Id. at 14. The training included “federal and state constitutional law, Fourth

 Amendment search and seizure law, lawful arrest procedures, determining when

 probable cause to make a warrantless arrest exists, Maine criminal statutes,

 domestic abuse and protection from harassment and abuse orders, the Americans

 with Disabilities Act, and the Maine Civil Rights Act.” Id. at 14-15. Furthermore,

 the police department has a chain of command, which provides officers with

 supervision, and “Chief Towne is notified of all complaints made against Berwick

 officers and the Berwick Police Department investigates all complaints or grievances

 against Berwick officers.” Id. at 15.

       In light of these facts, the Berwick Defendants contend the record supports

 neither a “causal link between” Chief Towne’s conduct and “the arrest or subsequent



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 processing of” Mr. Daggett, nor “a finding that Chief Towne or any Berwick official

 trained or supervised Officer Poore with deliberate indifference.” Id.



                           iii.   Chief Towne is Entitled to Qualified Immunity

       The Berwick Defendants also argue that Chief Towne is entitled to qualified

 immunity on “any supervisory claim.” Id. at 16. The crux of this argument is that

 Chief Towne lacked “notice . . . or otherwise should have known that his supervisory

 acts amounted to a constitutional violation.” Id. (citing Ashcroft v. al-Kidd, 563 U.S.

 731, 735 (2011)). Rather, “[i]t was . . . not foreseeable to Chief Towne that, after

 Officer Poore received medication from the hospital and had [Mr. Daggett] cleared for

 incarceration, the Jail and Correct Care Solutions would fail to provide [Mr. Daggett]

 with his proper medication or otherwise cause him injuries . . ..”         Id.   Thus,

 Mr. Daggett “cannot show that Chief Towne clearly acted with deliberate indifference

 towards [his] constitutional rights” and “Chief Towne is entitled to qualified

 immunity.” Id.

                     c.    No Evidence Supports the § 1985 Civil Rights
                           Conspiracy Claim

       The Berwick Defendants further assert that they are entitled to summary

 judgment in their favor on Mr. Daggett’s 42 U.S.C. § 1985 civil rights conspiracy

 claim. Id. at 17. First, they argue that there “has been no constitutional violation by

 the Berwick Defendants” and therefore, Mr. Daggett’s “conspiracy claims must fail.”

 Id. Second, they claim that the factual record contains “nothing to suggest that [the

 Berwick Defendants] collectively agreed on a course of action.” Id. As such, they

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 characterize Mr. Daggett’s “allegations of a conspiracy” as “bald allegations

 unsupported by any record evidence.” Id.

                     d.    The Civil Conspiracy Claim is Unsupported by the
                           Evidence and Barred by the Maine Tort Claims Act

       The Berwick Defendants provide a detailed discussion of why Mr. Daggett’s

 claims for civil conspiracy to commit torts are barred or otherwise insufficient to

 survive summary judgment under the Maine Tort Claims Act (MTCA) Id. at 17-20.

 However, in his response, Mr. Daggett waived his MTCA claims in his opposition

 brief to the Defendants’ summary judgment motions. Pl.’s Opp’n at 18 (“Plaintiff at

 this time concedes his state law claims of civil conspiracy against all defendants”).

              2.     Thomas Daggett’s Opposition

                     a.    Officer Poore

                           i.     Officer Poore Lacked Probable Cause to Arrest
                                  Mr. Daggett

       Mr. Daggett asserts that “[p]robable cause requires evidence that it is more

 likely than not a crime was committed and the particular suspect was involved in its

 commission.” Pl.’s Opp’n at 7. He claims that the information known to Officer Poore

 at the time of the arrest fell short of probable cause because “Officer Poore conducted

 absolutely no investigation into the violation of a protection order complaint that was

 made.” Id. He contends that he was not standing within the property lines of 317

 Cranberry Meadow Road and was protecting his property pursuant to his rights in a

 pending divorce case. Id. at 7-8. Moreover, he points out that Officer Poore did not

 identify or converse with the complaining party before arresting Mr. Daggett. Id.



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 at 8. He claims that relying on the ADA’s advice that probable cause existed is

 unavailing to Officer Poore because Officer Poore withheld relevant facts during that

 conversation, namely that Mr. Daggett was standing in the town right of way and

 was protecting his own property from destruction. Id. Thus, Mr. Daggett concludes

 that a jury must ultimately decide whether “a reasonable and prudent person [would]

 make a finding of probable cause when there was zero investigation done before the

 officer decided to arrest.” Id.

                            ii.    Officer Poore is Not Entitled to Qualified
                                   Immunity

       Mr. Daggett further asserts that “Officer Poore is not entitled to [q]ualified

 [i]mmunity.” Id. He identifies the legal standard for qualified immunity, noting that

 it does not apply when the state actor violated clearly established law that a

 reasonable officer should have known of. Id. at 8-9. He then states that “the need for

 probable cause to exist before the effectuation of an arrest is a clearly established

 principle in our constitutional jurisprudence.” Id. at 9. Therefore, he concludes that

 “[a]n arrest that is void of probable cause and perpetrated without an investigation

 by the law enforcement officer is not entitled to qualified immunity.” Id.

                            iii.   The Failure to Protect Claim is Viable

       Mr. Daggett believes his “[f]ailure to [p]rotect claim should be allowed to

 proceed.” Id. at 10. Mr. Daggett states that Officer Poore had a duty to protect him

 while in official custody because he was “not able to fully protect or care for himself.”

 Id. He states that the duty was “a duty to ensure that Mr. Daggett’s medical needs




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 are met which is a substantive due process right . . ..” Id. (citing DeShaney v.

 Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 198-200, n.5 (1989)).

        Mr. Daggett argues that Officer Poore breached his duty to protect him. Id.

 He reminds the Court that Officer Poore was responsible for his medical care until he

 turned him over to the YCJ. Id. However, at the time Mr. Daggett was placed in

 YCJ custody, he was no longer able to move under his own power and “was not able

 to sign his name or hold a pen.” Id. He continues, noting that this deterioration

 occurred on Officer Poore’s watch despite “Officer Poore’s duty to make sure

 Mr. Daggett had access to his medications.” Id. Therefore, he concludes Officer Poore

 breached his duty to protect him by removing his medication from his pockets at the

 Berwick Police Department and by “not acting when his physical condition

 deteriorated . . ..” Id. at 10-11.

                      b.     Chief Towne and the Town of Berwick

                             i.       The Failure to Train/Supervise Claims Are
                                      Viable

        Mr. Daggett urges that summary judgment on his claims against Chief Towne

 and the town of Berwick is similarly improper. Id. at 11. He repeats his assertion

 that there was an underlying constitutional violation—namely, the wrongful arrest

 by Officer Poore and Officer Poore’s failure to protect Mr. Daggett. Id. He submits

 that the “[f]ailure to [t]rain and [f]ailure to [s]upervise claims are viable.” Id. On

 this point he observes that failure to train claims generally require a showing that

 the failure to train was predictable or conscious and therefore require showing a

 pattern of past constitutional violations. Id. at 11-12. However, the First Circuit and

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 Supreme Court have given credence to the notion that some constitutional violations

 are so obvious and likely to occur absent training that they satisfy the deliberate

 indifference standard without a pattern or practice of similar violations. Id. at 12.

       Mr. Daggett further claims that he has “shown that [Berwick] possesses the

 requisite level of fault which is deliberate indifference.” Id. at 13 (internal citation

 and quotation marks omitted). He thus opposes summary judgment, noting that

 “[s]ummary judgment is not warranted in a situation in which the jury could find

 that the department knew that a constitutional violation was a predictable

 consequence of the department’s failure to train and therefore deliberately indifferent

 to [Mr. Daggett’s] constitutional rights.” Id. at 13-14.

                             ii.   Chief Towne and Qualified Immunity

       Mr. Daggett argues that Chief Towne is not entitled to qualified immunity. Id.

 at 14. He maintains, without citing any cases, that “[a]n arrest of an individual

 without an investigation being performed and the failure to provide medication for

 and to an inmate of a correctional institution are obviously violations that cannot be

 protected by qualified immunity.” Id. He describes these rights as “fully established

 recognizable rights.” Id.

                     c.      The § 1985 Civil Rights Conspiracy Claim

       Mr. Daggett avers that his “[c]laims under section 1985 are viable against all

 parties.” Id. He notes that contrary to the Defendants’ objections, he has established

 sufficient evidence of a conspiracy and deprivation of a constitutionally protected

 right to survive summary judgment. Id. at 15. Without reference to Officer Poore,



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 Chief Towne, or the town of Berwick, Mr. Daggett contends that “Defendant Vitiello

 in concert with medical providers worked to put [Mr. Daggett] in a position where he

 would be accepted into the Jail without the proper medications – and in an amount

 that would last less than 24 hours.” Id. Moreover, the medical staff neither provided

 the correct dose nor administered the medications on the correct schedule. Id. He

 concludes these injuries are sufficient evidence of a civil rights conspiracy. Id.

                     d.     The MTCA Claim

       Mr. Daggett waives his state law claims of civil conspiracy. Id. at 18.

              3.     The Berwick Defendants’ Reply

       The Berwick Defendants begin their reply by noting that Mr. Daggett’s

 statement of material facts includes factual assertions immaterial to the allegations

 against them. Berwick Reply at 1-2. They inform the Court that they have conceded

 these immaterial facts because “they do not have sufficient information to admit or

 deny them” but “understand[] that these admissions are only for purposes of the

 Berwick Defendants’ summary judgment motion and that they do not affect the

 motions filed by the other defendants.” Id. at 1-2 (citing D. ME. LOC. R. 56(g) and Doe

 v. Solvay Pharms., Inc., 350 F. Supp. 2d 257, 274 n.11 (D. Me. 2004)).

       Turning to the merits, the Berwick Defendants first reject Mr. Daggett’s

 argument that his arrest occurred without probable cause. Id. at 2. They note Mr.

 Daggett’s claim “rests on two arguments, one that totally ignores Maine law

 regarding enforcement of Protection Orders and another in which [Mr. Daggett] offers

 only his own opinion, devoid of any admissible evidence . . . or cited legal authority.”



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 Id.   The Berwick Defendants recount the facts they believe gave Officer Poore

 probable cause to arrest Mr. Daggett, such as the 911 dispatcher’s communication to

 Officer Poore about a complaint that Mr. Daggett was on the property going through

 the trash in violation of a protection order. Id. Other information included Officer

 Poore’s observation of Mr. Daggett standing in the property’s driveway “before

 watching him walk through the ditch in front of the residence on his way back to his

 vehicle.” Id. In addition, “Officer Poore saw that a large pile of belongings had been

 strewn about the ditch.” Id. Thus, the Berwick Defendants conclude that Officer

 Poore’s “observations upon arrival were consistent with the information conveyed to

 him while on his way to the scene, and justified his conclusion that there was a

 probability, or a substantial chance, that [Mr. Daggett] had violated the Protection

 From Abuse Order.” Id. at 3 (citing Acosta v. Ames Dep’t Stores, Inc., 386 F.3d 5 (1st

 Cir. 2004)).

        The Berwick Defendants further argue that Mr. Daggett has not provided “any

 factual basis” for his “claim that no probable cause to arrest existed in this case.” Id.

 According to them, Mr. Daggett’s “claim that he never left public property” is based

 “entirely on an inadmissible statement by his counsel in her expert designation as to

 what anticipated expert testimony would be regarding the width of rights of way on

 certain roads in the Town of Berwick, without a showing that it even applied to

 Cranberry Meadow Road.” Id.

        Regarding qualified immunity, the Berwick Defendants argue Mr. Daggett’s

 “Memorandum does nothing with regard to Officer Poore’s claim for qualified



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 immunity other than restate black letter law regarding the qualified immunity test,

 then disregard that law by resorting to a generalized claim that ‘the need for probable

 cause to exist before the effectuation of arrest is a clearly established principle in our

 constitutional jurisprudence.’” Id. at 4 (quoting Pl.’s Opp’n at 9). The Berwick

 Defendants disagree with Mr. Daggett’s characterization, instead noting that

 “[q]ualified immunity rests not on abstract, generalized principles, but on the

 particular facts and circumstances of each case.” Id. They conclude the Court should

 “find that Officer Poore is entitled to qualified immunity in this unique set of

 circumstances.” Id.

       The Berwick Defendants similarly contend that summary judgment is

 warranted on Mr. Daggett’s failure to protect claim. Id. They contend that, as a

 matter of law, Mr. Daggett “clearly fails to demonstrate that Officer Poore acted with

 deliberate indifference to [his] constitutional rights and engaged in ‘conscience-

 shocking’ behavior.” Id. They characterize the threshold for conscience-shocking

 behavior as “extremely high,” more “than merely violating state law.” Id. The

 Berwick Defendants urge that Officer Poore’s repeated trips to the hospital where

 Mr. Daggett was twice deemed fit for incarceration and given medication before being

 turned over to YCJ custody falls short of conscience-shocking behavior. Id. at 5. The

 Berwick Defendants reassert that qualified immunity also shields Officer Poore from

 liability because the First Circuit has never recognized the legitimacy of failure to

 protect claims and therefore “an affirmative duty to protect was not ‘clearly




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 established law’ at the time of [Mr. Daggett’s] arrest in 2015. Id. (citing Morgan, 823

 F.3d at 740).

       As for the town of Berwick and Chief Towne, the Berwick Defendants contend

 that the record does not support liability. Id. They note that Mr. Daggett “conflates

 supervisory and municipal liability theories, as well as the Town of Berwick and York

 County, as if the same facts and legal arguments apply equally to all.” Id. at 5-6.

 They then point to the fact that Mr. Daggett admitted that the town of Berwick had

 “training, policies, procedures, and supervision of Berwick police officers, such as

 Officer Poore, that are relevant to any supervisory or municipal liability theory.” Id.

 at 6. Moreover, they contend that supervisory liability is lacking because of “the

 absence of an underlying constitutional violation by Officer Poore . . ..”          Id.

 Furthermore, the Berwick Defendants aver that no facts support a claim of

 supervisory liability against Chief Towne. Id.

       Turning finally to Mr. Daggett’s § 1985 conspiracy claim, the Berwick

 Defendants conclude that Mr. Daggett “must be deemed to have waived any objection

 to summary judgment” as to them. Id. at 7. This is because Mr. Daggett does “not

 provide evidence of any ‘overt act in furtherance of the conspiracy’ to which the

 Berwick Defendants were a party . . ..” Id. Moreover, “he fails to mention them at

 all, or otherwise address [their] claim to summary judgment on the conspiracy count.”

 Id.

       B.        Correct Care Solutions, LLC

                 1.   Correct Care Solutions, LLC’s Motion for Summary
                      Judgment

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       CCS insists that it “is entitled to summary judgment on Counts IV and VIII of

 [Mr. Daggett’s] Amended Complaint” for three reasons. CCS Mot. at 5. First, CCS

 argues that Mr. Daggett “cannot establish a constitutional claim for inadequate

 medical care.” Id. Second, Mr. Daggett “has not designated an expert witness to

 testify regarding the cause of his alleged injuries, an essential element of his

 constitutional claim.” Id. Third, “even assuming [Mr. Daggett] could establish an

 underlying constitutional violation, he cannot . . . establish[] municipal liability, as

 the record is devoid of evidence establishing: (A) a policy or custom, (B) deliberate

 indifference, or (C) causation.” Id.

                     a.     Mr. Daggett Cannot Make a Prima Facie Case of
                            Deliberate Indifference to His Serious Medical
                            Needs

       On the first issue, CCS states that to prevail on a constitutional claim for

 inadequate medical care while incarcerated, a plaintiff “must assert ‘acts or omissions

 sufficiently harmful to evidence deliberate indifference’ to his serious medical needs.”

 Id. at 6 (citing Estelle v. Gamble, 429 U.S. 97, 105-06 (1976)). It claims “[s]ubstandard

 treatment amounting to mere negligence or malpractice does not constitute

 deliberate indifference.” Id. (citing Leavitt v. Corr. Med. Servs., Inc., 645 F.3d 484,

 498-99 (1st Cir. 2011)). Rather, inadequate medical care in a jailhouse setting is only

 actionable when (1) prison officials “possessed a sufficiently culpable state of mind”

 and (2) “the deprivation alleged was objectively, sufficiently serious.” Id. at 6-7

 (quoting Leavitt, 645 F.3d at 497). They claim that the legal measuring stick of

 objective adequacy is “prudent professional standards” rather than “care that is ideal,

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 or of the prisoner’s choosing.” Id. at 7 (citing Nunes v. Mass. Dep’t of Corr., 766 F.3d

 136, 142 (1st Cir. 2014) and Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir 2014)).

       CCS asserts that, as a matter of law, Mr. Daggett “cannot establish that the

 medical care he received during his . . . stint at YCJ was inadequate as measured

 against prudent professional standards.” Id. at 7-8. CCS points out that Mr. Daggett

 has failed to designate an expert “to testify that the medical care he received fell

 below prudent professional standards.” Id. at 8. What’s more, CCS contends that its

 “medical staff acted reasonably by relying on the medication and instructions

 provided by [Doctors] Schmitz and Dolan.” Id. Furthermore, CCS maintains that

 although Mr. Daggett “may disagree with the strength of the medication that was

 ordered [by] Dr. Schmitz after he consulted with Dr. Dolan, this disagreement cannot

 form the basis for a deliberate indifference claim . . .. Mere disagreements about the

 proper course of care do not create constitutional claims.” Id. (citing Kosilek, 774 F.3d

 at 82). And, although Mr. Daggett “does not recall how many doses of Sinemet he

 received while detained nor how many times he was seen by CCS medical staff” CCS

 cites records for the proposition that Mr. Daggett was given Sinemet at

 approximately two-hour intervals during his stay at the YCJ. Id. at 8-9.

       Regardless whether Mr. Daggett’s care was objectively adequate, CCS further

 asserts that his claim cannot survive summary judgment because he cannot show

 CCS or its employees “intentionally provided [him] with the wrong dose of his

 Sinemet.” Id. at 9. It contends that to the extent Mr. Daggett missed doses of Sinemet

 while in court or completing paperwork, those errors were “[a]t worst . . . negligent.”



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 Id. On this point, CCS argues that Mr. Daggett’s “inability to establish the subjective

 prong of the deliberate indifference standard is compounded by the fact that [Mr.

 Daggett] has not identified a specific CCS employee that he claims was deliberately

 indifferent to his medical needs.” Id. at 10. Thus, CCS concludes it is “entitled to

 summary judgment on [Mr. Daggett’s] claims under § 1983 and the MCRA.” Id.

                     b.     Mr. Daggett Lacks the Necessary Expert Testimony
                            on Causation

       CCS’ second argument in favor of summary judgment is that Mr. Daggett “does

 not have the requisite expert testimony to establish his constitutional claim.” Id.

 More specifically, CCS describes “the basis” for Mr. Daggett’s claims as “that he did

 not receive the right medication at the right time.” Id. at 11. As a result, Mr. Daggett

 “claims that this rendered him mostly catatonic, and that correctional officers pushed

 him onto a bed, causing him to hit his head on a wall. . ..” Id. (internal citation

 omitted). Further, CCS notes Mr. Daggett “alleges that he suffered a concussion at

 YCJ that significantly advanced his Parkinson’s disease, PTSD, a broken hip, a

 chipped tooth, anxiety, and depression.” Id. For CCS, these allegations are not

 enough for Mr. Daggett to survive summary judgment because he “has not designated

 an expert witness to establish the causal link between the alleged medication errors

 and his claimed injuries, some of which occurred weeks after he was released from

 custody.” Id.

       CCS contends that “[w]here a plaintiff’s claim involves the treatment of a

 sophisticated medical condition, expert testimony is generally required to establish

 causation.” Id. (collecting cases). Here, CCS specifically argues that “[p]roof of

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 proximate cause of the injuries alleged by [Mr. Daggett] requires expert medical

 evidence attributing the injuries to the acts of which [he] complains. [Mr. Daggett]

 suffers from a complex medical condition that is treated with an unusual medication

 regimen.” Id. at 13. Thus, because “[t]he etiology of [these] injuries . . . are not

 obvious to a layperson,” an average juror would lack the knowledge needed to

 determine whether (1) “the dosage of Sinemet administered to [Mr. Daggett] caused

 or exacerbated [his] injuries,” and (2) “whether missing one (or even multiple) doses

 of Sinemet would cause the future injuries claimed by [Mr. Daggett].” Id.

       Summing up, CCS writes that without expert testimony on causation, any jury

 verdict would be “entirely speculative.” Id. CCS points out that in addition to the

 factors already noted, “prior to his arrest at approximately 6:40 p.m., the last time

 [Mr. Daggett] had taken Sinemet was at approximately 2:00 p.m., meaning that he

 had already missed at least two doses by the time he was taken into custody.” Id.

 Thus, CCS contends summary judgment is proper on Counts IV and VIII because

 Mr. Daggett has proffered insufficient evidence of causation. Id.

                     c.     Mr. Daggett Cannot Establish Municipal Liability

       CCS’ final argument for summary judgment is that Mr. Daggett “cannot

 establish municipal liability.” Id. at 14. CCS relies on Monell v. Dep’t of Soc. Servs.,

 436 U.S. 658 (1978), for the proposition that “a municipal entity is liable under § 1983

 only if an official municipal policy caused a plaintiff to be deprived of a federal right.”

 Id. (citing Monell, 436 U.S. at 694). According to CCS, municipal liability cannot be

 predicated on the tort doctrine of respondeat superior, rather municipal “liability only



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 can attach when the execution of a custom or policy inflicts the injury.” Id. (citing

 L.A. Cty. v. Humphries, 562 U.S. 29, 35 (2010)). CCS next notes that if the policy or

 custom is not itself unconstitutional, a plaintiff “must do far more” to prevail against

 a municipality. Id. at 15. The plaintiff must then “show that the policy or custom

 evidences a deliberate indifference to his constitutional rights.” Id.

       As applied to Mr. Daggett, CCS first notes that he has presented “no evidence

 of a policy or custom.” Id. In support, CCS cites Mr. Daggett’s November 15, 2019

 deposition where he stated that he “was not aware of any policy or custom that caused

 him harm” and “that his only allegation against CCS was that its employees failed to

 provide his medication at the appropriate time and in the right dosage.” Id. at 15-16.

 Thus, CCS concludes that it is entitled to summary judgment on Mr. Daggett’s

 constitutional claim. Id. at 16.

       CCS also notes that “there is no evidence of deliberate indifference.” Id. It

 observes that “there is no evidence of CCS employees at YCJ failing to properly

 medicate other inmates” and “during the pendency of this case, [Mr. Daggett] has not

 deposed a single CCS employee, much less a CCS employee with policymaking

 authority.” Id. at 17. CCS employs the same argument against Mr. Daggett’s failure

 to train claim, noting that Mr. Daggett “testified that he does not have any

 information about the training that CCS provides to its medical personnel.” Id. at 18.

 Moreover, CCS asserts that there is no evidence in the record to suggest that a policy

 or custom of CCS caused any of his injuries. Id. at 19.

                     d.     The Civil Conspiracy Claim is Not Viable



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       Finally, CCS argues that it “is entitled to summary judgment on [Mr.

 Daggett’s] civil conspiracy claims.” Id. As the Berwick Defendants did, CCS notes

 that civil conspiracy to commit torts is not actionable in Maine without the

 perpetration of an underlying tort. Id. It also asserts that Mr. Daggett has not

 presented “any evidence suggesting that an agreement existed among the Defendants

 to deprive [him] of his civil rights.” Id. at 20. Thus, CCS concludes it “is entitled to

 summary judgment on Count I of [the] Amended Complaint.”                  Id.   Because

 Mr. Daggett conceded this claim, the Court need not further describe CCS’ position

 on the matter. Pl.’s Opp’n at 18.

              2.     Thomas Daggett’s Opposition

                     a.     The § 1985 Civil Rights Conspiracy and Civil
                            Conspiracy to Commit Torts Claims

       Mr. Daggett claims that summary judgment on his § 1985 civil rights

 conspiracy is improper. Pl.’s Opp’n at 15. As with the Berwick Defendants, he notes

 that “Defendant Vitiello in concert with medical providers worked to put [Mr.

 Daggett] in a position where he would be accepted into the Jail without the proper

 medications – and in an amount that would last less than 24 hours.” Id. Moreover,

 “[t]he medical staff at the Jail did not provide the correct dosage of medication to [Mr.

 Daggett] nor was it provided on the correct schedule . . ..” Id. Mr. Daggett concedes

 summary judgment is proper on his state conspiracy to commit torts claims. Id. at 18.

                     b.     Mr. Daggett’s Claims for Deliberate Indifference to
                            his Serious Medical Needs are Viable




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       Mr. Daggett also contends that “CCS is not entitled to Summary Judgment on

 Counts IV and VIII.” Id. at 15. He states that “[t]he conditions of confinement for a

 pretrial detainee are judged pursuant to the 14th Amendment to the United States

 constitution through a due process analysis.” Id. at 15-16. He notes that “the

 relevant question . . . is whether the conditions of confinement amount to an unjust

 punishment of the detainee.” Id. at 16. Mr. Daggett puts forth that the Eighth

 Amendment’s     “deliberate   indifference      standard”   governs   the   constitutional

 sufficiency of a prisoner’s medical care. Id.

       According    to   Mr.   Daggett,    determining       whether   medical    care   is

 constitutionally sufficient “is a two pronged analysis requiring both a subjective and

 an objective showing.” Id. He believes that the objective prong “requires a showing

 of serious medical need” such that even a layperson would easily see the need for

 medical attention. Id. He claims that “[a] significant risk of future harm” also

 suffices. Id. Regarding the subjective prong, Mr. Daggett suggests that it “requires

 a showing of intentional conduct or wanton disregard to the medical needs of the

 inmate.” Id.

       Mr. Daggett puts forth that his Parkinson’s Disease “would qualify as a serious

 medical need” because “[m]edical staff at the Jail [were] told by Dr. Schmitz that

 maintaining Mr. Daggett’s medication regimen was extremely important and that

 failure to do so would cause Mr. Daggett to become immobile.”               Id. at 16-17.

 Mr. Daggett claims that he also meets the subjective prong. Id. at 17. He points out

 that “Ms. Howarth has provided testimony that at the time she spoke to the charge



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 nurse the Jail had yet to give Mr. Daggett any medication and based on their

 description of his behavior – unresponsive; unable to walk into the Jail on his own;

 unable to hold a pen and sign his name; needing to be wheeled around in a chair – an

 inference can be drawn in Mr. Daggett’s favor . . . that the medication was

 intentionally not administered as required.” Id.

                    c.     Mr. Daggett Provided          the    Necessary     Expert
                           Testimony on Causation

       Finally, regarding causation, Mr. Daggett urges that he “does not need expert

 testimony and whatever testimony is in the record is sufficient for Summary

 Judgment purposes.” Id. He notes that he “designated treating professionals who

 are able to testify regarding [his] conditions; symptoms; onset of symptoms; and what

 occurs [if Mr. Daggett] does not take his medications.” Id. Moreover, he points to

 “record testimony from Dr. Schmitz regarding what occurs to a Parkinson’s patient if

 their medication is discontinued.” Id.

              3.    Correct Care Solutions, LLC’s Reply

       CCS makes three broad points in its eight-page reply. CCS Reply at 1-8. First,

 it claims that Mr. Daggett cannot satisfy any of the three elements required to

 establish municipal liability under § 1983. Id. at 1. On this point, CCS notes that

 Mr. Daggett “admits that he is not aware of a CCS policy, practice, or custom that

 caused him harm” and “likewise admits that he is not claiming that a CCS policy,

 practice, or custom caused him harm in this case.” Id. Moreover, he “has not offered

 any argument or evidence to establish deliberate indifference by CCS itself” nor has

 he “offered any argument or evidence to establish the necessary strong causal link

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 between his alleged constitutional violation and a hypothetical CCS policy, practice,

 or custom.” Id.

       CCS points out that Mr. Daggett “does not even attempt to raise a municipal

 liability [claim] against CCS in his Opposition.” Id. at 2. Instead, CCS notes that

 Mr. Daggett “only argues that he can establish an underlying constitutional claim

 against CCS medical staff and that he does not need expert testimony to do so.” Id.

 CCS states that this is incorrect because under § 1983, CCS cannot be held liable

 under respondeat superior. Id.

       CCS’ second point is that Mr. Daggett “cannot establish his underlying

 constitutional claim.” Id. In support, CCS recounts the course of treatment that

 Mr. Daggett received at YCJ, noting that “[t]he material facts are undisputed.” Id.

 at 2-3. CCS notes “Dr. Schmitz provided 10 Sinemet 25/100 pills, and there were only

 two Sinemet pills leftover following [Mr. Daggett’s] discharge.” Id. Thus, “eight

 Sinemet 25/100 pills were administered to [Mr. Daggett] while he was incarcerated

 at YCJ during his roughly 16-hour detention, which is consistent with a pill every

 two hours.” Id. CCS states that contending “these facts support an ‘inference’ that

 [Mr. Daggett’s] ‘medication was intentionally not administered as required’ is

 baseless, particularly given the fact that medical staff initially refused to accept [him]

 because they did not have enough medication.” Id. (quoting Pl.’s Opp’n at 17). CCS

 also points to the lack of expert testimony regarding causation, noting that “[w]ithout

 expert testimony, a jury would need to resort to rank speculation to conclude that the

 injuries [Mr. Daggett] claims he suffered when he was brought to an intake cell after



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 he was admitted to YCJ had anything to do with CCS medical staff allegedly not

 administering him Sinemet at 11:00 p.m., especially given the undisputed fact that

 he received Sinemet at approximately 10:23 p.m.” Id. at 4. CCS raises the same

 causation argument about the injuries Mr. Daggett allegedly suffered two weeks after

 his incarceration. Id.

       CCS’ third point is that Mr. Daggett has no viable claim for a civil rights

 conspiracy under § 1985. Id. at 6. First, CCS argues that Mr. Daggett’s argument

 that he has made a prima facie showing of a conspiracy “turns the factual record on

 its head” and “is unfounded.”   Id.   Second, CCS notes that Mr. Daggett “never

 attempts to argue how the purpose of this purported conspiracy was to deprive him

 of equal protection of laws.” Id. Moreover, he lacks an evidence of “discriminatory

 animus.” Id. at 7. In addition, CCS states Mr. Daggett “cannot skirt the stringent

 restrictions on municipal liability under § 1983 by attempting to frame his claim

 against CCS as a conspiracy under § 1985.” Id. CCS declares that both are subject

 to the same requirement of an “official policy or custom” that causes injury to the

 plaintiff, but that Mr. Daggett “has admitted there is no CCS policy or custom that

 caused him any harm in this case, and he has not argued otherwise.” Id.

       C.     The York Defendants

              1.    The York Defendants’ Motion for Summary Judgment

       The York Defendants begin by identifying Mr. Daggett’s claims against them,

 which include a violation of 42 U.S.C. § 1985 in Count I of the Amended Complaint,

 a violation of 42 U.S.C. § 1983 by Sheriff William King in Count VI, a violation of



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 § 1983 by York County in Count VII, a violation of the Maine Civil Rights Act in

 Count VIII, and civil conspiracy in Count IX. York Mot. at 2. They point out that

 “[a]lthough the Amended Complaint refers to ‘John Does’ who are purportedly

 employees of the Jail, Mr. Daggett has never identified these individuals or joined

 them as parties.” Id.

                     a.     Mr. Daggett Has No Viable § 1983 Claims Against the
                            York Defendants

       The gist of the York Defendants motion for summary judgment is that “[b]ased

 on the factual record . . . none of [Mr. Daggett’s] claims are legally viable” and, to the

 extent that they are “Sheriff King and Superintendent Vitiello are protected from

 liability . . . by qualified immunity and all of the County Defendants are protected by

 immunity with regard to the civil conspiracy claim.” Id. at 3. Beginning with the

 civil rights claims, the York Defendants note that although Mr. Daggett’s Amended

 Complaint “invokes the First, Fourth, Fifth, Eighth, and Fourteenth Amendments to

 the United States Constitution,” he does not assert “viable First, Fourth or Fifth

 Amendment claims against the County Defendants.” Id. at 4. This is because the

 Amended Complaint does not identify a First Amendment violation, Mr. Daggett has

 conceded his Fourth Amendment claim applies only to the Berwick Defendants, and

 the Fifth Amendment applies only to the federal government. Id.

       Regarding the Fourteenth Amendment, the York Defendants urge that

 negligent infliction of harm is insufficient to support liability—rather a pretrial

 detainee “must show: one, that the force was purposefully or knowingly used against

 him or her; and two, that the force was objectively unreasonable based on the

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 particular facts and circumstances and in light of the prison’s legitimate security

 interests.”   Id. at 4-5.        Although the York Defendants concede that “[t]he

 requirements for a claim of inadequate medical care under the Fourteenth

 Amendment” are not doctrinally clear, they contend that the standard is, at

 minimum, coextensive with a prisoner’s Eighth Amendment rights. Id. at 5. They

 then assert that to prevail on an Eighth Amendment claim for inadequate medical

 care, a prisoner must show “deliberate indifference to a prisoner’s serious medical

 needs.” Id. (internal quotation marks omitted).

                             i.      Sheriff King

       The York Defendants argue that this standard is not met as applied to Sheriff

 King. First, they contend that Mr. Daggett has not met his burden to show “any basis

 for civil rights claims against Sheriff King.” Id. They note that Sheriff King was not

 present for, or otherwise involved in, “any of the events alleged in the Amended

 Complaint.” Id. They contend that a claim based on supervisory liability is similarly

 unsupported by the record. Id. On this latter point, the York Defendants observe

 that “there is no evidence of any constitutional violation by any member of the Jail

 staff.” Id. at 7. They claim that “Mr. Daggett alleges that he hit his head on the wall

 after the officers lowered him onto a bunk” but that “[a]t best, his testimony suggests

 that the officers did not correctly assess whether Mr. Daggett would be able to sit

 upright on the bunk once they released him.” Id. They further contend that this does

 “not constitute objectively unreasonable conduct as a matter of law.” Id.




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       As for the medical care Mr. Daggett received in prison, the York Defendants

 remind the Court of the care Mr. Daggett received, noting that it shows Mr. Daggett

 had “ample access to medical care in the Jail” which “precludes any liability of the

 Jail officers under the Fourteenth Amendment.” Id. The York Defendants further

 assert that even if Mr. Daggett had shown a constitutional violation by YCJ staff,

 “there is no evidence of action or inaction on Sheriff King’s part that was affirmatively

 linked to that behavior, in the sense that it could be characterized as supervisory

 encouragement, condonation, or acquiescence or gross negligence amounting to

 deliberate indifference.” Id. at 8. Thus, the York Defendants conclude that absent a

 constitutional violation and evidence causally linking Sheriff King to such violation,

 “Sheriff King is entitled to summary judgment with regard to Counts VI and VIII.”

 Id.

                            ii.    Michael Vitiello

       The York Defendants contend the “Amended Complaint does not assert a

 federal civil rights claim against Mr. Vitiello and, in any event, the record would not

 support such a claim as a matter of law.” Id. Nevertheless, they state that “the same

 arguments presented above in support of summary judgment for Sheriff King would

 apply to any federal civil rights claims against Superintendent Vitiello. There is no

 record evidence to suggest that Superintendent Vitiello was involved in any of the

 events that Mr. Daggett alleges as the basis of his claims.” Id. at 9. They further

 declare that there is “no evidence that Superintendent Vitiello was on notice of any

 of the issues alleged in the Amended Complaint” and “no evidence of a causal link



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 between action or inaction on the part of Superintendent Vitiello and the alleged

 constitutional violations.” Id. Thus, the York Defendants contend Superintendent

 Vitiello is entitled to summary judgment. Id.

                           iii.   Qualified Immunity

       As an alternative ground for summary judgment, the York Defendants argue

 that “Sheriff King and Superintendent Vitiello are protected by qualified immunity.”

 Id. After restating the legal standard for qualified immunity they argue that even

 “[a]ssuming, for the purposes of argument, that Mr. Daggett could demonstrate that

 his claims implicate clearly-established constitutional rights, he cannot demonstrate

 that a supervisor would be liable for constitutional violations committed by Sheriff

 King and Superintendent Vitiello’s subordinates in that context.” Id. at 10-11. Thus,

 they conclude that, because supervisory liability does not apply, “Mr. Daggett cannot

 establish the existence of a clearly established right . . .” and Sheriff King and

 Superintendent Vitiello “are both protected by qualified immunity.” Id.

                           iv.    York County

       The York Defendants maintain that “the County cannot be held liable under

 Section 1983” because Mr. Daggett cannot trace his constitutional claim to a county

 policy or custom. Id. at 11-12. They note that York County has policies in place

 regarding “the use of control,” and “to afford inmates and detainees at the Jail

 reasonable access to non-emergency . . . medical services.” Id. at 11-12. It is also

 county policy “for employees working at the Jail to defer to the medical provider –




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 which was, in May of 2015, CCS – with regard to decisions pertaining to health care

 diagnosis and treatment of inmates.” Id. at 12.

          Here, the York Defendants point out that “Mr. Daggett has not identified any

 custom or policy of York County that would contradict these established policies.

 Moreover, he has not identified how any York County custom or policy was the

 moving force behind the alleged violations of his constitutional rights.” Id. They

 further observe that Mr. Daggett conceded that he knew of no county policy or custom

 that caused his alleged constitutional injuries. Id. Thus, they claim “the County is

 entitled to summary judgment on Count VII.” Id.

                      b.    The § 1985 Civil Rights Conspiracy Claim

          The York Defendants assert that Mr. Daggett has not provided sufficient

 evidence to “support the existence of several required elements of a conspiracy claim

 pursuant to 42 U.S.C. § 1985.” Id. They claim that there is no evidence in the record

 to show “the existence of a conspiracy against Mr. Daggett; a conspiratorial purpose

 to deprive Mr. Daggett of the equal protection of the laws or of equal privileges and

 immunities under the laws; or an overt act in furtherance of the conspiracy.” Id.

 at 13.

                      c.    Civil Conspiracy Under Maine Law

          The County Defendants raise similar contentions in favor of summary

 judgment on Mr. Daggett’s civil conspiracy claim. Id. at 13-16. As previously stated,

 Mr. Daggett waived this claim, so the Court need not summarize the York

 Defendants’ arguments for summary judgment.



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                     d.     Punitive Damages

       As a final point, the County Defendants argue that “punitive damages are not

 recoverable against the County under state tort law or under Section 1983 . . ..

 Therefore, the Court should enter summary judgment in favor of York County with

 regard to punitive damages.” Id. at 17. They further urge that this ground for

 summary judgment extends to Sheriff King and Superintendent Vitiello as well,

 because they lacked the requisite “evil motive or intent” and did not “act with reckless

 or callous indifference to Mr. Daggett’s federally-protected rights.” Id.

              2.     Thomas Daggett’s Opposition

                     a.     There Was an Underlying Constitutional Violation

       Mr. Daggett first asserts that the York Defendants are not entitled to be

 summary judgment because “[t]here was an underlying constitutional violation,”

 specifically “the failure to protect Mr. Daggett and provide him appropriate medical

 care and treatment by . . . the York County Jail . . ..” Pl.’s Opp’n at 11. He then

 contends that “Sheriff King [] and Lt. Colonel Vitiello are not entitled to [q]ualified

 [i]mmunity” stating that “the failure to provide medication for and to an inmate of a

 correctional institution are obviously violations that cannot be protected by qualified

 immunity.” Id. at 14. He asserts that Superintendent Vitiello violated YCJ policy

 when he “instructed that Mr. Daggett be admitted into the jail if medication could be

 provided by the hospital in contrast to the judgment of the medical personnel.” Id.

 Further, he declares that “the failure of the Jail to supervise the medical provider




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 and ensure that they were actually administering the medications ordered meets the

 deliberate indifference standard needed to deny summary judgment.” Id.

                     b.     The § 1985 Conspiracy is Viable

       Next, as with the other Defendants, Mr. Daggett puts forth that his § 1985

 claim for a civil rights conspiracy is “viable” because “Defendant Vitiello in concert

 with medical providers worked to put [Mr. Daggett] in a position where he would be

 accepted into the Jail without the proper medications . . ..” Id. at 14-15. However,

 Mr. Daggett “concedes his state law claims of civil conspiracy . . ..” Id. at 18.

                     c.     The York Defendants Were Deliberately Indifferent
                            to Mr. Daggett’s Serious Medical Needs

       Elaborating on the constitutional standards for providing medical care to

 incarcerated individuals, Mr. Daggett suggests that the inquiry is two-pronged and

 requires a showing of (1) “a serious medical need” and (2) “a showing of intentional

 conduct or wanton disregard to the medical needs of the inmate.” Id. at 16. He claims

 that Parkinson’s Disease qualifies as a “serious medical need” and that, at this stage,

 the fact that Mr. Daggett experienced symptoms consistent with the withholding of

 his Sinemet by jail staff permits “an inference . . . that the medication was

 intentionally not administered as required.” Id. at 17.

              3.     The York Defendants’ Reply

       The York Defendants pursue two arguments in their reply. York Reply at 1-7.

 First, they contend that Mr. Daggett “has not demonstrated any viable claims under

 Section 1983.” Id. at 1. Second, they assert that “[s]everal required elements of a

 conspiracy claim pursuant to Section 1985 do not exist in this case.” Id. at 5.

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        Regarding section 1983, the York Defendants claim “Mr. Daggett . . . has not

 presented any developed argument in support of his bald assertion that York County

 violated his constitutional rights.” Id. at 1. They claim that “[b]y failing to develop

 even a semblance of an argument, Mr. Daggett has waived any objection to summary

 judgment for the County.” Id. More specifically, the York Defendants put forth that

 Mr. Daggett has not provided evidence that a policy, custom, practice, or failure to

 train caused his constitutional injury, and has instead conceded that he knows of no

 such policy, practice, custom, or deficient training. Id. at 2.

        As applied to Sheriff King and Superintendent Vitiello, the York Defendants

 raise similar arguments, noting that Mr. Daggett’s opposition references Sheriff King

 sparingly and “does not discuss Sheriff King’s involvement in the alleged events, let

 alone analyze his liability for alleged constitutional violations.” Id. Moreover, the

 York Defendants contend that Mr. Daggett’s references to Superintendent Vitiello

 are “not tied to any developed argument” and therefore Mr. Daggett has waived any

 objection to summary judgment. Id. at 2-3. Despite this, the York Defendants persist

 in their argument that “the limited references to Sheriff King and Superintendent

 Vitiello do not support a basis for liability.” Id. at 3. They note that Mr. Daggett has

 not shown Sheriff King was present or involved in Mr. Daggett’s confinement and

 medical treatment “and had no notice of the events alleged by Mr. Daggett.” Id.

 Thus, they conclude that without evidence of supervision, Sheriff King cannot be

 liable. Id.




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       The same argument extends to Superintendent Vitiello, who “was not present

 for any of the incidents . . ., had no contact with Mr. Daggett, and had no personal

 knowledge of any alleged use of force or control involving Mr. Daggett.” Id. at 4.

 Moreover, to the extent that Superintendent Vitiello was involved with the decision

 to admit Mr. Daggett to the YCJ, the York Defendants contend his “role was limited

 to ensuring that the Jail’s medical provider would be able to provide . . . proper

 medical care” not that “he involved himself in the administration of that medical care”

 or “was involved in Mr. Daggett’s access to medical care while at the Jail.” Id. The

 York Defendants further assert that Mr. Daggett’s objection to their claim of qualified

 immunity is underdeveloped and therefore, waived. Id. at 5.

       As for the civil rights conspiracy claim under § 1985, the York Defendants aver

 that several elements of the claim are unsupported by the evidentiary record. Id.

 Namely, Mr. Daggett has not “identif[ied] a conspiratorial purpose to deprive him or

 a class of persons of the equal protection of the laws or of equal privileges and

 immunities under the laws.” Id. Moreover, he similarly fails to allege discrimination

 on the basis of race or other factors. Id. at 5-6. Due to these defects, the York

 Defendants assert that Mr. Daggett’s “failure to address these required elements

 constitutes a waiver of any objection he may have had.” Id. at 6. Even so, the York

 Defendants conclude that the facts “reflect the exact opposite” of a civil rights

 conspiracy instigated by Defendant Vitiello because “Mr. Daggett’s entry into the Jail

 was not permitted until he obtained the necessary medication from the hospital. The

 hospital supplied medication and Mr. Daggett was admitted to the Jail. From that



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 point, it is undisputed that Mr. Daggett received medical attention, including the

 administration of medication.” Id.

 IV.   LEGAL STANDARD

       Summary judgment is proper when “the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of

 law.” FED. R. CIV. P. 56(a). “Genuine issues of fact are those that a factfinder could

 resolve in favor of the nonmovant, while material facts are those whose ‘existence or

 nonexistence has the potential to change the outcome of the suit.’” Green Mountain

 Realty Corp. v. Leonard, 750 F.3d 30, 38 (1st Cir. 2014) (quoting Tropigas de P.R.,

 Inc. v. Certain Underwriters at Lloyd’s of London, 637 F.3d 53, 56 (1st Cir. 2011)).

       After the moving party “has made a preliminary showing that there is no

 genuine issue of material fact, the nonmovant must ‘produce specific facts, in suitable

 evidentiary form, to . . . establish the presence of a trialworthy issue.’” McCarthy v.

 City of Newburyport, 252 F. App’x 328, 332 (1st Cir. 2007) (alteration in original)

 (quoting Triangle Trading Co., Inc. v. Robroy Indus., Inc., 200 F.3d 1, 2 (1st Cir.

 1999)). The nonmoving party must provide “‘enough competent evidence’ to enable a

 factfinder to decide in its favor on the disputed claims.” Carroll v. Xerox Corp., 294

 F.3d 231, 237 (1st Cir. 2002) (quoting Goldman v. First Nat’l Bank of Boston, 985

 F.2d 1113, 1116 (1st Cir. 1993)). Then, the Court “views the facts and draws all

 reasonable inferences in favor of the nonmoving party,” Ophthalmic Surgeons, Ltd.

 v. Paychex, Inc., 632 F.3d 31, 35 (1st Cir. 2011), but disregards “[c]onclusory

 allegations, improbable inferences, acrimonious invective, or rank speculation.”



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 Mancini v. City of Providence ex rel. Lombardi, 909 F.3d 32, 38 (1st Cir. 2018) (quoting

 Ahern v. Shinseki, 629 F.3d 49, 54 (1st Cir. 2010)). “[T]he plain language of Rule

 56(c) mandates the entry of summary judgment . . . against a party who fails to make

 a showing sufficient to establish the existence of an element essential to that party’s

 case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v.

 Catrett, 477 U.S. 317, 322 (1986).

 V.    DISCUSSION

       Mr. Daggett’s Amended Complaint contains twelve counts: (1) violation of 42

 U.S.C. § 1985 against all defendants; (2) Fourth, Fifth, Eighth, and Fourteenth

 Amendment claims under 42 U.S.C. § 1983 against “John Doe 3,” an employee of York

 County; (3) Fourth, Fifth, Eighth, and Fourteenth Amendment claims under 42

 U.S.C. § 1983 against “John Doe 1” and “John Doe 2,” corrections officers at the YCJ;

 (4) Fourth, Fifth, Eighth, and Fourteenth Amendment Claims against CCS under 42

 U.S.C. § 1983; (5) Fourth, Fifth, Eighth, and Fourteenth Amendment claims under

 § 1983 against “Jane Doe 1” and “Jane Doe 2,” two purported CCS employees; (6)

 violation of § 1983 against Sheriff King; (7) violation of § 1983 against York County;

 (8) violation of the Maine Civil Rights Act (MCRA), 5 M.R.S. § 4682, against all

 Defendants; (9) civil conspiracy to commit torts against all defendants; (10) a claim

 for false arrest, purportedly under 42 U.S.C. § 1983, against Officer Poore; (11) a

 § 1983 claim for failure to protect against Officer Poore; and (12) a § 1983 claim

 against the town of Berwick and Chief Towne. Am. Compl. ¶¶ 93-161.




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        At the outset, the Court must address four threshold matters.                         First,

 Mr. Daggett conceded his state law civil conspiracy claims against all Defendants.

 Pl.’s Opp’n at 18. Due to his concession, summary judgment is warranted on Count

 IX and the Court will not address the merits further.                  Relatedly, Mr. Daggett

 conceded that his only Fourth Amendment claim arises against the Berwick

 Defendants. YDSMF ¶ 36; PRYDSMF ¶ 36. Based on his further concession, the

 Court grants summary judgment on all Fourth Amendment claims against other

 Defendants.

        Second, some of Mr. Daggett’s claims are barred outright.                   To the extent

 Mr. Daggett has asserted Fifth Amendment due process claims, the Defendants are

 entitled to summary judgment on those claims. “The Fifth Amendment Due Process

 Clause . . . applies ‘only to actions of the federal government – not to those of state or

 local governments.’” Martínez-Rivera v. Sánchez Ramos, 498 F.3d 3, 8 (1st Cir. 2007)

 (quoting Lee v. City of Los Angeles, 250 F.3d 668, 687 (9th Cir. 2001)); Collins v. Univ.

 of N.H, 664 F.3d 8, 12 n.1 (1st Cir. 2011). Mr. Daggett has never alleged that any of

 the Defendants are federal actors, and therefore the Fifth Amendment’s Due Process

 Clause does not apply to their actions. 41 Accordingly, the Court grants summary

 judgment in favor of the Defendants on Mr. Daggett’s Fifth Amendment claims.




 41     Of course, “[o]ther provisions of the Fifth Amendment, such as the prohibitions against self-
 incrimination and double jeopardy, are applicable to the states through the Fourteenth Amendment.”
 Martínez-Rivera, 498 F.3d at 8 n.6 (citing Duncan v. Louisiana, 391 U.S. 145, 148 (1968) (self-
 incrimination); Benton v. Maryland, 395 U.S. 784, 794 (1969) (double jeopardy)). However,
 Mr. Daggett never alleges the Defendants violated his rights to be free from compelled self-
 incrimination or double jeopardy.

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       Third, “[t]he disposition of a 42 U.S.C. § 1983 claim also controls a claim under

 the MCRA.” Berube v. Conley, 506 F.3d 79, 85 (1st Cir. 2007) (citing Dimmitt v.

 Ockenfels, 220 F.R.D. 116, 123 (D. Me. 2004)). Therefore, the Court’s rulings on

 Mr. Daggett’s § 1983 claims apply to his MCRA claims. To avoid redundancy, the

 Court only addresses Mr. Daggett’s § 1983 claims, bearing in mind that the analysis

 applies to multiple counts.

       Fourth, some brief background on 42 U.S.C. § 1983 is warranted. “Section

 1983 creates a ‘species of tort liability,’ for ‘the deprivation of any rights, privileges,

 or immunities secured by the Constitution.’” Manuel v. City of Joliet, 137 S. Ct. 911,

 916 (2017) (quoting Imbler v. Pachtman, 424 U.S. 409, 417 (1976) and 42 U.S.C.

 § 1983) (internal citations omitted). Deprivations of federal statutory rights are also

 actionable under § 1983. See Maine v. Thiboutot, 448 U.S. 1, 4 (1980) (reasoning the

 phrase “and laws,” as used in § 1983, encompassed all deprivations of federally

 conferred rights); but see Gonzaga Univ. v. Doe, 536 U.S. 273, 283 (2002) (rejecting

 “the notion that [caselaw] permit[s] anything short of an unambiguously conferred

 right to support a cause of action brought under § 1983”). As the Supreme Court has

 “said many times, § 1983 is not itself a source of substantive rights, but merely

 provides a method for vindicating federal rights elsewhere conferred.” Graham v.

 Connor, 490 U.S. 386, 393-94 (1989) (internal citation and quotation marks omitted).

 “Mere violations of state law do not, of course, create constitutional claims.” Roy v.

 City of Augusta, 712 F.2d 1517, 1522 (1st Cir. 1983).




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       “[T]he threshold inquiry in a § 1983 suit . . . requires courts to identify the

 specific constitutional right at issue.” Manuel, 137 S. Ct. at 920 (internal citation and

 quotation marks omitted). Once a court has “pinpoint[ed] that right, courts still must

 determine the elements of, and rules associated with, an action seeking damages for

 its violation.” Id. (citing Carey v. Piphus, 435 U.S. 247, 257-58 (1978)). Frequently,

 state actors invoke qualified immunity as a defense to liability in § 1983 cases.

 “Government officials sued in their individual capacities are immune from damages

 claims unless (1) they violated a federal statutory or constitutional right, and (2) the

 unlawfulness of their conduct was clearly established at the time.” Irish v. Fowler,

 979 F.3d 65, 76 (1st Cir. 2020) (quoting Dist. of Columbia v. Wesby, 138 S. Ct. 577,

 589 (2018)) (internal quotation marks omitted).

       “The test to determine whether a right is clearly established asks whether the

 precedent is ‘clear enough that every reasonable official would interpret it to establish

 the particular rule the plaintiff seeks to apply’ and whether ‘[t]he rule’s contours

 [were] so well defined that it is clear to a reasonable officer that his conduct was

 unlawful in the situation he confronted.’” Id. (quoting Wesby, 138 S. Ct. at 590)

 (alteration in Irish). This requires either “controlling authority,” such as a vertical

 precedent from either the Supreme Court or the First Circuit, or a consensus of “sister

 circuit law” that “would provide notice to every reasonable officer that his conduct

 was unlawful.” Id. It is not necessary “that cases involve[e] materially similar facts”

 for a court to conclude the law was clearly established. Id. With this background in

 mind, the Court turns to the merits.



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        A.     Count One: Violation of 42 U.S.C. § 1985

        Count I of the Amended Complaint asserts a civil rights conspiracy against all

 Defendants under 42 U.S.C. § 1985. “Section 1985 permits suits against those who

 conspire to deprive others ‘of the equal protection of the laws, or of the equal privileges

 and immunities under the law . . ..’” Soto-Padró v. Pub. Bldgs. Auth., 675 F.3d 1, 4

 (1st Cir. 2012) (quoting 42 U.S.C. § 1985(3)). A § 1985 claim has four elements: “(1)

 ‘a conspiracy,’ (2) ‘a conspiratorial purpose to deprive the plaintiff of the equal

 protection of the laws,’ (3) ‘an overt act in furtherance of the conspiracy,’ and, lastly,

 (4) either (a) an ‘injury to person or property’ or (b) ‘a deprivation of a constitutionally

 protected right.’” Id. (quoting Pérez-Sánchez v. Pub. Bldg. Auth., 531 F.3d 104, 107

 (1st Cir. 2008)). The second prong “means that there must be some racial, or perhaps

 otherwise class-based, invidiously discriminatory animus behind the conspirators’

 action.” Griffin v. Breckenridge, 403 U.S. 88, 102 (1971).

        In response to the Defendants’ motions for summary judgment, Mr. Daggett

 proffered two paragraphs contending that “Defendant Vitiello in concert with medical

 providers worked to put [Mr. Daggett] in a position where he would be accepted into

 the Jail without the proper medications – and in an amount that would last less than

 24 hours.” Pl.’s Opp’n at 15. He adds that “[t]he medical staff at the Jail did not

 provide the correct dosage of medication to [Mr. Daggett] nor was it provided on the

 correct schedule and it appears from the records of the medications remaining

 upon . . . discharge that the chart of medications delivered to Mr. Daggett do not

 square with the pills left.” Id.



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         Construing the evidence in the light most favorable to Mr. Daggett and

 drawing all reasonable inferences in his favor, the Defendants are entitled to

 summary judgment on the § 1985 claim. Mr. Daggett’s civil rights conspiracy claim

 cannot survive summary judgment for several reasons. First, he has not made a

 prima facie showing of a conspiracy—an agreement—among the Defendants. See

 Parker v. Landry, 935 F.3d 9, 18 (1st Cir. 2019) (“[A] plaintiff seeking to allege such

 a conspiracy must plausibly allege facts indicating an agreement among the

 conspirators to deprive the plaintiff of her civil rights”). When a plaintiff lacks “direct

 evidence of such an agreement . . . the plaintiff must plead plausible factual

 allegations sufficient to support a reasonable inference that such an agreement was

 made.” Id. Thus, although “‘conspiracy is a matter of inference,’ summary judgment

 may still be appropriate on a conspiracy claim where the nonmoving party rests

 merely on conclusory allegations.” See Estate of Bennett v. Wainwright, 548 F.3d 155,

 178 (1st Cir. 2008) (affirming summary judgment for defendants on a § 1983

 conspiracy claim) 42; see also Johnson v. City of Biddeford, 454 F. Supp. 3d 75, 92-93

 (D. Me. 2020) (granting summary judgment to defendants on a § 1985 conspiracy

 claim after finding “allegations of a conspiracy . . . no more than conclusory” because

 “[p]laintiffs ha[d] not pointed to any statements demonstrating an agreement . . .

 giving rise to a conspiracy”).




 42      Estate of Bennett considered the elements of a § 1983 conspiracy claim, but the analysis is
 similar, in part, to a § 1985 conspiracy claim. See Parker, 935 F.3d at 17-18 (relying on Estate of
 Bennett, 548 F.3d at 178 to explain that a plaintiff alleging a civil rights conspiracy must support his
 claims with evidence sufficient to permit a reasonable trier of fact to infer there was an agreement to
 deprive the plaintiff of his rights).

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        Mr. Daggett’s allegations of conspiracy are conclusory. The record is devoid of

 any evidence that, even when construed in the light most favorable to Mr. Daggett

 and drawing all inferences in his favor, could plausibly suggest the Defendants

 agreed to violate his constitutional rights. The gist of his opposition to summary

 judgment is that he suffered injuries to his constitutional rights and therefore, a

 conspiracy must have occurred. But the law requires more than this. While Mr.

 Daggett alleged multiple actors contributed to his injuries, he failed to make even a

 passing evidentiary showing of an agreement among those actors. Absent such an

 agreement, his conspiracy claim is not viable.

        Mr. Daggett’s conspiracy claim is defective in other ways. On the issue of

 intent, Mr. Daggett has similarly made no factual showing that the Defendants acted

 with   “racial,   or   perhaps   otherwise    class-based,   invidiously   discriminatory

 animus. . ..” Parker, 935 F.3d at 18 (quoting Griffin, 403 U.S. at 102). Furthermore,

 he failed to pinpoint an overt act in furtherance of the conspiracy. Although Mr.

 Daggett suggests the provision of inadequate medical care was the overt act, the

 Court finds this bare assertion insufficient because Mr. Daggett’s description of

 Superintendent Vitiello’s conduct belies the facts. Rather than work in concert with

 other actors to admit Mr. Daggett to the YCJ without the proper medications, the

 record shows that Superintendent Vitiello instructed YCJ staff to accept Mr. Daggett

 only after he obtained the necessary medications. If Superintendent Vitiello actually

 intended to deprive Mr. Daggett of adequate medical care, it would be peculiar to

 require Mr. Daggett to return to the hospital and obtain prescription medication for



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 Parkinson’s Disease. Similarly, Mr. Daggett puts forth no evidence that YCJ staff,

 CCS, or CCS staff intentionally provided Mr. Daggett with a dose of Sinemet other

 than the doses Dr. Schmitz ordered.

       The conspiracy claim cannot proceed. The underlying facts are undisputed,

 and Mr. Daggett lacks any evidence of an agreement, a conspiratorial purpose to

 deprive him of his civil rights, and an overt act in furtherance of the conspiracy.

 While he alleges physical and constitutional injuries, that is merely one of four

 elements he must show. Thus, Mr. Daggett failed to make a prima facie showing of

 a civil rights conspiracy in violation of 42 U.S.C. § 1985 and the Court grants

 summary judgment in favor of the Defendants on Count I.

       B.     Counts Two and Three: Constitutional Claims Against the York
              County John Doe Employees

       Counts II and III of Mr. Daggett’s Amended Complaint state constitutional

 claims against John Does 1, 2, and 3 under § 1983 and alleges that these individuals

 are employees of York County. Am. Compl. ¶¶ 7-12, 97-108.

       In Figueroa v. Rivera, 147 F.3d 77 (1st Cir. 1998), the First Circuit explained

 that “[u]nder FED. R. CIV. P. 4(m), a district court may dismiss a complaint without

 prejudice as to a particular defendant if the plaintiff fails to serve that defendant

 within 120 days after filing the complaint.” Id. at 83. “Moreover, a district court

 otherwise prepared to act on dispositive motions is not obligated to ‘wait indefinitely

 for [the plaintiff] to take steps to identify and serve . . . unknown defendants.’” Id.

 (quoting Glaros v. Perse, 628 F.2d 679, 685 (1st Cir. 1980)) (alteration in original).

 Accordingly, the Figueroa Court affirmed a district court’s dismissal of a plaintiff’s

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 constitutional claim for deliberately indifferent medical care against unnamed

 defendants. Id. The First Circuit reasoned that the passage of seventeen months

 between when the plaintiff filed his complaint and when the district court entered

 judgment was “more than an ample interlude” for the plaintiff to identify the

 unnamed defendants and serve process. Id. Accordingly, the First Circuit affirmed

 the dismissal of claims against the unnamed defendants. Id.

       Counts II and III merit similar treatment as in Figueroa. Mr. Daggett’s claims

 against the John Does have been pending since August 8, 2018. Compl. Discovery

 closed on November 15, 2019. Order on Discovery Issues and Am. Scheduling Order

 (ECF No. 39). Since then, Mr. Daggett has not amended his Amended Complaint to

 identify the John Doe employees. All told, nearly two and a half years have passed

 since Mr. Daggett first brought these claims and it has been over a year since

 discovery closed. As in Figueroa, the Court concludes Mr. Daggett has had “more

 than an ample interlude” to name these defendants.         Moreover, Mr. Daggett’s

 opposition brief to the Defendants’ motions for summary judgment identified only

 Officer Poore, the York County Jail, and CCS as the perpetrators of the “underlying

 violations of Mr. Daggett’s constitutional rights – the wrongful arrest by Officer

 Poore; the failure to protect Mr. Daggett and provide him appropriate medical care

 and treatment by Officer Poore; the York County Jail and CCS.” Pl.’s Opp’n at 11.

       In light of the above, the Court concludes Mr. Daggett’s claims against the John

 Doe Defendants are withdrawn, or alternatively, insufficiently developed to continue.

 In either case, the Court need not pass further judgment on those claims and



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 therefore dismisses the Amended Complaint without prejudice as to the John Doe

 Defendants. See, e.g., Johnson, 454 F. Supp. 3d at 81 n.2 (dismissing undeveloped

 claims against unnamed defendants on a motion for summary judgment); Gonzalez

 v. Dooling, 98 F. Supp. 3d 135, 141 n.9 (D. Mass. 2015) (same); Covillion v. Alsop, 145

 F. Supp. 2d 75, 77 n.1 (D. Me. 2001) (same).

       C.     Counts Four and Five: Constitutional Claims Against CCS and
              the Two Jane Doe Employees

              1.     Count Four: Constitutional Claim Against CCS

       Count IV alleges CCS violated Mr. Daggett’s constitutional rights to adequate

 medical care by being deliberately indifferent to his medical needs. Am. Compl.

 ¶¶ 109-16. Because Mr. Daggett was a pretrial detainee, his claim arises under the

 Fourteenth Amendment to the United States Constitution. Leavitt v. Corr. Med.

 Servs. Inc., 645 F.3d 484, 497 n.21 (1st Cir. 2011).       However, the Fourteenth

 Amendment standard applicable to pre-trial detainees is the same as the Eighth

 Amendment standard that protects prisoners after conviction. Id. The adequacy of

 medical care is “measured against ‘prudent professional standards.’” Nunes v. Mass.

 Dep’t of Corr., 766 F.3d 136, 142 (1st Cir. 2014).

                     a.     Legal Standard: Inadequate Medical Treatment

       “It is well established that deliberate indifference to serious medical needs of

 prisoners constitutes the unnecessary and wanton infliction of pain proscribed by the

 Eighth Amendment . . . and is actionable under 42 U.S.C. § 1983.” Abernathy v.

 Anderson, 984 F.3d 1, 6 (1st Cir. 2020) (per curiam) (quotation marks omitted) (citing

 Estelle v. Gamble, 429 U.S. 97, 104 (1976)). To prevail on a deliberate indifference

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 claim, “a plaintiff must satisfy a two-prong standard.” Id. The first prong requires

 that a plaintiff “show, as an objective matter, that he has a ‘serious medical need[]’

 that received inadequate care.” Id. (quoting Leavitt, 645 F.3d at 497) (alteration in

 original). “A serious medical need is that which ‘has been diagnosed by a physician

 as mandating treatment, or one that is so obvious that even a lay person would easily

 recognize the necessity for a doctor’s attention.’” Id. (quoting Leavitt, 645 F.3d at

 497). Under Leavitt, “[t]he ‘seriousness’ of an inmate’s needs may also be determined

 by reference to the effect of the delay in treatment.” Leavitt, 645 F.3d at 497-98

 (quoting Gaudreault v. Municipality of Salem, 923 F.2 203, 208 (1st Cir. 1990)). This

 first “inquiry is fact-specific and must be tailored to the specific circumstances of the

 case.” Abernathy, 984 F.3d at 6 (citing Leavitt, 645 F.3d at 500).

       The second prong is subjective. Id. at 6. “[T]he Eighth Amendment is not

 violated unless prison administrators also exhibit deliberate indifference to the

 prisoner’s needs.”   Kosilek v. Spencer, 774 F.3d 63, 83 (1st Cir. 2014). Proving

 deliberate indifference “requires evidence that the failure in providing treatment to

 the plaintiff was purposeful.” Abernathy, 984 F.3d at 6. “Thus, an ‘inadvertent

 failure to provide adequate medical care’ does not give rise to a constitutional claim.”

 Id. (quoting Estelle, 429 U.S. at 105-06). However, a “wanton disregard to a prisoner’s

 needs . . . akin to criminal recklessness, requiring consciousness of impending harm,

 easily preventable” may satisfy the subjective test. Kosilek, 774 F.3d at 83 (internal

 citations and quotation marks omitted). In short, the Constitution requires jails and




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 prisons only to provide adequate medical care, but providers cannot turn a blind eye

 to obvious or known risks to an incarcerated person’s health. Id.

         Municipal actors such as CCS can only be held liable under § 1983 for

 municipal acts. 43 Abdisamad v. City of Lewiston, 960 F.3d 56, 60 (1st Cir. 2020).

 “Municipal liability ‘cannot be based on respondeat superior but requires

 independent liability based on an unconstitutional policy or custom of the

 municipality itself.’” Id. (quoting Dirrane v. Brookline Police Dep’t, 315 F.3d 65, 71

 (1st Cir. 2002)). In other words, “[r]espondeat superior or vicarious liability will not

 attach under § 1983.” City of Canton v. Harris, 489 U.S. 378, 385 (1989). “Rather, ‘a

 plaintiff seeking to impose liability on a municipality under § 1983 . . . [must] identify

 a municipal ‘policy’ or ‘custom’ that caused the plaintiff’s injury.’” Buchanan ex rel.

 Estate of Buchanan v. Maine, 417 F. Supp. 2d 45, 65 (D. Me. 2006) (quoting Bd. of

 Cty. Comm’rs v. Brown, 520 U.S. 397, 403 (1997)). “Thus, a plaintiff who brings a

 section 1983 action against a municipality bears the burden of showing that, ‘through

 its deliberate conduct, the municipality was the ‘moving force’ behind the injury

 alleged.’” Haley v. City of Boston, 657 F.3d 39, 51 (1st Cir. 2011) (quoting Brown, 520

 U.S. at 404) (emphasis in Brown).




 43      Private contractors that provide medical care within jails are typically municipal defendants
 for purposes of § 1983, although the First Circuit has never expressly held as much. See Leavitt, 645
 F.3d at 504 n.30 (“This circuit has not expressly held that private entities should be treated
 analogously to municipalities for the purpose of § 1983 liability”); but see, e.g., Witham v. Corizon, Inc.,
 No. 2:12-cv-00146-NT, 2012 U.S. Dist. LEXIS 152869, at *21 (D. Me. Sept. 17, 2012) (Magistrate
 Judge’s Recommended Decision) aff’d, 2012 U.S. Dist. LEXIS 152045 (D. Me. Oct. 23, 2012); Wall v.
 Dion, 257 F. Supp. 2d 316, 319 (D. Me. 2003) (Magistrate Judge’s Recommended Decision) (noting that
 other circuits have concluded jail medical services providers are municipalities for purposes of 42
 U.S.C. § 1983 “because they provide services that are municipal in nature”) aff’d, 257 F. Supp. 2d 316,
 317 (D. Me. 2003).

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        Another variety of municipal liability is a failure to train claim. Id. at 52.

 “Triggering municipal liability on a claim of failure to train requires a showing that

 municipal decisionmakers either knew or should have known that training was

 inadequate but nonetheless exhibited deliberated indifference to the unconstitutional

 effects of those inadequacies.” Id. (citing Brown, 520 U.S. at 407 and City of Canton,

 489 U.S. at 387, 390 n.10).

                       b.     Analysis

        To begin, the Court concludes that even if Mr. Daggett has made a prima facie

 showing that CCS was deliberately indifferent to a serious medical need, the record

 evidence, when viewed in the light most favorable to Mr. Daggett, does not support a

 claim of municipal liability. Mr. Daggett conceded he knows of no CCS policy that

 injured him, does not allege a CCS policy caused him harm, does not allege a CCS

 practice or custom harmed him, is not aware of a CCS practice or custom that caused

 him harm, and has no information about the training CCS provides to its medical

 staff. PRCDSMF ¶¶ 65-69. CCS is therefore entitled to summary judgment on

 Count IV because Mr. Daggett conceded essential elements of his prima facie case.

        Notwithstanding this ruling, the Court considered the merits of Mr. Daggett’s

 constitutional claim because the First Circuit has never expressly held that entities

 such as CCS are municipalities. 44 Ultimately, Mr. Daggett offered evidence that

 would permit a reasonable trier of fact to find his Parkinson’s Disease was a serious



 44      If CCS is not a municipal actor under § 1983, summary judgment is proper for CCS because
 § 1983 generally only permits actions against state actors.


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 medical need; however, even when construing the record in the light most favorable

 to him, he has not made a prima facie showing of deliberate indifference. Therefore,

 the Court grants summary judgment in favor of CCS on Count IV.

                            i.    Serious Medical Need

         The Court concludes that Mr. Daggett has raised a genuine issue of material

 fact as to whether his Parkinson’s Disease constituted a “serious medical need” within

 the meaning of Eighth and Fourteenth Amendment caselaw. Before taking custody

 of Mr. Daggett, YCJ and CCS staff required that he visit the hospital to obtain

 medications to treat his Parkinson’s Disease. It was only after Mr. Daggett and

 Officer Poore secured this medication that the YCJ was willing to take custody of

 him. Before doing so, CCS staff spoke with Dr. Schmitz, the physician who had

 examined Mr. Daggett at the hospital and who informed a CCS nurse it was

 important to adhere to Mr. Daggett’s Sinemet schedule. When Mr. Daggett arrived

 at the YCJ, he needed assistance with walking, had impaired speech, and could not

 sign his own name. Furthermore, a YCJ record noted that he was “unstable” which

 is defined as being physically or mentally out of control. Due to his condition, YCJ

 staff kept Mr. Daggett in intake under medical watch, rather than placing him with

 the jail’s general population. Corrections officers wheeled Mr. Daggett into this cell

 on an office chair and placed him on a cot because he could not walk. After the officers

 placed him on the cot, he could not hold himself up, fell, and hit his head on the cell

 wall.




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       The undisputed facts show several laypersons and at least one physician

 “recognize[d] the necessity for a doctor’s attention.”     Miranda-Rivera v. Toledo-

 Dávila, 813 F.3d 64, 74 (1st Cir. 2016); see Belskis v. Somerset Cty., No. 1:15-cv-00091-

 JAW, 2017 U.S. Dist. LEXIS 160517, at *50-52 (D. Me. Sept. 29, 2017) (concluding a

 diabetic’s need for special shoes was potentially a serious medical need because

 medical professionals recommended the special shoes). The record provides ample

 grounds on which a jury could conclude that Mr. Daggett’s inability to walk or write,

 difficulty balancing, and limited capacity for speech, were serious medical conditions

 and required medical attention.      The Court concludes the Defendants have not

 demonstrated that Mr. Daggett failed to raise a genuine issue of material fact on this

 element.

                            ii.    Deliberate Indifference

       Despite this initial showing, Mr. Daggett’s constitutional claim against CCS

 ultimately falters. Even viewing the facts in the light most favorable to Mr. Daggett,

 no reasonable trier of fact could conclude CCS was deliberately indifferent to his

 medical needs. Thus, CCS is entitled to judgment as a matter of law. In response to

 CCS’ motion for summary judgment, Mr. Daggett asserted that a jury could

 reasonably conclude his “medication was intentionally not administered as required”

 because the charge nurse told Ms. Howarth that Mr. Daggett was uncooperative and

 unresponsive and that she had not given him any medication when the two spoke

 sometime after 11:00 p.m. on May 17, 2015. Pl.’s Opp’n at 17.




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       Mr. Daggett places more weight on the charge nurse’s comments than they can

 bear. As a threshold matter, York County objects to the charge nurse’s statements,

 as echoed by Ms. Howarth’s deposition testimony, as hearsay if offered for the truth

 that the charge nurse had not administered Sinemet to Mr. Daggett. YDRPSAMF

 ¶ 33. Even though Mr. Daggett did not identify any relevant hearsay exception or

 exclusion in response to the objection, the Court overrules York County’s objection.

 Viewing the facts in the light most favorable to Mr. Daggett, the implication is that

 the charge nurse was a CCS employee. As such, her statements are non-hearsay

 because they are opposing party statements. FED. R. EVID. 801(d)(2)(D).

       Accepting the charge nurse’s statements as admissible for their truth, they are

 nevertheless   insufficient   to   support    a   finding   of   deliberate   indifference.

 “[S]ubstandard care, malpractice, negligence, inadvertent failure to provide care, and

 disagreement as to the appropriate course of treatment are all insufficient to prove a

 constitutional violation.” Ruiz-Rosa v. Rullán, 485 F.3d 150, 156 (1st Cir. 2007).

 Rather, showing deliberate indifference requires that “a prison official subjectively

 ‘must both be aware of facts from which the inference could be drawn that a

 substantial risk of serious harm exists, and he must also draw the inference.’” Burrell

 v. Hampshire Cty., 307 F.3d 1, 8 (1st Cir. 2002) (quoting Farmer v. Brennan, 511 U.S.

 825, 837 (1994)). Inaction in the face of an obvious risk of serious harm may permit

 that a reasonable inference of deliberate indifference. Ruiz-Rosa, 485 F.3d at 157.

 “However, there is no deliberate indifference if an official responds reasonably to the

 risk.” Miranda-Rivera, 813 F.3d at 74. “Where the dispute concerns not the absence



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 of help, but the choice of a certain course of treatment, or evidences mere

 disagreement with considered medical judgment, [a court] will not second guess the

 doctors.” Massey v. Rufo, No. 92-1380, 1994 U.S. App. LEXIS 6202, at *3 (1st Cir.

 Jan. 14, 1994) (per curiam) (unpublished table decision) (quoting Sires v. Berman,

 834 F.2d 9, 13 (1st Cir. 1987)).

        As a matter of law, deliberate indifference requires wrongdoing beyond what

 Mr. Daggett alleges happened to him. Compare Estelle, 429 U.S. at 107 (finding no

 deliberate indifference when medical providers examined an inmate seventeen times

 in three months); Ruiz-Rosa, 485 F.3d at 156-57 (finding no deliberate indifference

 where a jailhouse doctor did not know an antibiotic was ineffective and unaware of a

 substantial risk of harm); Feeney v. Corr. Med. Servs., Inc., 464 F.3d 158, 162-63 (1st

 Cir. 2006) (finding “delay alone” in rendering proper care did not show deliberate

 indifference where correctional center’s medical staff was otherwise responsive to the

 inmate’s needs and “adopted other measures . . . to alleviate his discomfort”); Massey,

 1994 U.S. App. LEXIS 6202, at *3 (finding no deliberate indifference where the

 plaintiff “was seen the same day as the incident, provided with medication and sent

 for a consultation to the hospital”); Parlin v. Cumberland Cty., 659 F. Supp. 2d 201,

 209 (D. Me. 2009) (finding no deliberate indifference to an inmate’s mental health

 needs when the inmate “was given her prescribed medication three days after she

 reported to Jail . . ., was repeatedly seen by the Jail’s medical contractors and was . . .

 under twenty-four-hour nursing supervision”); with Miranda-Rivera, 813 F.3d at 75

 (finding a jury could reasonably find deliberate indifference when, despite that a



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 suspect “was sweaty, nervous, and yelling incoherently,” had an “extremely pale”

 face, and “his eyes were bulging, and lips were black,” law enforcement did not take

 him to a medical facility); Perry v. Roy, 782 F.3d 73, 79-81 (1st Cir. 2015) (reversing

 summary judgment because a jury could reasonably conclude that corrections staff

 were deliberately indifferent to the plaintiff’s broken jaw after waiting twenty hours

 to transport him the hospital). Because Mr. Daggett’s claim “concerns not the absence

 of help, but the choice of a certain course of treatment” he must show “the attention

 [he] received [was] ‘so clearly inadequate as to amount to a refusal to provide essential

 care.’” Feeney, 464 F.3d at 163 (quoting Torraco v. Maloney, 923 F.2d 231, 234 (1st

 Cir. 1991); accord Parlin, 659 F. Supp. 2d at 208 (“A treatment regime can amount to

 deliberate indifference only where it effectively results in a complete denial of basic

 care”).

           Mr. Daggett cannot meet this standard, even when construing the record in

 the light most favorable to him and drawing all reasonable inferences in his favor.

 Accepting the unidentified charge nurse’s statement that she had not administered

 Sinemet gets Mr. Daggett only so far. Mr. Daggett had only just arrived at the YCJ

 around 11:00 p.m. and received a dose as he left SMHC less than an hour prior. As

 CCS points out, the record contains other evidence that another CCS provider

 administered, or at least attempted to administer, Sinemet to him around 11:00 p.m.

 CCS Reply at 4 n.8 (discussing the actions of LPN Linda Leitz); accord CDSMF,

 Attach. 2, Aff. of Linda Leitz ¶¶ 3-5 (Leitz Aff.) (recounting administering Sinemet to

 Mr. Daggett at 11:00 p.m. on May 17, 2015).



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       The record further undermines Mr. Daggett’s assertion that CCS acted with

 deliberate indifference. Mr. Daggett admits to receiving Sinemet while incarcerated

 but contends it was not the correct dose and he did not swallow all the medication

 given to him. CDSMF ¶ 44; PRCDSMF ¶ 44. Mr. Daggett does not remember how

 many Sinemet tablets he received while at the YCJ, nor does he remember exactly

 when he received those doses, but he does assert that whatever doses he received

 were not enough. CDSMF ¶¶ 47-48, 50-53; PRCDSMF ¶¶ 47-48, 50-53. As such, his

 claim against CCS, the YCJ, and its staff is rooted in providing him with the incorrect

 dose of Sinemet, rather than withholding the medication entirely.

       As a matter of law, these facts fall short of deliberate indifference. The doses

 CCS administered to Mr. Daggett were ordered by Dr. Schmitz after he confirmed

 Mr. Daggett’s medications with Dr. Dolan, the on-call neurologist. Although this dose

 was incorrect, the Court concludes that no reasonable jury could find CCS staff were

 deliberately indifferent to Mr. Daggett’s serious medical needs by following the

 treatment instructions of a physician who had examined Mr. Daggett, consulted with

 a specialist, and ordered medications. It is true that Mary Howarth’s conversation

 with the unidentified charge nurse suggests that CCS had notice Mr. Daggett’s dose

 of Sinemet was potentially different than what Dr. Schmitz had ordered. But CCS

 was following Dr. Schmitz’s medication order and Mr. Daggett has provided no

 convincing evidence that CCS should have accepted Ms. Howarth’s assertion about

 Mr. Daggett’s proper dosage above the professional opinion of a medical doctor.




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       Again, mere disagreements about the proper course of treatment do not

 amount to deliberate indifference under the constitutional standard, which requires

 a showing of culpability akin to criminal recklessness. Feeney, 464 F.3d at 162 (“The

 obvious case would be a denial of needed medical treatment in order to punish the

 inmate. But deliberate indifference may also reside in ‘wanton’ decisions to deny or

 delay care, where the action is recklessness, not in the tort law sense but in the

 appreciably stricter criminal-law sense, requiring actual knowledge of impending

 harm, easily preventable”). Even if CCS was actually aware that Mr. Daggett had

 regularly been prescribed a different dose of Sinemet, nothing in the record suggests

 any CCS staff member was subjectively aware of the consequences an incorrect dose

 might have for Mr. Daggett. Therefore, at worst, CCS’ reliance on Dr. Schmitz’s

 instructions despite Ms. Howarth’s additional information was negligent and does

 not amount to a constitutional violation. Mr. Daggett’s asserted injury is effectively

 a mistreatment of his Parkinson’s Disease rather than non-treatment. Under Feeney,

 this allegation is insufficient to show deliberate indifference. Id. at 163.

       Other facts also preclude any reasonable factfinder from finding CCS was

 deliberately indifferent to Mr. Daggett’s medical needs. For one, CCS and the YCJ

 refused to take custody of Mr. Daggett when he first arrived at the jail without his

 medications even though Dr. Schmitz deemed Mr. Daggett fit for incarceration. The

 YCJ only accepted Mr. Daggett after he returned to the hospital to obtain his

 medications. Moreover, Mr. Daggett stated that medical providers were periodically

 coming into the room where he was housed to check on him. Nov. 1 Daggett Dep.,



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 at 80:2-3. Taken together, these facts show CCS acted consistent with the treatment

 plan Dr. Schmitz approved such that no reasonable trier of fact could conclude CCS

 was deliberately indifferent to Mr. Daggett’s needs.       The Court concludes that

 summary judgment is proper on Count IV because Mr. Daggett failed to make prima

 facie showing of deliberate indifference.

                           iii.   Causation and Expert Witnesses

       Finally, CCS raised the issue of whether Mr. Daggett proffered sufficient

 expert testimony to present the issue of causation to a jury. CCS Mot. at 10-13; CCS

 Reply at 4-5. To be clear, the Court is not considering whether Mr. Daggett needs

 expert testimony to show CCS’ conduct caused a constitutional violation. The two-

 pronged test requires Mr. Daggett to make a prima facie showing of (1) a serious

 medical need that even a layperson would recognize and (2) that CCS acted with a

 sufficiently culpable state of mind, deliberate indifference, to that medical need.

 Abernathy, 984 F.3d at 7-8. Even if there may be a case where expert medical

 testimony would not be necessary to prove a constitutional violation, it would have to

 be a situation where causation and state of mind fall within a layperson’s competence.

 See Griffin v. Hillsborough Cty. Dep’t of Corr., No. 13-cv-539-SM, 2015 U.S. Dist.

 LEXIS 84915, at *8 (D.N.H. May 28, 2015) (collecting cases for the proposition that

 “[w]hether expert testimony is necessary to prove deliberate indifference . . . depends

 on the nature of the specific issues in the particular cases and what other evidence is

 available in the record”). Rather, the causation issue here is whether Mr. Daggett

 can establish that the alleged constitutional violation caused him actual



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 damages. See, e.g., Maraj v. Massachusetts, 953 F. Supp. 2d 325, 328 (D. Mass. 2013)

 (conducting a similar analysis).

       Specifically, CCS argues Mr. Daggett “has not designated an expert witness to

 establish the causal link between the alleged medication errors and his claimed

 injuries, some of which occurred weeks after he was released from custody.” CCS

 Mot. at 11. Mr. Daggett believes he submitted sufficient evidence on causation to

 survive summary judgment, stating that he “designated treating professionals who

 are able to testify regarding [his] conditions; symptoms; onset of symptoms; and what

 occurs [if Mr. Daggett] does not take his medications.” Pl.’s Opp’n at 17. He also

 observes “there is record testimony from Dr. Schmitz regarding what occurs to a

 Parkinson’s patient if their medication is discontinued.” Id.

       The Court agrees with CCS. As alleged, CCS and YCJ’s failure to administer

 the proper dose of Sinemet combined with other events surrounding his incarceration

 caused Mr. Daggett’s physical injuries, including a concussion that significantly

 advanced his Parkinson’s Disease, PTSD, a broken hip, a chipped tooth, anxiety, and

 depression. CDSMF ¶¶ 71-73; PRCDSMF ¶¶ 71-73. The broken hip occurred when,

 two weeks after being released from YCJ, Mr. Daggett was at Maine Medical Center

 and panicked because he thought that he was back in jail, ran out of the hospital, and

 fell in the parking lot. CDSMF ¶ 73; PRCSMF ¶ 73.

       The causation for these injuries is complex. Even accepting as a matter of

 common knowledge that Parkinson’s Disease may impair a person’s balance and

 speech, determining the comparative effects of different doses of Sinemet on a



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 person’s central nervous system is a challenging question of pharmacology and well

 outside a lay juror’s common knowledge. Moreover, the causal link between a brain

 injury, such as Mr. Daggett’s concussion, and later physical, psychological, and

 cognitive injuries—especially the concussion’s impact on the progression of his

 Parkinson’s Disease—would be similarly challenging for a juror. To boot, Mr. Daggett

 has alleged that some of his injuries occurred two weeks after he missed several doses

 of Sinemet, which further entangles the Gordian Knot of causation.

        Finally, the record lacks substantial evidence of Mr. Daggett’s physical

 condition while properly medicated. Therefore, it does not rule out that his injuries

 resulted, not from inadequate medical care, but from his Parkinson’s Disease in its

 usual presentation. As the First Circuit wrote in a somewhat analogous malpractice

 case arising under Maine law, “[w]hen the harm alleged is a failure to treat and the

 causation standard is more likely than not, a plaintiff must vault over a higher bar

 in order to prove that the failure to treat a condition in a particular way – rather than

 the underlying condition itself – caused the adverse outcome.” Samaan v. St. Joseph

 Hosp., 670 F.3d 21, 35 (1st Cir. 2012).

        Mr. Daggett cannot clear this “higher bar” because he provided no expert

 testimony on causation.       On November 13, 2018 the Magistrate Judge issued a

 scheduling order in this case, which set the deadline for Mr. Daggett’s expert witness

 designations and related Federal Rule of Civil Procedure 26(a)(2)(A) disclosures as

 January 29, 2019. 45 Scheduling Order with Incorporated Rule 26(f) Order at 2 (ECF


 45     The Magistrate Judge set a similar deadline of March 5, 2019 for the Defendants. First
 Scheduling Order at 2.

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 No. 20) (First Scheduling Order).      The order required that Mr. Daggett “shall

 designate experts required to be disclosed by FED. R. CIV. P. 26(a)(2)(A) (including

 treating physicians and other non-retained or specially employed experts) and, with

 respect to each of them, provide a complete statement of all opinions to be expressed

 and the basis and reasons therefor . . ..” Id. The order further stated that “[a]ll

 required information may, but need not, be provided in the form of a written report

 prepared and signed by the expert.” Id.

       On December 4, 2018, the Magistrate Judge granted the Defendants’ consent

 objection and extended Mr. Daggett’s expert designation deadline until March 14,

 2019 and the Defendants’ expert designation deadline until April 19, 2019. Order

 (ECF No. 23); Defs. Town of Berwick, Towne and Poore’s Obj. to Scheduling Order

 (Consented To) (ECF No. 22). The stipulated record contains a document, signed by

 Mr. Daggett’s counsel and dated March 14, 2019, titled “Plaintiff’s Expert

 Designation.” R., Attach. 26, at 1-2 (Pl.’s Designation).

       Mr. Daggett claims that this document suffices as evidence to put the issue of

 causation before the jury. The Court disagrees. First, the document plainly fails to

 comply with the requirements Federal Rule of Evidence 702 imposes on expert

 testimony. The document does not describe the facts or data on which the experts

 will base their opinions, nor does it describe the experts’ methodologies for using facts

 to reach conclusions.

       Second, the designation runs afoul of the Magistrate Judge’s scheduling order

 and Rule 26 because it states no conclusions or opinions on the issue of causation, let



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 alone provides any description of the facts or underlying reasons for the designated

 experts’ opinions. Pl.’s Designation at 1-2. Rule 26(a)(2) requires specific disclosures

 about an expert’s qualifications, the facts and data considered by the expert, and a

 “complete statement of all opinions the witness will express and the basis and reasons

 for them.” FED. R. CIV. P. 26(a)(2)(B)(i)-(vi). Furthermore, the Scheduling Order

 expressly required Mr. Daggett to “provide a complete statement of all opinions to be

 expressed and the basis and reasons therefor.” Scheduling Order at 2.

       Mr. Daggett’s expert designations fall woefully short of compliance with his

 Rule 26 disclosure obligations as reinforced by this Court’s Scheduling Order. This

 document is entitled “Plaintiff’s Expert Designation.” Pl.’s Designation at 1. In that

 document, Mr. Daggett names ten doctors and references their medical records,

 saying for each that the “records . . . are the best explanation of the treatment that

 occurred” and the physicians are expected to “testify consistent with these treatment

 records.” Id. at 1-2. As the Court noted in Rozzetti, a treating physician may testify

 as a fact witness about his or her treatment. Rozzetti, 2020 U.S. Dist. LEXIS 102069,

 at *8 (Samaan, 670 F.3d at 36). But, as the First Circuit has written, “witnesses who

 were not designated to speak as experts on causation . . . could not supply competent

 proof of causation.” Samaan, 670 F.3d at 38. In the Court’s view, Mr. Daggett’s

 March 14, 2019 designation would allow the designated physicians to testify as

 percipient witnesses, but not as experts on causation. In short, this document cannot

 be used to establish causation of actual injuries or damages, it is little more than an

 annotated witness list.



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        Mr. Daggett points out that the record contains the deposition testimony of one

 expert designee, Dr. Michael Schmitz. 46 Pl.’s Opp’n at 17; R., Attach. 19 (Schmitz

 Dep.). However, even Dr. Schmitz’s deposition testimony cannot forge the necessary

 links in the causal chain. In the Court’s view, that testimony falls short of the Rule

 702 standard for expert opinion testimony. See FED. R. EVID. 702 (permitting expert

 testimony when “the expert’s scientific, technical or other specialized knowledge will

 help the trier of fact to understand the evidence or to determine a fact in issue”, “the

 testimony is based on sufficient facts or data” and “is the product of reliable principles

 and methods”, and “the expert has reliably applied the principles and methods to the

 facts of the case”).

        It is true that Dr. Schmitz stated Parkinson’s patients can suffer paralysis if

 they do not receive their prescribed Sinemet. Schmitz Dep. at 61:23-25. Importantly

 though, Dr. Schmitz disclaimed any ability to opine on whether Mr. Daggett could be

 expected to suffer paralysis due to a lack of Sinemet, stating, “[b]eing someone who

 only met Mr. Daggett once, did not have access to his records or the details of his past

 medical history with respect to how advanced his Parkinson’s disease is, I don’t think

 that I can answer that question having met him one time.” Id. at 64:13-17. Because

 he apparently disclaimed any ability to testify regarding the symptoms Mr. Daggett

 might encounter from improper treatment, Dr. Schmitz’s testimony cannot be expert

 testimony on the issue of causation. Dr. Schmitz testified that he lacked “sufficient



 46     Other than Dr. Schmitz’s deposition, the Stipulated Record contains no testimony from any of
 Mr. Daggett’s designated experts. His counsel submitted no expert reports, affidavits, deposition
 testimony, or other information concerning the opinions of the purported expert designees.

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 facts or data” to render reliable opinions on what symptoms would result from Mr.

 Daggett not receiving his prescribed dose of Sinemet. The testimony also lacks any

 discussion of what “reliable principles and methods” Dr. Schmitz used to reach his

 conclusions that Parkinson’s patients experience muscular rigidity if not properly

 medicated. Perhaps most damaging to Mr. Daggett’s case, Dr. Schmitz never explains

 the how Sinemet affects a person’s brain, thus failing to bridge the causal gap Mr.

 Daggett must cross.

       Without the necessary expert testimony on causation, the Court cannot permit

 Mr. Daggett to bring his claims for actual damages premised on proof of causation

 before a jury.    His claims are complex and require expert testimony about the

 chemistry and innerworkings of the human brain and nervous system to proceed.

 Thus, summary judgment on his claim for actual damages would be proper, even if

 he had established a viable claim for deliberately indifferent medical care.

              2.     Count Five: Constitutional Claims Against Unnamed CCS
                     Employees

       Count V raises similar constitutional claims for inadequate medical care

 against two unnamed and unidentified Jane Doe CCS employees. Id. ¶¶ 117-24. Like

 Counts II and III, the Court dismisses Count V without prejudice because

 Mr. Daggett has either withdrawn these claims, or otherwise failed to develop Count

 V, identify the defendants, and serve them with process. The time for Mr. Daggett to

 correct these defects has long passed. For the same reasons, the Court also dismisses

 the remainder of the Amended Complaint to the extent it alleges claims against the

 two Jane Doe CCS employees.

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       D.     Counts Six and Seven: Constitutional Claims Against York
              County, Sheriff King, and Superintendent Vitiello

       Mr. Daggett’s constitutional claims for inadequate medical care against the

 York Defendants follow largely the same legal and factual theories as his claims

 against CCS. Having established the legal standard for constitutionally inadequate

 medical treatment, the Court turns to the merits. The Court first notes that no

 constitutional claim is cognizable against the York Defendants because the Court

 already concluded Mr. Daggett failed to make a prima facie showing of a

 constitutionally deficient medical treatment while Mr. Daggett was in the YCJ. See

 supra section V(C). Moreover, Mr. Daggett’s failure to submit expert testimony on

 whether the medical treatment he received in the YCJ caused his alleged injuries

 dismantles his claims for actual damages against the York Defendants.                By

 themselves, these conclusions warrant summary judgment in favor of the York

 Defendants. In the interest of completeness, the Court discusses the remaining

 issues that Mr. Daggett’s claims raise.

              1.     York County

       Mr. Daggett conceded that he has no knowledge that his injuries resulted from

 a county policy, that he knew of a county policy that caused the alleged constitutional

 violations, and that he has no factual basis to believe that the events he complained

 about occurred due to a lack of training by York County.           YDSMF ¶¶ 33-35;

 PRYDSMF ¶¶ 33-35. Thus, Mr. Daggett conceded the essential elements of a claim

 for municipal liability against York County under § 1983.            In light of these

 concessions, there are no genuine issues of material facts as to the municipal liability

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 claim against York County and York County is entitled to judgment as a matter of

 law on Count VII.

              2.     Sheriff King

       Mr. Daggett also conceded that he lacks knowledge to suggest Sheriff King was

 involved in the events alleged in his complaint. YDSMF ¶ 25; PRYDSMF ¶ 25. He

 specifically conceded Sheriff King was not involved with Mr. Daggett’s access to

 medical services while at the YCJ. YDSMF ¶ 28; PRYDSMF ¶ 28. He further

 conceded that Sheriff King was not present for any of the alleged incidents, had no

 physical contact with Mr. Daggett during the days he was incarcerated, or at any

 other time relevant to his claims, and that Sheriff King has no personal knowledge of

 any use of force or control involving Mr. Daggett while at the YCJ. YDSMF ¶¶ 26-

 27; PRYDSMF ¶¶ 26-27. In short, Mr. Daggett concedes that he has no factual basis

 for a direct constitutional claim against Sheriff King. Thus, even construing the

 record in the light most favorable to Mr. Daggett, Sheriff King is entitled to judgment

 as a matter of law on any direct claim him for deliberate indifference to Mr. Daggett’s

 medical needs.

       Mr. Daggett also conceded that he lacked facts showing Sheriff King directed

 or otherwise had knowledge of the allegedly inadequate care. This concession is fatal

 to any constitutional claim against Sheriff King resting on supervisory liability. “[A]

 supervisor may not be held liable under section 1983 on the tort theory of respondeat

 superior, nor can a supervisor’s section 1983 liability rest solely on his position of

 authority.” Guadalupe-Báez v. Pesquera, 819 F.3d 509, 515 (1st Cir. 2016). Rather



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 “the supervisor’s liability must be premised on his own acts or omissions . . .” and “the

 supervisor’s conduct must evince ‘reckless or callous indifference to the constitutional

 rights of others.’” Id. (quoting Febus-Rodríguez v. Betancourt-Lebrón, 14 F.3d 87, 92

 (1st Cir. 1994)). But deliberate indifference alone is not enough. Id. “Causation

 remains an essential element, and the causal link between a supervisor’s conduct and

 the constitutional violation must be solid.” Id. In addition, the supervisor must have

 actual or constructive notice of the alleged constitutional violation. Id.

        Here, the record, even when construed in the light most favorable to Mr.

 Daggett, contains no evidence to support a claim of supervisory liability against

 Sheriff King. Regardless of the Court’s conclusion on whether Mr. Daggett made a

 prima facie showing on his deliberate indifference claim, Mr. Daggett conceded that

 Sheriff King was not present, did not perpetrate, and had no first-hand knowledge of

 the alleged constitutional violations. Thus, there is no genuine dispute of material

 facts and Sheriff King is entitled to judgment as a matter of law because no

 reasonable trier of fact could conclude Sheriff King was deliberately indifferent to his

 constitutional rights or had actual or constructive notice of a constitutional violation,

 let alone find a causal connection between any indifference and Mr. Daggett’s

 injuries. 47

                3.      Superintendent Vitiello




 47      Sheriff King raises the defense of qualified immunity. York Mot. at 9-11. The Court would
 typically consider his defense but concludes doing so would be superfluous. As discussed, Mr. Daggett
 has submitted no evidence and indeed has no knowledge of Sheriff King’s involvement in the incidents
 surrounding his claims. Without any indication of what Sheriff King did or knew, the Court cannot
 meaningfully analyze whether Sheriff King violated clearly established law.

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        Summary judgment is proper in favor of Superintendent Vitiello for many of

 the same reasons as Sheriff King. First, construing the record in the light most

 favorable to Mr. Daggett, he has not presented sufficient evidence to generate a prima

 facie case that Superintendent Vitiello was deliberately indifferent to his medical

 needs. While Mr. Daggett points to the fact that “Defendant Vitiello instructed that

 Mr. Daggett be admitted into the jail if medication could be provided by the hospital,”

 he is mistaken that judgment was “in contrast to the judgment of the medical

 personnel.” 48     Pl.’s Opp’n at 14.         Recognizing the YCJ lacked the necessary

 medications to care for Mr. Daggett, YCJ staff informed Officer Poore that the jail

 would accept Mr. Daggett if he returned with the proper medications.                            This

 instruction was at Superintendent Vitiello’s direction. No reasonable trier of fact

 could conclude Superintendent Vitiello’s conduct was deliberately indifferent to Mr.

 Daggett’s medical needs. Rather, he conferred with the jail’s intake officer, and told

 YCJ staff they could admit Mr. Daggett to jail with the proper medications.

 Superintendent Vitiello’s affirmative acts to ensure CCS could treat Mr. Daggett’s

 health conditions preclude a finding of deliberate indifference as a matter of law.

        Second, on the issue of supervisory liability, Mr. Daggett conceded that

 Superintendent Vitiello was not present for the alleged incidents, had no physical



 48      The Court is uncertain why Mr. Daggett is, for the first time, raising a direct claim for
 constitutional violations against Superintendent Vitiello during summary judgment briefing.
 Although the caption of the Amended Complaint names Superintendent Vitello as a defendant, no part
 of the Amended Complaint expressly raises a constitutional claim against him. Count VII of the
 Amended Complaint asserts claims against York Count and mentions Superintendent Vitiello in his
 capacity as a supervisor and policymaker for the York County Jail, apparently to state a claim against
 York County. Am. Compl. ¶¶ 130-37. Nevertheless, the Court considered whether a direct claim is
 viable against Defendant Vitiello.

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  contact with Mr. Daggett, and has no personal knowledge surrounding the use of force

  or control involving Mr. Daggett. YDSMF ¶¶ 30-31; PRYDSMF ¶¶ 30-31. Thus, as

  with his claim against Sheriff King, Mr. Daggett’s concessions prevent him from

  establishing a claim of supervisory liability against Superintendent Vitiello. These

  concessions, and his actions just mentioned, bar any reasonable trier of fact from

  finding Superintendent Vitiello was deliberately indifferent to Mr. Daggett’s

  constitutional rights in a manner that caused any constitutional violations.

        Third, regardless of whether Mr. Daggett has made a prima facie case for direct

  or supervisory liability, the Court concludes that Superintendent Vitiello is entitled

  to qualified immunity. The Court concludes it is clearly established law that jails

  may not be deliberately indifferent to a prisoner’s serious medical needs. See, e.g.,

  Estelle, 429 U.S. at 104. However, the Court is unconvinced that a reasonable officer

  would conclude Superintendent Vitiello’s decision to admit Mr. Daggett to the YCJ

  after he sent Mr. Daggett back to the hospital, where he was cleared for incarceration

  a second time and obtained medications was clearly established as deliberate

  indifference. Thus, qualified immunity shields Superintendent Vitiello from liability.

        E.     Counts Ten and Eleven: Constitutional Claims Against Officer
               Poore

               1.    Count Ten: The False Arrest Claim

        In Count X, Mr. Daggett alleges a claim for “false arrest” under § 1983 against

  Officer Poore but the Amended Complaint does not specify what provision of federal

  law he relies upon to bring this claim. Am. Compl. ¶¶ 145-49. The Court is aware of

  no express language in the Constitution or federal statutes that affords Mr. Daggett

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  protection from “false arrests.” While it is true that state tort law might confer such

  a right, § 1983 does not constitutionalize the law of torts. See Manuel, 137 S. Ct.

  at 920-21 (explaining that “courts are to look first to the common law of torts” when

  “defining the contours and prerequisites of a § 1983 claim” but that “[c]ommon law

  principles are meant to guide rather than to control the definition of § 1983

  claims . . .”); Nadeau v. State, 395 A.2d 107, 116 (Me. 1978) (describing the false

  imprisonment cause of action); RESTATEMENT (SECOND)        OF   TORTS §§ 35, 41 (Am. L.

  Inst. 1965) (setting forth the elements of false imprisonment). See also Dibrell v. City

  of Knoxville, 984 F.3d 1156, 1160-61 (6th Cir. 2021) (clarifying “that the Fourth

  Amendment does not adopt separate bans on ‘false arrests,’ ‘false imprisonments,’

  and ‘malicious prosecutions’ . . . [but] establishes a singular ban on ‘unreasonable’

  ‘seizures’”) (citing U.S. CONST. amend. IV).

        In the Court’s view, what Mr. Daggett actually intends to allege in Count X is

  an unreasonable seizure under the Fourth Amendment. See Maddocks v. Portland

  Police Dep’t, 2:15-cv-00168-JAW, 2017 U.S. Dist. LEXIS 76310, at *1 n.1 (D. Me. May

  19, 2017) (noting “the analysis of a claim of false imprisonment under state common

  law and a claim of false arrest under state or federal constitutional law is the same”).

  Mr. Daggett’s argument that Officer Poore lacked probable cause to arrest cements

  the Court’s conclusion that his claim arises under the Fourth Amendment for an

  unreasonable seizure. Pl.’s Opp’n at 7.

                      a.     Legal Standard: Unreasonable Seizure




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        The United States Supreme Court has stated “[t]he Fourth Amendment

  protects ‘[t]he right of the people to be secure in their persons, houses, papers, and

  effects, against unreasonable searches and seizures.’” Wesby, 138 S. Ct. at 587.

  Arrests are seizures of persons and “must be reasonable under the circumstances.”

  Id. at 585-86 (citing Payton v. New York, 445 U.S. 573, 585 (1980)). Warrantless

  arrests outside of a suspect’s home are reasonable when “the officer has probable

  cause to believe that the suspect committed a crime in the officer’s presence.” Id.

  at 586 (citing Atwater v. City of Lago Vista, 532 U.S. 318, 354 (2001)). Although the

  Supreme Court has never expressly held that an officer may perform a warrantless

  arrest of a suspected misdemeanant when the officer does not witness the offense,

  numerous federal courts, including the First Circuit, have upheld such arrests as

  constitutional. See Atwater, 532 U.S. at 340 n.11 (“We need not, and thus do not,

  speculate whether the Fourth Amendment entails an ‘in the presence’ requirement

  for purposes of misdemeanor arrests”) (citing Welsh v. Wisconsin, 466 U.S. 740, 756

  (1984) (White, J., dissenting) (“[T]he requirement that a misdemeanor must have

  occurred in the officer’s presence to justify a warrantless arrest is not grounded in the

  Fourth Amendment”)); Welsh, 466 U.S. at 756 (White, J., dissenting) (“[W]e have

  never held that a warrant is constitutionally required to arrest for nonfelony offenses

  occurring out of the officer’s presence”); Vargas-Badillo v. Diaz-Torres, 114 F.3d 3, 6

  (1st Cir. 1997) (affirming summary judgment on the basis of qualified immunity

  because “neither the Supreme Court nor this circuit ever has held that the Fourth

  Amendment prohibits warrantless arrests for misdemeanors not committed in the



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  presence of arresting officers”); Budnick v. Barnstable Cty. Bar Advocates, Inc., No.

  92-1933, 1993 U.S. App. LEXIS 6656, at *14 n.7 (1st Cir. Mar. 30, 1993) (per curiam)

  (unpublished slip op.) (concluding that an officer need not be in the presence of a

  suspected misdemeanant at the time of the offense to perform a warrantless arrest of

  the suspect); Street v. Surdyka, 492 F.2d 368, 372 (4th Cir. 1974) (same); Fields v.

  City of S. Houston, 922 F.2d 1183, 1189 (5th Cir. 1991) (same); Graves v. Mahoning

  Cty., 821 F.3d 772, 778 (6th Cir. 2016) (same); Woods v. City of Chicago, 234 F.3d 979,

  992-95 (7th Cir. 2000) (same); Barry v. Fowler; 902 F.2d 770, 772 (9th Cir. 1990)

  (same); Borlawsky v. Town of Windham, Civil No. 99-272-P-H, 2000 U.S. Dist. LEXIS

  9640, at *4 (D. Me. Mar. 31, 2000) (concluding qualified immunity precluded an officer

  from being held liable for a warrantless misdemeanor arrest).

        When ruling on probable cause, “[t]he only relevant facts are those known to

  the officer.” Holder v. Town of Sandown, 585 F.3d 500, 504 (1st Cir. 2009). If the

  parties dispute these facts, “the fact-finder must resolve the dispute.” Id. “However,

  when the underlying facts claimed to support probable cause are not in dispute,

  whether those ‘raw facts’ constitute probable cause is an issue of law . . ..” Id. (citing

  Bolton v. Taylor, 367 F.3d 5, 8 (1st Cir. 2004)). A court determines whether an officer

  had probable cause to arrest a suspect by considering “the events leading up to the

  arrest, and then decides ‘whether these historical facts, viewed from the standpoint

  of an objectively reasonable police officer, amount to’ probable cause.” Maryland v.

  Pringle, 540 U.S. 366, 371 (2003) (quoting Ornelas v. United States, 517 U.S. 690, 696

  (1996)).



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         “Probable cause ‘is not a high bar.’” Wesby, 138 S. Ct. at 586. It “deals with

  probabilities and depends on the totality of the circumstances.” Pringle, 540 U.S.

  at 371. Moreover, probable cause “is ‘a fluid concept’ that is ‘not readily, or even

  usefully, reduced to a neat set of legal rules’.” Wesby, 138 S. Ct. at 586 (quoting

  Illinois v. Gates, 462 U.S. 213, 232 (1983)). When it comes to probable cause, “the

  whole is often greater than the sum of its parts—especially when the parts are viewed

  in isolation.” Id. at 588 (citing United States v. Arvizu, 534 U.S. 266, 277-78 (2002)).

  Courts must “consider the whole picture” and “[t]he totality-of-the-circumstances test

  ‘precludes.. . divide-and-conquer analysis.” Id. (internal citations omitted).

         “[P]robable cause does not require officers to rule out a suspect’s innocent

  explanation for suspicious facts.” Id. Rather an officer, and for that matter a court,

  must weigh “the degree of suspicion that attaches to particular types of noncriminal

  acts.” Id. (citing Gates, 462 U.S. at 244 n.13). At bottom, the question is “whether a

  reasonable officer could conclude—considering all of the surrounding circumstances,

  including the plausibility of the explanation itself—that there was a ‘substantial

  chance of criminal activity.’” Id. (citing Gates, 462 U.S. at 244 n.13).

                         b.     Analysis

         Here, Officer Poore arrested Mr. Daggett without a warrant for a suspected

  violation of a protective order. The only disputed fact relevant to probable cause is

  whether Officer Poore actually saw Mr. Daggett within the property lines of the 317

  Cranberry Meadow Road. 49 BDSMF ¶¶ 10-11; PRBDSMF ¶¶ 10-11. The Court


  49      Mr. Daggett’s argument is based on the technical premise that because the town of Berwick’s
  right of way extends twenty-five feet from the center of the road, he was on Berwick, not his wife’s

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  concludes this genuine disputed fact is not material. Probable cause requires a Court

  to consider the totality of the circumstances. Considering record in the light most

  favorable to Mr. Daggett and drawing all reasonable inferences in his favor, no

  reasonable juror could conclude Officer Poore lacked probable cause. Thus, Officer

  Poore is entitled to judgment as a matter of law. Alternatively, qualified immunity

  shields Officer Poore from liability because his conduct did not violate clearly

  established law.

         Maine law requires law enforcement to arrest suspected violators of protection

  orders when law enforcement officers have probable cause to believe a violation has

  occurred. 19-A M.R.S. § 4011(3). Accepting for purposes of summary judgment that

  Mr. Daggett was never on the property, the record is nevertheless replete with facts

  providing probable cause. 50          Officer Poore arrived on the scene after dispatch

  informed him a 911 caller reported Mr. Daggett was on the property in violation of a

  protection order. While driving to the scene, Officer Poore confirmed there was a


  property. In this technical premise, he is likely technically wrong. Even assuming that Mr. Daggett
  has properly placed this factual assertion before the Court, the Court is dubious. In general, the Maine
  Supreme Judicial Court has held that "'legally enforceable right-of-way' means something other than
  ownership of property in fee simple." Town of Minot v. Starbird, 2012 ME 25, ¶ 39 A,3d 897 (quoting
  Bizier v. Town of Turner, 2011 ME 116, ¶ 18, 32 A.3d 1048). This suggests that his wife’s fee simple
  interest in her property technically extended to the center line of the town way subject to the public’s
  right of passage. Even if Mr. Daggett had the right as a member of the public to travel over his wife’s
  premises on the town right of way, Mr. Daggett has not demonstrated that he was exercising the public
  right of passage when he stopped, got out of the vehicle, and walked on his wife’s fee simple property,
  even if it was subject to a right of way, to inspect and disrupt his wife’s trash bins. To have probable
  cause, Officer Poore did not need to be an expert in municipal rights of way or a surveyor. Officer
  Poore observed Mr. Daggett on or near his wife’s driveway, saw Mr. Daggett walk through the ditch
  back to his vehicle, and observed the trash strewn about lawn, all observations consistent with Mr.
  Daggett’s violation of a protection order and giving him probable cause to make the arrest.
  50       The parties dispute whether Mr. Daggett has sufficient evidence to establish that he was never
  on the property. Although the Court is skeptical about Mr. Daggett’s property law analysis, see
  footnote 49, rather than rule on whether that issue of fact is genuine, it is simpler to assume that
  Mr. Daggett was not on his wife’s property and then determine whether that fact was material to the
  question of probable cause.

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  protection order prohibiting Mr. Daggett from being on the property, though he did

  not view the actual protection order. Upon arrival at the scene, Officer Poore saw a

  man who he believed was Thomas Daggett standing near the property’s mailbox,

  walking towards a car, and also saw trash strewn across the lawn in front of the

  property.

        Looking at the totality of the circumstances, whether Officer Poore actually

  saw Mr. Daggett within the property lines is immaterial to whether Officer Poore had

  probable cause to believe that Mr. Daggett violated the protection order. Probable

  cause only requires a “substantial chance” of criminal activity. Wesby, 138 S. Ct.

  at 588. Thus, Officer Poore was not required to be certain that Mr. Daggett was on

  the property. Instead, he only needed evidence giving rise to a substantial chance

  Mr. Daggett had been, or was currently, on the premises of 317 Cranberry Meadow

  Road. On the above facts, Officer Poore had probable cause. Officer Poore received

  word that Mr. Daggett had violated a protection order by entering a property, verified

  that a protection order was in place, arrived on the scene to find Mr. Daggett in an

  area directly adjacent to prohibited property, climbing into a car as police approached,

  and observed signs—piles of loose, unattended garbage—consistent with Mr. Daggett

  violating the protection order by causing a disturbance on or near the property subject

  to the complaint.

        Mr. Daggett’s statements to Officer Poore that orders in the divorce proceeding

  permitted him to protect his property did not undercut probable cause. Officer Poore

  had no obligation to credit Mr. Daggett’s assertion. See Acosta v. Ames Dep’t Stores,



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  Inc., 386 F.3d 5, 11 (1st Cir. 2004) (“[T]he Supreme Court has flatly rejected the idea

  that the police have a standing obligation to investigate potential defenses before

  finding probable cause”). Nor did Officer Poore have a duty to speak with the 911

  complainant prior to arresting Mr. Daggett.       See id. at 10 (“In the absence of

  circumstances that would raise a reasonably prudent officer’s antennae, there is no

  requirement that the officer corroborate every aspect of every complaint with

  extrinsic information”).

        In addition, the First Circuit has “made it clear that an officer normally may

  terminate her investigation when she accumulates facts that demonstrate sufficient

  probable cause.” Id. As such, the caselaw does not support Mr. Daggett’s ultimate

  contention that whether a “reasonable and prudent person” would “make a finding of

  probable cause when there was zero investigation done before the officer decided to

  arrest” is a question for the jury. Pl.’s Opp’n at 8. The federal reporters are teeming

  with caselaw on probable cause, but Mr. Daggett failed to cite a single case in support

  of his argument and the Court knows of none.          Ames makes manifest that an

  investigating officer need not scour the crime scene for more clues or exculpatory

  evidence once he has enough facts to support probable cause. Accordingly, construing

  the record in the light most favorable to Mr. Daggett, there are no genuine disputes

  of material fact regarding the alleged Fourth Amendment violation by Officer Poore,

  and Officer Poore is entitled to judgment as a matter of law.

        Finally, even if Officer Poore lacked probable cause to arrest Mr. Daggett, he

  is nonetheless entitled to summary judgment under the doctrine of qualified



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  immunity. Here, Mr. Daggett has pointed to no controlling or persuasive precedent

  that would undercut Officer Poore’s claim of qualified immunity. Instead, he asserts

  that “the need for probable cause to exist before the effectuation of an arrest is a

  clearly established principle” and that “[a]n arrest that is void of probable cause and

  perpetrated without an investigation by the law enforcement officer is not entitled to

  qualified immunity.” Pl.’s Opp’n at 9.

        The Court agrees with Mr. Daggett on the first point. See generally U.S.

  CONST., amend IV; accord Cox v. Hainey, 391 F.3d 25, 30 (1st Cir. 2004) (concluding

  the Fourth Amendment right to be free from unreasonable seizures is clearly

  established). However, Mr. Daggett’s second point is legally incorrect; an arrest

  without probable cause does not abrogate qualified immunity. Cox, 391 F.3d at 30.

  Rather, in the context of an alleged unreasonable seizure, “a defendant ‘is entitled to

  immunity if a reasonable officer could have believed that probable cause existed to

  arrest.’” Id. at 31 (quoting Rivera v. Murphy, 979 F.2d 259, 263 (1st Cir. 1992)). As

  such, the First Circuit has stated that qualified immunity on the issue of probable

  cause “requires a somewhat lesser showing” than probable cause itself. Id. “It follows

  that this suit may go forward only if the unlawfulness of the arrest would have been

  apparent to an objectively reasonable officer standing in [Officer Poore’s] shoes.” Id.

        Mr. Daggett cannot overcome qualified immunity. To reiterate, Officer Poore

  responded to a 911 complainant’s report that Mr. Daggett was on a property in

  violation of a protection order. Officer Poore confirmed that a protection order was

  in place, traveled to the scene, and found Mr. Daggett in the vicinity of the property



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  heading into a waiting vehicle. There was trash scattered on the lawn in front of the

  home. Put together, these facts would not have led an objectively reasonable officer

  to conclude he lacked probable cause. The above facts are consistent with an ongoing

  or just completed violation of the protection order, as well as other criminal offenses,

  regardless of whether Mr. Daggett ever actually entered the property. Once again,

  two points bear emphasis. First, “the availability of alternative inferences does not

  prevent a finding of probable cause so long as the inference upon which the officer

  relies is reasonable.” Cox, 391 F.3d at 32. Second, the law did not require Officer

  Poore to credit Mr. Daggett’s statements that he did not enter the 317 Cranberry

  Meadow Road property and was lawfully removing his belongings from the trash

  consistent with an order in the divorce proceeding. See id. at 32 n.2 (“A reasonable

  police officer is not required to credit a suspect’s story”). Applying these principles to

  the facts construed in the light most favorable to Mr. Daggett, the Court concludes

  Officer Poore’s probable cause determination was reasonable and that he is entitled

  to qualified immunity on Mr. Daggett’s Fourth Amendment claim.

               2.     Count Eleven: The Failure to Protect Claim

        Count XI of the Amended Complaint states a claim under 42 U.S.C § 1983

  against Officer Poore for a “failure to protect” Mr. Daggett while he was in custody.

  Am. Compl. ¶¶ 150-56. However, Count XI does not state which portion of federal

  law this claim relies upon. Id. Instead, he states “Defendant Poore turned Plaintiff

  over to the Custody of the York County Jail knowing that the York County Jail could

  not meet Plaintiff’s medical needs,” contends Officer Poore “had a duty to protect



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  Plaintiff because Plaintiff was in his custody” and “failed in that duty,” and “[a]s a

  result of Defendant Poore’s failure Plaintiff suffered harm.” Id. ¶¶ 153-56.

        Mr. Daggett’s opposition brief clarifies that “[t]he duty to protect as it relates

  to Officer Poore is a duty to ensure that Mr. Daggett’s medical needs are met which

  is a substantive due process right afforded to Mr. Daggett by the Fourteenth

  Amendment to the United States Constitution.” Pl.’s Opp’n at 10 (citing DeShaney

  v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 198-200 n.5 (1989)).          He

  concludes that “the Government’s role in causing a deprivation of Mr. Daggett’s

  right[s] is removing his medication from his person and not acting when his physical

  condition deteriorated to the point where he could not walk on his own or write his

  own name.” Id. at 10-11.

        As such, the Court concludes Mr. Daggett challenges his treatment by Officer

  Poore under the substantive due process clause of the Fourteenth Amendment.

  However, due to Mr. Daggett’s reliance on DeShaney, the Court is unclear as to

  whether Mr. Daggett alleges (1) that Officer Poore’s failure to protect Mr. Daggett

  from his own medical conditions violated due process or (2) that placing Mr. Daggett

  in the jail’s custody while he was experiencing debilitating Parkinson’s symptoms

  violated due process. In any event, even viewing the facts in the light most favorable

  to Mr. Daggett, he cannot survive summary judgment on either claim. Although the

  Court need not address the issue at length here, the Court’s prior finding that Mr.

  Daggett did not proffer adequate expert testimony on causation to state a claim for




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  actual damages applies to his claims against Officer Poore as well and merits

  summary judgment in favor of Officer Poore on the issue of actual damages.

                      a.     Legal Standard

        The Fourteenth Amendment’s Due Process Clause provides that “[n]o State

  shall . . . deprive any person of life, liberty, or property, without due process of law.”

  U.S. CONST. amend XIV § 1. “[T]o establish a substantive due process claim, the

  plaintiff must first show a deprivation of a protected interest in life, liberty, or

  property.” Rivera v. Rhode Island, 402 F.3d 27, 33-34 (1st Cir. 2005). “Second, the

  plaintiff must show that the deprivation of this protected right was caused by

  governmental conduct. That is easily met when a government actor causes the injury,

  such as when police officers act under color of law.” Id. at 34.

        As the Court has mentioned, the substantive component of the Fourteenth

  Amendment’s due process clause incorporates a pretrial detainee’s Eighth

  Amendment right to adequate medical care. See DeShaney, 489 U.S. at 200 (“In the

  substantive due process analysis, it is the State’s affirmative act of restraining the

  individual’s freedom to act on his own behalf – through incarceration,

  institutionalization, or other similar restraint of personal liberty – which is the

  ‘deprivation of liberty’ triggering the protections of the Due Process Clause . . .”); see

  also Ruiz-Rosa, 485 F.3d at 155-56 (“Because Ruiz’s son . . . was a pretrial detainee

  rather than a convicted inmate, the Fourteenth Amendment governs his claim”).

  However, as discussed above, Mr. Daggett’s Fourteenth Amendment claim could be

  construed as a claim that Officer Poore violated Mr. Daggett’s constitutional rights



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  by transferring him to YCJ custody with knowledge that the YCJ could not

  adequately care for his medical needs.

        Essentially, this second possible interpretation of Mr. Daggett’s due process

  claim is a variant of a theory of liability which the Supreme Court discussed in

  DeShaney v. Winnebago County Department of Social Services, 489 U.S. 189 (1989).

  In DeShaney, the Supreme Court considered “when, if ever, the failure of a state or

  local governmental entity or its agents to provide an individual with adequate

  protective services constitutes a violation of the individual’s due process rights.” Id.

  at 194. The DeShaney Court held “that in general, ‘a State’s failure to protect an

  individual against private violence simply does not constitute a violation of the Due

  Process Clause’ . . ..” Irish, 979 F.3d at 73 (quoting DeShaney, 489 U.S. at 197).

  However, the Supreme Court “has also suggested that when the state creates the

  danger to an individual, an affirmative duty to protect might arise.” Id. (quoting

  DeShaney, 489 U.S. at 201).

        In the three decades since DeShaney, this second so-called “state-created

  danger” theory of liability has percolated within the federal district courts and courts

  of appeal. See id. at 73-75 (collecting cases and performing an exegesis of the state-

  created danger doctrine). In November 2020, the First Circuit formally recognized

  the doctrine in Irish v. Fowler, 979 F.3d 65 (1st Cir. 2020). The Irish Court identified

  the following essential elements of a state-created danger claim:

        (1)    that a state actor or state actors affirmatively acted to create or
               enhance a danger to the plaintiff;




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         (2)   that the act or acts created or enhanced a danger specific to the
               plaintiff and distinct from the general public;

         (3)   that the act or acts caused the plaintiff’s harm; and

         (4)   that the state actor’s conduct, when viewed in total, shocks the
               conscience.

               (i)    Where officials have the opportunity to make unhurried
                      judgments, deliberate indifference may shock the
                      conscience, particularly where the state official performs
                      multiple acts of indifference to a rising risk of acute and
                      severe danger. To show deliberate indifference, the
                      plaintiff must, at a bare minimum, demonstrate that the
                      defendant actually knew of a substantial risk of serious
                      harm and disregarded that risk.

               (ii)   Where state actors must act in a matter of seconds or
                      minutes, a higher level of culpability is required.

  Id. at 75.

         Due to the case’s posture, Irish did not analyze the merits of a state-created

  danger claim; however, it did consider the doctrine’s application in the context of a

  state actor’s qualified immunity defense. Id. at 76-80. The Irish Court applied

  caselaw from other circuits to conclude that the defendant law enforcement officers

  were on notice that they could be liable under the Due Process Clause (1) “if, after

  receiving a report of criminal activity, they effectively alerted the suspect that he was

  under investigation in a manner that notified the suspect who the reporting

  individual was, despite knowing the suspect was likely to become violent . . .” and (2)

  “failing to take steps to mitigate the danger they had created and misleading the

  victim about the level of police protection she had . . ..” Id. at 79. Accordingly, the




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  First Circuit held the defendants were not entitled to qualified immunity. Id. at 79-

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                      b.    Analysis

                            i.     Deliberate Indifference to Serious Medical
                                   Needs

        Assuming Mr. Daggett’s failure to protect claim against Officer Poore is a claim

  for constitutionally inadequate medical care, even viewing the facts in the light most

  favorable to Mr. Daggett, Officer Poore is entitled to judgment as a matter of law.

  The Court concludes that a reasonable jury could conclude Mr. Daggett’s Parkinson’s

  Disease and need for medication was a serious medical condition. However, as with

  his claims against CCS and the York Defendants, that only gets Mr. Daggett so far.

  To make his prima facie case, he needed to proffer sufficient evidence for a reasonable

  jury to conclude Officer Poore was deliberately indifferent to those needs. He did not.

        The undisputed facts show Officer Poore repeatedly connected Mr. Daggett

  with medical providers while in his custody.         On these undisputed facts, no

  reasonable trier of fact could conclude that Officer Poore was deliberately indifferent

  to Mr. Daggett’s medical needs. Officer Poore had custody of Mr. Daggett from

  approximately 6:40 p.m. to 11:00 p.m. He learned that Mr. Daggett had Parkinson’s

  Disease within minutes of arresting him and immediately accommodated his request

  to sit with his hands in front of his body. Twice, when Officer Poore did not know

  how to proceed in caring for Mr. Daggett, he transported Mr. Daggett to the hospital

  for medical treatment. A doctor twice examined Mr. Daggett, twice deemed him fit

  for incarceration and then, at the request of the YCJ, dispensed medications. At no

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  point did Mr. Daggett report any acute medical issues to Officer Poore. Out of the

  approximately four hours and twenty minutes that Mr. Daggett was in Officer Poore’s

  custody, approximately an hour and a half was spent at the hospital. Another twenty-

  six minutes were spent transporting Mr. Daggett from the Berwick Police

  Department to the hospital. In short, nearly half the time Officer Poore had custody

  of Mr. Daggett was spent at the hospital or on the way to the hospital. No reasonable

  trier of fact could equate this with deliberate indifference to Mr. Daggett’s medical

  needs.

           Back at the YCJ after the second hospital trip, Officer Poore gave jail staff all

  the medical paperwork and medication from the hospital. Mr. Daggett was slow to

  move, and Office Poore had to help him walk. Mr. Daggett could not hold a pen and

  was not able to sign the summons that Officer Poore served on him. Jail intake

  paperwork shows that YCJ personnel categorized Mr. Daggett as unstable, which

  means “[t]he inmate appears to be out of control. Unstable physically or mentally.”

  YCJ Records at 40. The jail accepted custody of Mr. Daggett. Officer Poore departed

  and had no further contact with Mr. Daggett.

           Mr. Daggett points to Officer Poore’s decision to take custody of Mr. Daggett’s

  medications after Mr. Daggett took a dose of Sinemet at the Berwick Police

  Department as the smoking gun establishing a prima facie case of deliberate

  indifference. Pl.’s Opp’n at 10-11. He also suggests that the deterioration of his

  condition to the point where he became unable to write his own name or walk under

  his own power, suffices to show Officer Poore was deliberately indifferent. Viewed



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  alongside the remainder of the undisputed record and construing the record in the

  light most favorable to Mr. Daggett, the Court is unpersuaded that these facts make

  a difference. Again, Mr. Daggett needs to show that Officer Poore acted with a state

  of mind akin to criminal recklessness. Leavitt, 645 F.3d at 498. Given that Officer

  Poore took Mr. Daggett to the hospital twice for an examination, twice received a

  treating physician’s opinion that Mr. Daggett was fit for incarceration, and obtained

  medications for Mr. Daggett, no reasonable trier of fact could conclude that Officer

  Poore was deliberately indifferent to Mr. Daggett’s medical needs. The Court is hard-

  pressed to think of what more Officer Poore could have done under these

  circumstances, other than deviate from Dr. Schmitz’s treatment plan. Officer Poore’s

  failure substitute a physician’s treating decisions with his own did not amount to

  deliberate indifference.

        What’s more, even if Officer Poore was deliberately indifferent, these facts

  entitle him to qualified immunity. The Fourteenth Amendment and related caselaw

  clearly establish that an officer cannot be deliberately indifferent to a pretrial

  detainee’s serious medical needs. See, e.g., Estelle, 429 U.S. at 104 (“[D]eliberate

  indifference to serious medical needs of prisoners constitutes the unnecessary and

  wanton infliction of pain proscribed by the Eighth Amendment”) (internal citation

  and quotation marks omitted). However, it is not clear that every reasonable law

  enforcement officer would have known, on these facts, that Officer Poore’s conduct

  violated Mr. Daggett’s right to medical care. “[Q]ualified immunity protects officers

  who make good-faith mistakes.” Camilo-Robles v. Hoyos, 151 F.3d 1, 14 (1st Cir.



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  1998).    To the extent that Officer Poore’s reliance on medical professionals was

  mistaken and amounted to deliberate indifference to Mr. Daggett’s constitutional

  rights, the Court concludes he acted in good faith by repeatedly seeking treatment for

  Mr. Daggett and is therefore entitled to qualified immunity. See Kosilek, 774 F.3d at

  91-92 (“The choice of a medical option that, although disfavored by some in the field,

  is presented by competent professionals does not exhibit a level of inattention or

  callousness to a prisoner’s needs rising to a constitutional violation”).

           Thus, summary judgment is proper in favor of Officer Poore. Construing the

  record in the light most favorable to Mr. Daggett and drawing all inferences in his

  favor, no reasonable trier of fact could conclude Officer Poore was deliberately

  indifferent to his medical needs. Therefore, Officer Poore is entitled to judgment as

  a matter of law. In addition, even if Mr. Daggett has made a prima facie showing of

  deliberate indifference, Officer Poore is entitled to qualified immunity.

                                  ii.     State-Created Danger 51

           If Mr. Daggett’s substantive due process claim against Officer Poore arises

  under the legal theory discussed in Irish, it similarly cannot survive summary

  judgment.       Due to the absence of controlling caselaw from the First Circuit




  51      The state-created danger theory of liability discussed in both Irish and DeShaney concerned
  the extent to which the Due Process Clause permits state actors to be held liable for a failure to protect
  an individual from private violence. However, by its terms, Irish does not expressly limit its cause of
  action to situations when a non-state actor perpetrates the plaintiff’s ultimate injury. Even so, the
  Court is uncertain about the extent to which one state actor can be held liable under Irish for the acts
  or omissions of other state actors who, like the first state actor, are bound to uphold the rights
  conferred by the United States Constitution and may be sued directly under § 1983 for their damages
  to the plaintiff. The Berwick Defendants did not raise this complex question of constitutional law.
  Without briefing, the issue is not ripe for decision. As such, the Court assumed, without deciding, that
  Irish permits such a claim.

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  elaborating on the Irish cause of action, and the uncertainty surrounding whether

  Mr. Daggett is actually raising an Irish claim, the Court limits its analysis to the

  third and fourth elements of an Irish claim, which are clearly not satisfied here.

        Irish requires a plaintiff show “the [state actor’s] act or acts caused the

  plaintiff’s harm . . ..” Irish, 979 F.3d at 75. As the Court discussed at length,

  Mr. Daggett’s alleged injuries resulted from CCS and YCJ’s failure to administer the

  correct dose of medication. Because these injuries implicate scientifically rigorous

  questions of causation, they require Mr. Daggett to introduce expert testimony to

  prevail. As discussed, Mr. Daggett failed to submit any expert testimony on the issue

  of causation. Thus, he cannot make a prima facie showing of causation necessary to

  bring an Irish claim.

        Construing the record in the light most favorable to him, Mr. Daggett failed to

  proffer sufficient evidence for a reasonable trier of fact to find that Officer Poore’s

  “conduct, when viewed in total, shocks the conscience.”       Irish, 979 F.3d at 75.

  Therefore, Officer Poore is entitled to judgment as a matter of law. “Where officials

  have the opportunity to make unhurried judgments, deliberate indifference may

  shock the conscience, particularly where the state official performs multiple acts of

  indifference to a rising risk of acute and severe danger.         To show deliberate

  indifference, the plaintiff must, at a bare minimum, demonstrate that the defendant

  actually knew of a substantial risk of serious harm and disregarded that risk.” Id.

  Mr. Daggett has not met this standard. As with his claim that Officer Poore was

  deliberately indifferent to his serious medical needs, there is not enough evidence



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  such that a reasonable trier of fact could conclude Officer Poore “actually knew of a

  substantial risk of serious harm and disregarded that risk” by transferring Mr.

  Daggett to YCJ custody. Id.

          When Officer Poore transferred custody of Mr. Daggett to the YCJ, he had

  already taken Mr. Daggett to the hospital twice where a physician examined him and

  deemed him fit for incarceration. On the second trip to the hospital, Officer Poore

  procured medications for Mr. Daggett that the doctor had ordered and then brought

  those medications to the jail along with treatment instructions from the hospital’s

  physician. Officer Poore knew that the jail had a medical provider in-house because

  the medical provider had initially rejected Mr. Daggett, claiming it did not have the

  medications to meet Mr. Daggett’s needs. As a state actor, the jail had the same

  obligation to uphold Mr. Daggett’s constitutional rights as Officer Poore did. As such,

  Mr. Daggett has made no factual showing that Officer Poore actually knew of a

  substantial risk of serious harm to him or disregarded such a risk. A doctor had

  already informed Officer Poore that Mr. Daggett’s medical conditions were not so

  severe as to preclude incarceration and Officer Poore provided care instructions and

  medications to the jail. No reasonable jury could find this behavior was conscience

  shocking. Thus, summary judgment is proper in favor of Officer Poore on Count XI. 52


  52       The Court elected not to consider whether qualified immunity shields Officer Poore’s conduct
  from liability on this claim because Mr. Daggett did not make a prima facie showing of a state-created
  danger claim. In passing, the Court merely notes that Irish, which considered constitutional violations
  occurring in July 2015, stands for the proposition that an officer’s constitutional duty to protect was
  clearly established at the time of Mr. Daggett’s May 2015 arrest. See Irish, 979 F.3d at 73-75
  (collecting cases for the proposition that the state-created danger theory was clearly established at the
  time of the events in Irish). Beyond that, whether every objectively reasonable officer would know, on
  these facts, that Officer Poore’s actions violated Mr. Daggett’s rights is a complex question involving
  an emerging legal doctrine, which the parties did not brief, and which the Court need not consider as

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         F.      Count Twelve: Constitutional Claims Against the Town of
                 Berwick and Chief Towne

                 1.     The Town of Berwick

         Summary judgment is proper in favor of the town of Berwick for two reasons.

  First, “it is only when [a] governmental employee[’s] ‘execution of a government’s

  policy or custom . . . inflicts the injury’ and is the ‘moving force’ behind the

  constitutional violation that a municipality can be liable.” Young v. City of Providence,

  404 F.3d 4, 25 (1st Cir. 2005) (quoting Monell v. Dep’t of Soc. Servs., 436 U.S. 658,

  694 (1978)).    Mr. Daggett’s claim fails to satisfy both necessary elements.                As

  discussed, even construing the record in the light most favorable to Mr. Daggett,

  Officer Poore is entitled to judgment as a matter of law on the Fourth or Fourteenth

  Amendment claims. Thus, without an underlying constitutional violation, there can

  be no municipal liability. Second, Mr. Daggett has not established the essential

  factual elements of municipal liability as to the Town of Berwick. Although Mr.

  Daggett contends “[s]ummary judgment is not warranted in a situation in which the

  jury could find that the department knew that a constitutional violation was a

  predictable consequence of the department’s failure to train and therefore

  deliberately indifferent to the Plaintiff’s constitutional rights” he has not identified

  any failure to train and has conceded some training occurred on the relevant areas of

  constitutional law. Pl.’s Opp’n at 13-14.




  an alternative holding. See Buchanan, 417 F. Supp. 2d at 71 n.38 (declining to address qualified
  immunity where the plaintiff had failed to make a prima facie showing that the defendant was
  substantively liable for a constitutional violation).

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        Mr. Daggett is correct on the law surrounding a failure to train claim, but

  points to no facts in the record indicating how the town of Berwick failed to train its

  officers in a manner that is tantamount to deliberate indifference to his constitutional

  rights. In his response to the Berwick Defendants’ Statement of Material Facts, he

  conceded that Officer Poore, along with virtually all other Berwick police officers,

  completed the Maine Criminal Justice Academy’s eighteen-week training course as

  well as the town of Berwick’s field training program. BDSMF ¶¶ 1-2, 71, 73-75;

  PRBDSMF ¶¶ 1-2, 71, 73-75. The MCJA course included training on constitutional

  law, Fourth Amendment search and seizure law, lawful arrest procedures, probable

  cause training, Maine criminal statutes, protection from harassment and abuse

  orders, the Americans with Disabilities Act, and the Maine Civil Rights Act. BDSMF

  ¶ 74; PRBDSMF ¶ 74.

        As the plaintiff, Mr. Daggett bears the burden of proof to show that the town

  of Berwick’s failure to train its officers was the moving force behind the constitutional

  violations alleged. Without any evidence or allegation of a specific failure to train,

  and conceding that Officer Poore, along with all other Berwick police officers, had

  training in the relevant areas of constitutional law, his failure to train claim fails as

  a matter of law.     The fact that Mr. Daggett provided no evidence of similar

  occurrences bolsters the Court’s conclusion. See Connick v. Thompson, 563 U.S. 51,

  62 (2011) (“A pattern of similar constitutional violations by untrained employees is

  ordinarily necessary to demonstrate deliberate indifference for purposes of failure to




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  train”) (internal citation and quotation marks omitted).         Accordingly, summary

  judgment is proper for the town of Berwick.

               2.     Chief Towne

        Mr. Daggett’s claim against Chief Towne is also defective.           His Amended

  Complaint alleges Chief Towne failed to adequately train and supervise Officer Poore.

  Am. Compl. ¶ 158. Once again, construing the record in the light most favorable to

  Mr. Daggett, it fails to show Officer Poore’s conduct violated his constitutional rights.

  Without an underlying constitutional violation, a failure to train is not actionable.

  Moreover, as just discussed, Mr. Daggett’s factual concessions doom any failure to

  train claim. Officer Poore, consistent with Berwick’s officer training policies, received

  training in the relevant areas of law and Mr. Daggett did not identify any aspect of

  that training as deficient. Moreover, Mr. Daggett offered no evidence suggesting any

  officer other than Officer Poore was inadequately trained. The caselaw speaks with

  one voice on this issue: “[t]hat a particular officer may be unsatisfactorily trained will

  not alone suffice to fasten liability on the city, for the officer’s shortcomings may have

  resulted from factors other than a faulty training program.” City of Canton, 489 U.S.

  at 390-91. With neither the law nor the facts on his side, no reasonable jury could

  find in Mr. Daggett’s favor and therefore Chief Towne is entitled to judgment as a

  matter of law. Regardless, qualified immunity would protect Chief Towne because

  the police department’s reliance on the MCJA and internal training practices, on

  these facts, is not objectively unreasonable.




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         Mr. Daggett’s claim of inadequate supervision cannot survive summary

  judgment either. As with the failure to train claim, the absence of a prima facie

  showing of a constitutional violation precludes a claim of supervisory liability. But,

  even if Mr. Daggett made a prima facie showing of a constitutional violation against

  Officer Poore, his claim for supervisory liability against Chief Towne cannot proceed.

  As discussed with respect to Sheriff King and Superintendent Vitiello, a claim of

  supervisory liability must rest on the supervisor’s own acts or omissions rather than

  respondeat superior. Guadalupe-Báez, 819 F.3d at 515. Additionally, the supervisor

  must have actual or constructive notice of the alleged constitutional violation. Id.

  Finally, the supervisor’s deliberate indifference must establish a strong causal link

  between his own conduct and the constitutional violations. Id.

         Mr. Daggett conceded Chief Towne “was not present when Mr. Daggett was

  arrested on May 17, 2015” and did not “have any interaction with Mr. Daggett at the

  police station following his arrest.” BDSMF ¶ 69; PRBDSMF ¶ 69. As such, there

  are no facts in evidence suggesting Chief Towne acted or failed to act in a way that

  harmed Mr. Daggett, had any knowledge of ongoing constitutional violations, or acted

  in such a way that caused the alleged constitutional violations. Thus, there are no

  genuine disputes of material fact and Chief Towne is entitled to summary judgment

  on the failure to supervise claim. 53

         G.      Summary




  53     As with Sheriff King, the lack of facts concerning what Chief Towne knew or did, and the
  absence of an underlying constitutional violation, make it unnecessary to consider qualified immunity.

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        The Court finds that, on the record before it, taking all inferences reasonably

  supported by the record in favor of Mr. Daggett, there are no genuine issues of

  material fact and the Defendants are entitled to judgment as a matter of law on all

  counts of the Amended Complaint. Many of Mr. Daggett’s claims contain procedural

  defects, and despite discovery he neglected to identify at least five defendants. In

  places he conceded facts that were essential to raising claims against the various

  municipal defendants, he submitted no expert testimony on the complex causation

  issues his case presents, he failed to proffer evidence on various elements of his prima

  facie case, and, even if he had made out a prima facie case, qualified immunity would

  bar his claims. Because of these issues, and the others discussed, the Defendants are

  entitled to judgment as a matter of law.

        On the record before the Court, it appears the only error which occurred in this

  case was an errant prescription. The record is silent as to how and why this mistake

  occurred, but there is no evidence in this record that a state actor made the mistake.

  Common sense suggests the errant prescription may have arisen from the chain of

  communication between the physicians at SMHC. Nevertheless, a doctor’s mistake

  is not always a constitutional violation. To demonstrate that the medical care he

  received in jail fell below the constitutional minimum, Mr. Daggett needed to make a

  prima facie showing of a discrete set of elements. He did not do so. The record shows

  that the Defendants sought treatment for Mr. Daggett’s Parkinson’s Disease and

  followed the doctor’s instructions on how to care for him. The Constitution, at least

  in this area of law, does not require the jailer, the arresting officer, or the jailhouse



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  nurse overrule the decisions of a treating physician so long as they are not

  deliberately indifferent to an incarcerated person’s needs.

  VI.   CONCLUSION

         The Court GRANTS the Defendants’ Motions for Summary Judgment (ECF

  Nos. 49, 52, 55) and ORDERS the Clerk of Court to enter judgment in favor of the

  Defendants and against Thomas Daggett on Counts I, IV, VI, VII, VIII, IX, X, XI, and

  XII of the Amended Complaint (ECF No. 9). The Court DISMISSES Counts II, III,

  and V of the Amended Complaint WITHOUT PREJUDICE due to Mr. Daggett’s

  failure to identify the John and Jane Doe Defendants and further DISMISSES the

  remainder of the Amended Complaint WITHOUT PREJUDICE insofar as Mr.

  Daggett asserts claims against the John Doe and Jane Doe Defendants.

        SO ORDERED.

                                                 /s/ John A. Woodcock, Jr.
                                                 JOHN A. WOODCOCK, JR.
                                                 UNITED STATES DISTRICT JUDGE

  Dated this 8th day of March, 2021.




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